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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 STATE OF ILLINOIS,

              Plaintiff,
                                                Case No. 17-cv-6260
       v.
                                                Judge Rebecca R. Pallmeyer
 CITY OF CHICAGO,

              Defendant.


                      INDEPENDENT MONITORING REPORT 10

       The Independent Monitor Margaret A. Hickey and the Independent Monitoring Team
submit the attached Independent Monitoring Report 10.


Dated November 19, 2024                        /s/Margaret A. Hickey
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                               CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that, on November 19, 2024, she caused a true and cor-
rect copy of the foregoing Independent Monitoring Report 10 to be filed electronically with the
Court’s CM/ECF system, which caused an electronic copy of this filing to be served on counsel of
record.


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    INDEPENDENT MONITORING REPORT 10
                    (Reporting Period: January 1, 2024, through June 30, 2024)




                                                        Report Date: November 19, 2024
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                         This report, Independent Monitoring Report 10, provides our compliance as-
                         sessments for efforts between January and June 2024. As detailed in this report,
                         the City of Chicago (City) and the Chicago Police Department (CPD) continued
                         to increase their levels of compliance in various sections of the Consent Decree
                         in those six months.
                          Some of the most significant progress in the tenth reporting period is not, how-
                          ever, immediately reflected in compliance levels. Most notably, the City and the
                          CPD’s investment in policy development, training, community engagement, and
                          officer support paid significant dividends for the 2024 Democratic National Con-
                          vention (DNC). Much of that preparation occurred in the tenth reporting pe-
    Monitor Maggie Hickey
                          riod, but because the DNC did not occur until the eleventh reporting period,
  some of those efforts are not reflected in this report.1
  As we discussed in the September public hearing, this event demonstrated that the tireless and ongo-
  ing Consent Decree efforts by members of the City, the CPD, the Office of the Illinois Attorney General
  (OAG), and Chicago’s communities are making a difference: the City and the CPD was better prepared
  for the DNC than they would have been before the Consent Decree.
  Leading up to the convention, the City and the CPD worked closely with the OAG and other members
  of Chicago communities and stakeholders to ensure that the CPD’s efforts would align with the Consent
  Decree and effective practices. Despite various internal and external perspectives and significant disa-
  greements, the CPD incorporated meaningful feedback into its policies, trainings, and practices, includ-
  ing recommendations from our 2021 Special Report regarding the City’s and the CPD’s responses to
  protests and unrest in 2020.2 This included, for example, updating, training on, and continuing to re-
  view its policies related to use of force—including the use of OC spray and batons—the First Amend-
  ment, body-worn cameras, supervision, and coordinated responses to large gatherings, including ar-
  rests and use-of-force reporting.
  This also included employing more long term compliance efforts. For example,
  since the start of the Consent Decree, and after several challenges, the CPD has
  developed and continued improving the infrastructure to provide annual train-
  ing. The CPD used this infrastructure to prepare officers for large gatherings,
  First Amendment activity, and the DNC. As a result, the CPD has trained an en-
  tire tier of officers on how to effectively protect and serve Chicago’s communi-
  ties—consistent with the Constitution and the Consent Decree—for one of the
  nation’s largest political events.
  Properly supported, these investments can continue to benefit Chicago not just
  for other large pre-planned events but in response to spontaneous challenges
  and everyday policing.                                                             Chief Rodney Monroe, Ret.




  1
      We will report more fully on how the City’s and the CPD’s DNC-related efforts demonstrated compliance
      in Independent Monitoring Report 11.
  2
      See Special Report: The City of Chicago’s and the Chicago Police Department’s Responses to Protests
      and Unrest under the Consent Decree (May 2020 – November 2020), INDEPENDENT MONITORING TEAM (July
      20, 2021) https://cpdmonitoringteam.com/wp-content/uploads/2024/03/2021_07_20-Independent-
      Monitoring-Team-Special-Report-filed.pdf.
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                          Unfortunately, the City is currently reporting a budget crisis, and there have been
                          discussions and proposals that include cutting a significant portion of positions
                          that are key to Consent Decree compliance.
                          Cutting these positions could end up costing Chicago more in the long-term
                          while immediately stalling progress with the required Consent Decree reform ef-
                          forts. A series of significant events led to the Consent Decree, and it will take
                          more than one successful—albeit historic—convention to rebuild community
                          trust. By design, full and effective compliance with the Consent Decree will take
                          sustained effort and results. As evidenced above, some of the City and the CPD’s
                          compliance efforts are just starting to be felt.
      Dr. Theron Bowman
                         Cuts to policy development, training, officer support, and community policing
  not only risk slowing the already-behind pace of reform—the cuts risk undoing the progress the City
  and the CPD have made to date. At only about 9% Full compliance with the original Consent Decree,
  the City should be accelerating the pace of compliance, not just fighting to maintain it.3
  The Consent Decree requires the City to provide “necessary and reasonable financial resources neces-
  sary through steps or processes that can include the budget process to fulfill its obligations under this
  Agreement.” Consent Decree ¶700.4 Cities and police departments often choose to sacrifice much-
  needed comprehensive and sustainable reforms for short-term priorities. Under the Consent Decree,
  the City does not have that option: The City and the CPD are not permitted to police Chicago’s com-
  munities without sufficient resources required to implement Consent Decree requirements, including
  those related to constitutional, effective, community, and impartial policing. And the City must provide
  the officer and personnel resources and support systems that are needed to perform at their best and
  to meet these high yet reasonable expectations.
  Finally, we must acknowledge that officers continue to face “significant danger, high stress, and a wide
  spectrum of human tragedy” (Consent Decree ¶377). While we witnessed high officer morale during
  and after the DNC, the toll of everyday policing continues to be heavy. Earlier this month, Chicago was
  devastated by the tragic killing of Officer Enrique Martinez. Earlier this year, in April, Chicago lost Officer
  Luis Huesca to gunfire. In the CPD’s latest annual report, the CPD identified 68 documented instances
  of an officer being shot or shot at in 2023, including the killing of Officer Andrés Vásquez Lasso in March
  2023 and Officer Aréanah Preston in May 2023.5 Persistent gun violence in Chicago raises the risks of
  police interactions for all involved. The challenge of policing in Chicago is also evident by the continued
  high level of officers who die by suicide.
  As the City, the CPD, OAG, and the Court consider our recommended changes to the Consent Decree
  from our Comprehensive Assessment, we will work to ensure that the process continues to be guided
  by the fundamental Consent Decree goals and promise of promoting community and officer safety.6



  3
        On June 27, 2023, in response to a Motion from the Parties, the Court added additional requirements
        to the Consent Decree regarding investigatory stops, protective pat downs, and enforcement of loiter-
        ing ordinances.
  4
        See also Consent Decree ¶706 (“The City is responsible for providing necessary support and resources
        to CPD to enable CPD to fulfill its obligations under this Agreement.”).
  5
        See 2023 Chicago Police Department Annual Report, CHICAGO POLICE DEPARTMENT (2024) at 180,
        https://www.chicagopolice.org/wp-content/uploads/2023-Annual-Report.pdf. The CPD reported 56 in-
        cidents of officers shot or shot at in 2022, 74 instances in 2021, and 79 instances in 2020. Id.
  6
        See Comprehensive Assessment, Part II, INDEPENDENT MONITORING TEAM (October 11, 2024), https://live-
        chicago-imt.pantheonsite.io/wp-content/uploads/2024/10/2024.10.11-Independent-Monitoring-
        Team-Comprehensive-Assessment-Part-II-amended-and-filed.pdf.
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                        Monitoring Under the Consent Decree
  In August 2017, the Office of the Illinois Attorney General (OAG) sued the City of Chicago
  (City) in federal court regarding civil rights abuses by the Chicago Police Department (CPD).
  The lawsuit led to a Consent Decree, effective March 1, 2019.7 The same day, the federal
  court appointed Maggie Hickey as the Independent Monitor. Ms. Hickey leads the Inde-
  pendent Monitoring Team, which monitors the City of Chicago’s progress in meeting the
  Consent Decree’s requirements.

  Paragraph 2 of the Consent Decree sets out its overall purpose, which has guided and will
  continue to guide our monitoring efforts:

            2. The State, the City, and the Chicago Police Department . . . are committed to consti-
            tutional and effective law enforcement. In furtherance of this commitment, the Parties
            enter into this Agreement to ensure that the City and CPD deliver services in a manner
            that fully complies with the Constitution and laws of the United States and the State of
            Illinois, respects the rights of the people of Chicago, builds trust between officers and
            the communities they serve, and promotes community and officer safety. In addition,
            this Agreement seeks to ensure that Chicago police officers are provided with the train-
            ing, resources, and support they need to perform their jobs professionally and safely.
            This Agreement requires changes in the areas of community policing; impartial polic-
            ing; crisis intervention; use of force; recruitment, hiring, and promotions; training; su-
            pervision; officer wellness and support; accountability and transparency; and data col-
            lection, analysis, and management.8




  7
      For more information on the Consent Decree, see the Background section below. More information is
      also available on the Independent Monitoring Team’s website (cpdmonitoringteam.com/) and on the
      Illinois Attorney General Office’s Consent Decree website (chicagopoliceconsentdecree.org/about/).
  8
      We cite the relevant paragraphs of the Consent Decree throughout this Independent Monitoring Re-
      port. The Consent Decree is available on the Independent Monitoring Team’s website: cpdmonitoring-
      team.com/wp-content/uploads/2024/02/FINAL-CONSENT-DECREE-SIGNED-BY-JUDGE-DOW.pdf. See
      also Resources, CHICAGO POLICE CONSENT DECREE (“Consent Decree Approved by the Court on January 31,
      2019”), chicagopoliceconsentdecree.org/resources/.
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     Executive Summary
     As the Independent Monitoring Team (IMT), we assess the City of Chicago’s (City’s)
     compliance with the requirements of the Consent Decree. Specifically, we assess
     how relevant City entities—including the Chicago Police Department (CPD); the
     Civilian Office of Police Accountability (COPA); the Chicago Police Board; the City
     Office of Inspector General, the Deputy Inspector General for Public Safety (Dep-
     uty PSIG); and the Office of Emergency Management and Communications
     (OEMC)—are complying with the Consent Decree.9

     This is Independent Monitoring Report 10. As in previous monitoring reports, this
     is an update to the Court and the public on compliance efforts during the tenth
     reporting period: from January 1, 2024, through June 30, 2024.10 Among other
     things required by the Consent Decree, this report also includes the following:

     •    an updated compliance or status assessment from the previous reporting pe-
          riod;
     •    a summary of the principal achievements and challenges facing the City’s com-
          pliance with the Consent Decree; and
     •    an updated projection of upcoming work for the City, the Office of the Illinois
          Attorney General (OAG), and the IMT. See ¶661.11

     Per ¶661 of the Consent Decree, the IMT will issue semiannual reports until the
     Consent Decree ends—which is after the City has achieved full and effective com-
     pliance for each requirement for one to two years. See ¶¶693 and 714–15. With

     9
          As a party to the Consent Decree, the City is ultimately responsible for compliance. See ¶720.
          Unless otherwise specified, our references to the City typically include its relevant entities. See
          ¶736.
     10
          The Consent Decree generally prevents the IMT from making any public statements or issuing
          findings regarding any non-public information or materials outside of these reports (see ¶672).
          Because the Consent Decree will be in effect for a minimum of eight years, this is the tenth of
          at least 16 semiannual Independent Monitoring Reports. See Stipulation Regarding Search
          Warrants, Consent Decree Timelines, and the Procedure for “Full and Effective Compliance,”
          Illinois v. Chicago, Case No. 17-cv-6260 (March 25, 2022), https://cpdmonitoring-
          team.com/wp-content/uploads/2024/03/2022.03.25-Stipulation-Regarding-Search-War-
          rants-Consent-Decree-Timeline.pdf. Each year, we file a Monitoring Plan that sets out what we
          will assess during the year, and we file two semiannual Independent Monitoring Reports. The
          Independent Monitoring Plans and Reports are available on the IMT’s website. See Reports
          and Information, https://cpdmonitoringteam.com/reports-information/.
     11
          In August 2023, we filed the Monitoring Plan for Year Five, which outlined the projected mon-
          itoring efforts under the Consent Decree for Year Five (July 1, 2023, through June 30, 2024).
          The IMT’s Monitoring Plan for Year Five is available on the IMT’s website. See Reports and
          Information, INDEPENDENT MONITORING TEAM (August 21, 2023), https://cpdmonitoring-
          team.com/wp-content/uploads/2024/04/2023.08.21-Monitoring-Plan-for-Year-5-filed.pdf.
          The Monitoring Plan for Year Six is included in the Conclusion section of Independent Monitor-
          ing Report 9.


                                                        1
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     the agreement of the Parties, this report, Independent Monitoring Report 10, is a
     continued attempt to streamline the reporting process. We now link to paragraph
     assessments for paragraphs where (1) the City has achieved additional levels of
     compliance, (2) the City has failed to maintain levels of compliance, or (3) the IMT
     is highlighting particular progress or lack of progress toward full and effective com-
     pliance. We look forward to feedback from the public and the Parties about how
     to further refine our reporting processes.

     This report represents a six-month assessment of the City’s compliance efforts
     from January 1, 2024, through June 30, 2024. It does not reflect all the efforts of
     the City, the CPD, or the other relevant City entities to date. While we report on
     the compliance efforts within defined reporting periods (see ¶661), we stress that
     work is ongoing by the City, its relevant entities, the OAG, the IMT, and Chicago’s
     communities. In many cases, relevant City entities have continued to develop pol-
     icies and train personnel after June 30, 2024, and before the date we submit this
     report. Importantly, we have not assessed efforts made after June 30, 2024, in this
     report. We will do so in the monitoring report for the eleventh reporting period
     (July 1, 2024, through December 31, 2024).

     Under the Consent Decree, the City, the CPD, or other relevant entities are not in
     compliance with any of the requirements of the Consent Decree until the IMT de-
     termines that the City provided sufficient proof that the City, the CPD, or other
     relevant entities are in compliance. See ¶720. Even if the City has made significant
     efforts toward complying with a requirement—which in some cases it has—the
     City still has the additional burden of providing sufficient proof of its efforts with
     sufficient time for the IMT and the OAG to review the information.

     We assess compliance at three levels: (1) Preliminary, (2) Secondary, and (3) Full.
     The Consent Decree requires the City and its entities to reach Full compliance and
     maintain that compliance for one to two years. See ¶¶714–15. These compliance
     levels allow us to share our assessments of the City’s progress throughout the du-
     ration of the Consent Decree. Typically, these levels correspond with whether the
     City or its relevant entities have (1) created a compliant policy, (2) adequately
     trained personnel on that policy, and (3) successfully implemented the reform in
     practice.12 Because of the nuances of each Consent Decree requirement and each
     level of compliance, the City and its relevant entities must—in a timely manner—
     provide the IMT with evidence, including access to personnel, records, facilities,



     12
          There are, however, many paragraphs that do not include policy or training elements. In those
          circumstances, the three levels may follow a different trajectory, such as (1) whether the City
          or its relevant entities have established the framework and resources to achieve the reform,
          (2) whether the City or its relevant entities have effectively communicated the reform to rele-
          vant personnel, and (3) whether the City or its relevant entities have appropriately imple-
          mented the reform.


                                                      2
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      and data to establish that they have achieved each level of compliance during the
      applicable reporting period.13




      The current compliance level for each original monitorable paragraph is reflected
      in Appendix 1 (All Compliance Levels, By Paragraph). For the original monitorable
      paragraphs (552), the City has achieved at least Preliminary compliance with 504
      paragraphs (or about 91%). Specifically, the City has achieved Preliminary compli-
      ance 249 paragraphs (about 45%), Secondary compliance with 203 paragraphs
      (about 37%), and Full compliance with 52 paragraphs (about 9%)–leaving 48 para-
      graphs with no levels of compliance (about 9%). Of those, the City is under assess-
      ment for Preliminary compliance with eight paragraphs.




      13
           Some requirements in the Consent Decree demand more effort to comply with than others.
           The number of requirements—and the amount of work necessary under each requirement—
           can vary substantially within each paragraph and topic area.


                                                   3
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      As reflected below, in the tenth reporting period, the IMT continued to assess new
      monitorable paragraphs in the recently added Investigatory Stops, Protective Pat-
      Downs, and Enforcement of Loitering Ordinances section of the Consent Decree.
      Specifically, as reflected below, the IMT assessed the City’s compliance with 36 of
      these paragraphs in the tenth reporting period. By June 30, 2024, the City has Pre-
      liminary compliance with six paragraphs (¶¶834, 841, 857, 858, 859, and 873),
      Secondary compliance for four paragraph (¶¶835, 838, 854, and 856), and Full
      compliance with one paragraph (¶868). As a result, the City does not have compli-
      ance with the remaining 25 paragraphs under review to date. Of those, the City is
      under assessment for Preliminary compliance with all 25 paragraphs. In the com-
      ing reporting periods, the IMT will continue to assess additional monitorable par-
      agraphs in this section until all 69 monitorable paragraphs are under review.




      Overall, including all monitorable paragraphs in the tenth reporting period, the
      City has achieved Preliminary compliance with 255 paragraphs (43%), Secondary
      compliance with 207 paragraphs (35%), and Full compliance with 53 paragraphs
      (9%)–leaving 73 paragraphs with no levels of compliance (12%).

      Major Developments and Principal Achievements and
      Challenges Impacting Compliance
      In the Consent Decree, the City committed “to ensuring that police services are
      delivered to all of the people of Chicago in a manner that fully complies with the
      Constitution and laws of the United States and the State of Illinois, respects the
      rights of all of the people of Chicago, builds trust between officers and the com-
      munities they serve, and promotes community and officer safety.” The City also
      committed “to providing CPD members with the resources and support they need,
      including improved training, supervision, and wellness resources.” ¶6.



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                 Executive Summary Figure 1, below, provides a sample of principal achievements
                 and challenges across the 10 topic areas of the Consent Decree.

                 Executive Summary Figure 1.              Sample of Principal Achievements & Challenges
Section                   Sample of Principal Achievements                             Sample of Principal Challenges
    Policing
 Community




                   •   The CPD initiated changes in leadership at the Of-     •   The CPD’s updated community engagement
                       fice of Community Policing and partially re-staffed        strategy requires significant improvement to
                       positions and curtailed detailing staff to other as-       ensure a more comprehensive strategy for
                       signments during this reporting period. This re-           citywide community activities.
                       sulted in enhanced capacity by this Office in ad-
                                                                              •   The CPD continues to rely on Chicago Alterna-
                       dressing Community Policing compliance require-
                                                                                  tive Policing Strategy officers and District Coor-
                       ments.
                                                                                  dination officers in some districts to engage in
                   •   The City—through the Department of Family and              community outreach and problem-solving.
                       Support Services; the Mayor’s Office of Commu-
                                                                              •   The CPD Neighborhood Policing Initiative, an ef-
                       nity Safety; and the CPD—developed a plan to im-
                                                                                  fort to expand problem-solving activities at the
                       plement a year-long pilot project designed to pro-
                                                                                  district level, is still limited to 10 police districts.
                       vide meaningful alternatives to arrest for youth,
                       including a more robust service delivery network       •   The CPD should clarify its role in supporting
                       and enhanced tracking of delivery of those recom-          school safety in light of the Chicago Board of Ed-
                       mended services. The CPD also continued to re-             ucation’s vote to remove all school resource of-
                       fine its Youth Intervention Policy for the citywide        ficers.
                       pilot.
                  •    The CPD initiated the development of templates to
                       document and track district-level partnerships.
                       The draft templates represent a major step for-
                       ward in identifying and tracking partnership activ-
                       ity at the district level as required by the Consent
                       Decree.
  Policing
 Impartial




                   •   The City and the CPD produced and published            •   The CPD still have not achieved a level of com-
                       the 2023 Annual Hate Crimes Report.                        pliance with five paragraphs in the Impartial Po-
                                                                                  licing section (62, 68, 69, 79, and 80).
                   •   The City delivered trainings in support of compli-
                       ance with several paragraphs within this section,      •   The CPD has not yet finalized General Order
                       including its 2024 Annual In-Service Supervisor            G01-03-01, Community Engagement in Policy,.
                       Training.
                   •   The CPD produced its “Equity Framework,” which
                       established a foundation for ensuring fair and eq-
                       uitable policing throughout the CPD.
        Crisis
 Intervention




                   •   The CPD has significantly improved its training        •   Staffing levels in the Crisis Intervention Unit re-
                       across the board (e.g., Crisis Intervention Team           main low.
                       (CIT) Recruit Concepts and Annual In-Service train-
                                                                              •   The CPD must establish a plan for implementing
                       ings).
                                                                                  the Bureau of Internal Affair’s (BIA’s) review of
                                                                                  voluntary Certified CIT officer eligibility data.
                                                                              •   OEMC must revise the CIT and Mental Health
                                                                                  Awareness training.




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  Section                                   Sample of Principal Achievements                           Sample of Principal Challenges
        Use of Force
                                     •   The CPD provided analyses of patterns and            •   The CPD has not revised D19-01, its Firearm
                                         trends in both the 2023 Annual Use of Force Re-          Pointing directive in accordance with the two-
                                         port and Tactical Review and Evaluation Division’s       year review and Court Order on Search War-
                                         (TRED’s) 2023 Year-End Report. Both reports in-          rants that impacts the policy.
                                         cluded the CPD’s actions to address emerging
                                                                                              •   TRED continues to fall behind in their efforts to
                                         patterns and trends.
                                                                                                  reduce the backlog—despite attempts to hire of-
                                     •   The CPD revised and adapted policies, trainings,         ficers and civilians to the unit—as the CPD con-
                                         and reporting processes in preparation for the           tinues to give TRED additional responsibilities.
                                         Democratic National Convention.
                                                                                              •   The CPD must revise and clarify its Body Worn
                                                                                                  Cameras policy, S03-14, consistent with the July
                                                                                                  1, 2024 Court Order.
 Promotions
    Hiring &
Recruitment,




                                     • The City and the CPD advanced compliance with re- •        The CPD still struggles with staffing to meet the
                                       quirements to evaluate Recruitment, Hiring, and            requirements of the Consent Decree. See ¶706.
                                       Promotion processes by deploying and convening
                                       multidisciplinary internal committees.
        Training




                                     •   The CPD successfully completed training for core     •   The CPD failed to achieve any significant com-
                                         CPD personnel deploying to the Democratic Na-            pliance improvements in paragraphs related to
                                         tional Convention.                                       evaluations.
                                     •   The CPD advocated for and achieved approval to       •   The CPD were unable to timely deploy the 2025
                                         increase the cadre of Field Training Officers            Training Plan to allow review, approval, and
                                         (FTOs).                                                  adoption in coordination with the fiscal calen-
                                                                                                  dar.
                                     •   The CPD successfully trained several FTOs to par-
                                         ticipate in classroom training instruction.
        Supervision




                                     •   The CPD produced “CPD & Me” newsletters for          •   Staffing shortages prevented the Unity of Com-
                                         July 2023 through April 2024.                            mand and Span of Control Pilot Program districts
                                                                                                  from consistently meeting the 10-to-1 officer-to-
                                     •   The CPD produced the contents of the Tableau
                                                                                                  supervisor ratio required for all districts by ¶360.
                                         staffing dashboard, assignment sheets, transfer
                                         orders, and detail records.
        Officer Wellness & Support




                                     • The CPD produced the combined 2023–2024 An- •              The CPD still does not have a technology-based
                                       nual Report to the Superintendent.                         system to retain, track, and analyze key data
                                                                                                  points relevant to several paragraphs in this sec-
                                     • The CPD submitted their first wellness training cur-       tion and is still manually collecting this data.
                                       riculum for civilian members.
                                                                                            •     The CPD has not produced its Suicide Prevention
                                     • The CPD began producing additional data (i.e., re-         Strategy.
                                       ferral data of several Professional Counseling Divi-
                                       sion groups) required by the Consent Decree to •           The Professional Counseling Division continue to
                                       achieve further levels of compliance.                      face challenges documenting their respective
                                                                                                  groups’ caseloads and wait times members face
                                                                                                  when requesting and receiving services.




                                                                                  6
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   Section                                         Sample of Principal Achievements                           Sample of Principal Challenges
           Accountability & Transparency
                                           •   The CPD made significant progress toward finaliz-     • Due to competing demands, no BIA trainings were
                                               ing its Officer-Involved Shooting and Officer-In-       provided in the tenth reporting period, and there-
                                               volved Death Incident policy series (G03-06, G03-       fore, the CPD did not reach further levels of com-
                                               06-01, and G03-06-02).                                  pliance for numerous paragraphs.
                                           •   COPA’s People’s Academy conducted its third co-       • Many Accountability Sergeants continue to have
                                               hort of the Academy, which continued to be an ef-       other responsibilities that significantly compete
                                               fective and valuable means of interacting and in-       with their Accountability Sergeant duties, which
                                               creasing transparency.                                  should be their primary responsibility. See ¶494.
                                           •   The Police Board developed and finalized two pol-     • COPA continues to work to collect and analyze
                                               icies and continued to demonstrate commitment           evaluation data regarding its training and instruc-
                                               to compliance with Consent Decree requirements.         tors to ensure quality training moving forward.
                                           •   The Community Commission for Public Safety and        • Due to pending litigation between a police union
                                               Accountability (CCPSA) followed the established         and the City regarding arbitration of serious po-
                                               selection process and criteria to fill vacant posi-     lice discipline cases, the Police Board only heard
                                               tions on the Police Board.                              cases in which the officer consented to the Police
                                                                                                       Board’s procedures.
                                           •   The City worked to hire a Director of Mediation
                                               within COPA to focus on staffing the mediation
                                               program and community engagement.
  Management
     Analysis &
Data Collection,




                                           • The City and the CPD regained Preliminary and Sec-      •   The CPD should develop a policy memorializing
                                             ondary compliance with ¶570, which requires COPA            COPA’s access to CPD data systems to ensure on-
                                             to have access to CPD data systems as part of their         going access and to maintain future compliance.
                                             investigations into use-of-force events.
                                                                                                     •   The CPD has continued to struggle to incorpo-
                                           •   The City and the CPD achieved Preliminary com-            rate decision-point analysis into Force Review
                                               pliance with ¶573 by providing a proposed meth-           Board practices.
                                               odology for conducting a citywide and district-
                                               level data analysis of use of force as required by
                                               ¶572.
                                           •   The City and the CPD achieved Full compliance
                                               with ¶577 through the Force Review Board’s re-
                                               view of applicable reportable uses of force.
                                           • The City and the CPD have made appreciable pro-
                                             gress in developing the CPD’s early intervention sys-
                                             tem (¶¶583–605).
                                           • The CPD’s Audit Division conducted an audit of
                                             10,377 report narratives to evaluate the validity of
                                             use-of-force data.




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         Section                    Sample of Principal Achievements                          Sample of Principal Challenges
   Investigatory Stop Re-


    Loitering Ordinances
     ports, Protective Pat
Downs, & Enforcement of
                             • The City and the CPD submitted draft policies and      •   The City and the CPD continue working through
                               forms for investigatory stops, protective pat downs,       some challenges with their data collection for In-
                               and enforcement of loitering ordinances that re-           vestigatory Stop Reports (ISRs) and navigating
                               ceived no-objection notices.                               the use of systems that are not integrated with
                                                                                          each other.
                             • The CPD made significant progress on their needs
                               assessment on the reporting and data collection        •   The CPD needs to develop an effective commu-
                               mechanisms and system for investigatory stops,             nity engagement strategy that allows for con-
                               protective pat downs, and enforcement of the Loi-          sistent community collaboration to receive di-
                               tering Ordinances.                                         rect community feedback.




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      Roadmap
      We begin this report with a Background section that provides some historical con-
      text about the Consent Decree and the IMT. This section will help those who have
      not read or would like to reacquaint themselves with the background information
      from our previous reports and Monitoring Plans.

      The next section, Compliance Activities and Assessments, provides the following
      information regarding the tenth reporting period:

      ❖   An overview of the IMT’s assessment process and priorities for the tenth re-
          porting period, including deadlines and status updates;

      ❖   A summary of the IMT’s activities; and

      ❖   A summary of relevant compliance efforts for each topic of the Consent De-
          cree.

      Per ¶661, the links to specific paragraph assessments detail the IMT’s compliance
      assessments for every monitorable paragraph for which the City gained compli-
      ance, the City lost compliance, or the IMT is highlighting for significant progress or
      lack of progress. (All original monitorable paragraphs were under review in the
      tenth reporting period and more information for each paragraph, including history
      and current compliance levels, are available in Comprehensive Assessment Part I
      (November 11, 2023)).

      Finally, the last section, Conclusion and Looking Ahead to Independent Monitor-
      ing Report 11 provides concluding remarks and a projection of the upcoming work
      in the eleventh reporting period.




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      Background
      The Chicago Police Consent Decree
      In December 2015, the U.S. Attorney General launched a civil-rights investigation
      into the CPD’s policing practices. The U.S. Department of Justice released the re-
      sults of its investigation in January 2017, finding a longstanding, pervasive “pattern
      or practice” of civil rights abuses by the CPD. Two separate class-action lawsuits
      followed: Campbell v. City of Chicago and Communities United v. City of Chicago.14

      In August 2017, the OAG sued the City in federal court, seeking a Consent Decree
      that would address the DOJ’s findings and recommendations. The case was as-
      signed to federal Judge Robert M. Dow, Jr. The OAG then sought input from com-
      munity members and Chicago police officers and negotiated the Consent Decree
      with the City.

      In March 2018, the Parties to the Consent Decree (the OAG and the City) entered
      into a Memorandum of Agreement with a “broad-based community coalition com-
      mitted to monitoring, enforcing, and educating the community about the Consent
      Decree (‘the Coalition’),” which “includes the plaintiffs in the Campbell and Com-
      munities United lawsuits.”15

      The OAG and the City then sought proposals for an independent monitoring team
      after posting a draft Consent Decree on the Chicago Police Consent Decree web-
      site. Judge Dow approved and signed a modified version of the Consent Decree on
      January 31, 2019. This Consent Decree provides a unique opportunity for feedback
      from Chicago communities and local stakeholders. The OAG oversees and enforces
      the Consent Decree. See ¶694. The Coalition has certain enforcement rights and
      meets with the independent monitoring team at least quarterly. See ¶¶709(a) and
      ¶669, respectively.

      The Consent Decree requires action by the CPD and many other City entities. On
      March 1, 2019, the effective date of the Consent Decree, and after a competitive
      selection process, Judge Dow appointed Maggie Hickey, a partner at ArentFox
      Schiff LLP, as the Independent Monitor.16 On October 11, 2022, Chief US District

      14
           See Campbell v. Chicago, N.D. Ill. Case No. 17-cv-4467 (June 14, 2017), and Communities United
           v. Chicago, N.D. Ill. Case No. 17-cv-7151 (October 4, 2017).
      15
           See Memorandum of Agreement Between the Office of the Illinois Attorney General and the
           City of Chicago and Campbell v. City of Chicago Plaintiffs and Communities United v. City of
           Chicago Plaintiffs (March 20, 2018), https://cpdmonitoringteam.com/wp-content/up-
           loads/2024/02/executed_moa.pdf.
      16
           Judge Dow also appointed Judge David H. Coar, Ret., as a special master. As special master,
           Judge Coar is not a member of the IMT, but he will “help facilitate dialogue and assist the




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      Judge of the District Court for the Northern District of Illinois Rebecca R. Pallmeyer
      became the presiding judge over the Consent Decree. As the Independent Moni-
      tor, Ms. Hickey oversees the Independent Monitoring Team (IMT) and reports di-
      rectly to Chief Judge Pallmeyer.

      As the IMT, we (1) monitor the City’s, the CPD’s, and other relevant City entities’
      progress in meeting the Consent Decree’s requirements and (2) offer assistance to
      the City, the CPD, and other relevant City entities to implement the changes that
      the Consent Decree requires.

      Independent Monitor Maggie Hickey and Deputy Monitor Chief Rodney Monroe,
      Ret., lead the IMT. The IMT’s 10 Associate Monitors, in turn, oversee the 11 topic
      areas of the Consent Decree. Our legal team, analysts, subject-matter experts,
      Community Engagement Team, and community survey staff provide support. This
      includes reaching out to and engaging with Chicago communities; providing ad-
      ministrative support; drafting reports, and collecting and analyzing policies, pro-
      cedures, laws, and data, such conducting observations and interviews.

                                                    ***

      More information about the IMT is available on our website: https://cpdmonitor-
      ingteam.com/. Community members can reach out to the IMT via email: con-
      tact@cpdmonitoringteam.com.17




           [OAG], the City, and other stakeholders in resolving issues that could delay progress toward
           implementation of the consent decree.” About, CHICAGO POLICE CONSENT DECREE, http://chica-
           gopoliceconsentdecree.org/about/. As the special master, Judge Coar also reports directly to
           Judge Pallmeyer.
      17
           Learn more at the Contact Us page on our website (https://cpdmonitoringteam.com/con-
           tact/). Community members can also contact individual members of our Community Engage-
           ment Team: Joe Hoereth (Joe.Hoereth@cpdmonitoringteam.com), Norma Ramos (Norma.Ra-
           mos@cpdmonitoringteam.com), Laura McElroy (Laura.McElroy@cpdmonitoringteam.com),
           Steve Rickman (Stephen.Rickman@cpdmonitoringteam.com), and Denise Rodriguez (Den-
           ise.Rodriguez@cpdmonitoringteam.com)


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      Compliance Activities and Assessments
      This section provides an overview of compliance efforts for the tenth reporting
      period. This includes summaries of our activities during the reporting period, in-
      cluding community engagement activities; an explanation of compliance assess-
      ments; and summaries of compliance and compliance efforts for each topic area
      of the Consent Decree.

      Summary of IMT Activities in the Reporting Period
      In the tenth reporting period, we continued to meet regularly with representatives
      from the City, the City’s relevant entities, the OAG, and members of Chicago’s com-
      munities, including members of the Coalition (see ¶669). This included regular
      meetings with the CPD and the Superintendent (see ¶668), settlement confer-
      ences, public status hearings, and site visits (see ¶681).

      As with previous reporting periods, the IMT discussed the methodologies with the
      Parties before implementation and prior to conducting its audits and reviews for
      this report, acknowledging their concerns, and making adjustments for clarity.18

      We also continued to adhere to several specific and ongoing requirements of the
      Consent Decree. Background Figure 1, below, summarizes our compliance with the
      Consent Decree’s deadlines for the IMT in the tenth reporting period.




      18
           For the IMT, these discussions often highlight the importance of maintaining flexibility in our
           methodologies throughout the monitoring process. This flexibility ensures that our monitoring
           efforts continue to meet the letter and spirit of the Consent Decree, as the Parties and the IMT
           develop necessary information, learn from previous efforts, and identify unanticipated hur-
           dles. See, e.g., ¶717. Changed circumstances, for example, may require the IMT to consider
           fewer, more, or alternative sources of information.


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      Background Figure 1:                       IMT Deadlines in the Tenth Reporting Period

                                                                                 Tenth Reporting
           ¶s              Requirement                      Deadline             Period Deadlines
                       Review of CPD Policies               Various,             Corresponds with
         627–37
                          and Procedures                    Ongoing               policy deadlines
                  Review of Implementation Plans            Various,           Corresponds with plan
         638–41
                       and Training Materials               Ongoing            and training deadlines
                        Compliance Reviews                  Various,             Occur during each
         642–44
                           and Audits                       Ongoing               reporting period
                                                         45 Days prior
         652–55       Review Methodologies              (and every reporting       May 16, 2024
                                                              period)

                       Technical Assistance
           656                                              Ongoing                  Ongoing
                      and Recommendations
                         Maintain Regular
           668                                              Ongoing                  Monthly
                      Contact with the Parties
                    Monitor will Participate in
           669                                              Quarterly                Quarterly
                    Meetings with the Coalition
                  Communication with the Parties,
         670–71         Collective Bargaining               Ongoing                  Ongoing
                   Representatives, and the Public



         IMT’s Community Engagement Activities
      The IMT’s Community Engagement Team plays a critical role by monitoring levels
      of trust and sentiment among members of Chicago’s communities. The IMT’s Com-
      munity Engagement Team includes experienced Chicago community organizers,
      community researchers, experts in police-community relations, and academic
      scholars. Community Engagement Team meaningfully engages with Chicago’s
      communities and ensure that community members participate throughout the
      monitoring process. The Community Engagement Team also works closely with the
      Monitor, the Deputy Monitor, and the Associate Monitors to assess the community
      components of compliance with the Consent Decree.

      The IMT’s Community Engagement Team performs two key tasks regarding the
      Consent Decree monitoring process: (1) gathering input from Chicagoans about
      their concerns regarding CPD policies and practices and (2) providing information
      to the Chicago community about the IMT’s activities and findings.

      The IMT’s Community Engagement Team’s work is vital to measure compliance
      with specific policy, training, and procedural changes required by the Consent De-
      cree. The Community Engagement Team encourages improved relationships




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      based on respect, trust, and partnership and emphasizes how relationships may
      be strengthened by transparency and accountability.

      In the tenth reporting period, we also sought to hear sentiments from a broad
      range of Chicagoans. Judge Rebecca Pallmeyer also held public hearings on March
      12, 2024, featuring public comments regarding their concerns, observations, and
      ideas about CPD reform, and June 11, 2024, featuring public comments regarding
      traffic stops.

      We also hosted a Virtual Listening Session on March 19, 2024, in partnership with
      the Center on Halsted. Chicagoans shared their thoughts and concerns about Chi-
      cago policing with Independent Monitor Maggie Hickey, Deputy Monitor Rodney
      Monroe, and members of the IMT’s Community Engagement Team. We also
      hosted an in-person Community Listening Session on June 25, 2024, in partnership
      with the Coalition for a Better Chinese American Community (CBCAC).19

      Figure 3. IMT Listening Session Flyers (March 19 and June 25, 2024)




      The IMT also attended and presented an overview of the Consent Decree at sev-
      eral District Council meetings throughout this reporting period. We visited District
      20 on July 8, 2024; District 15 on May 9, 2024; District 9 on April 24, 2024; and a
      combined meeting of Districts 17, 19, 20, and 24 on February 28, 2024.

      We also issued periodic newsletters, emails, and news releases to update commu-
      nity stakeholders on our monitoring activities.



      19
           We greatly appreciate our partners’ generous hospitality.


                                                     14
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      Figure 4.
         Examples of IMT Newsletters sent between January 1, 2024 and June 30, 2024




                                           15
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      Compliance Assessments
      As reflected above, and in accordance with ¶¶661–62 and 642, the IMT assesses
      how the City, the CPD, and other City entities comply with each paragraph of the
      Consent Decree in three successive levels: (1) Preliminary compliance,20 (2) Sec-
      ondary compliance,21 and (3) Full compliance22. The CPD and other City entities
      will not be “in compliance” with a requirement until they reach Full compliance
      for the requisite length of time required by the Consent Decree—either one or two
      years. See ¶714.

      These levels typically correspond with whether the City or its relevant entities have
      (1) created a compliant policy, (2) adequately trained personnel on that policy, and
      (3) successfully implemented the policy reform in practice.


      20
           Preliminary compliance typically refers to the development of acceptable policies and proce-
           dures that conform to best practices (as defined in ¶730) and to the incorporation of require-
           ments into policy (¶642). The IMT will assess the development of policies, procedures, rules,
           and regulations reasonably designed to achieve compliance. To attain Preliminary compliance,
           the City must have policies and procedures designed to guide officers, City employees, super-
           visors, and managers performing the tasks outlined in the Consent Decree. These policies and
           procedures must include appropriate enforcement and accountability mechanisms, reflect the
           Consent Decree’s requirements, comply with best practices for effective policing policy, and
           demonstrate the City and its relevant entities’ ability to build effective training and compli-
           ance.
      21
           Secondary compliance typically refers to the development and implementation of acceptable
           and professional training strategies (¶642). Those strategies must convey the changes in poli-
           cies and procedures that were established when we determined Preliminary compliance. Sec-
           ondary compliance also refers to creating effective supervisory, managerial, and executive
           practices designed to implement policies and procedures as written (¶730). The IMT will re-
           view and assess the City’s documentation—including reports, disciplinary records, remands to
           retraining, follow-up, and revisions to policies, as necessary—to ensure that the policies de-
           veloped in the first stage of compliance are known to, are understood by, and are important
           to line, supervisory, and managerial levels of the City and the CPD. The IMT will be guided by
           the ADDIE model (Analysis, Design, Development, Implementation, and Evaluation) of curric-
           ulum development to assess training and will consider whether there are training, supervision,
           audit, and inspection procedures and protocols designed to achieve, maintain, and monitor
           the performances required by the Consent Decree.
      22
           Full compliance refers to adherence to policies and training within day-to-day operations
           (¶642). Full compliance requires that personnel, including sergeants, lieutenants, captains,
           command staff, and relevant City personnel routinely hold each other accountable for compli-
           ance. In other words, the City must “own” and enforce its policies and training and hold officers
           accountable for misconduct through a disciplinary system that is fair, timely, and consistent.
           The IMT will assess whether the City’s day-to-day operations follow directives, policies, and
           training requirements. When measuring Full compliance, we will note whether supervisors
           notice, correct, and supervise officer behavior and whether appropriate corrections occur in
           the routine course of business. In this phase, we will review whether compliance is reflected
           in routine business documents, demonstrating that reforms are being institutionalized. In ad-
           dition, we will determine whether all levels of the chain of command ensure consistent and
           transparent compliance.


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      Still, the three compliance levels often apply differently to various paragraphs. For
      some paragraphs, for example, Preliminary compliance may refer to efforts to es-
      tablish the requisite training rather than to create a policy. Likewise, to reach and
      sustain Full compliance, the City may need to create a policy to ensure that it pro-
      vides training consistently, as appropriate. In other circumstances, levels of com-
      pliance may include implementing effective pilot programs before rolling out re-
      forms across the entire CPD.

      Throughout this report, we provide our compliance assessments and descriptions
      of the status of current compliance based on efforts within the tenth reporting
      period.23 Under the Consent Decree, the City, the CPD, and other relevant entities
      are not technically in compliance with any of the requirements of the Consent De-
      cree until the City has provided sufficient proof to the IMT that the City, the CPD,
      or other relevant entities are complying. See ¶720. Even if the City has made sig-
      nificant efforts toward complying with a requirement, the City still has the addi-
      tional burden of providing the IMT and the OAG with sufficient proof of its ac-
      tions.24

      To reflect the City’s and its relevant entities’ progress through the Consent Decree
      process, for paragraphs under assessment in the tenth reporting period, we have
      added specific categories for each of the three levels of compliance, as appropri-
      ate:




      23
           We set out our priorities for the tenth reporting period in our Monitoring Plan for Year Five.
           See Reports and Information, INDEPENDENT MONITORING TEAM, https://cpdmonitoring-
           team.com/reports-information/.
      24
           In other words, the City, the CPD, and other relevant City entities are not in any level of com-
           pliance until we find that they comply. As a result, a finding that the City is not in compliance
           with a requirement does not mean that the City has not made efforts—even significant ef-
           forts—to achieve compliance toward that requirement.


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      •   In Compliance. Based on the City’s evidence, the City has achieved a level of
          compliance with a requirement of the Consent Decree.

      •   Under Assessment. Based on the City’s evidence, the IMT is still assessing
          whether the City has achieved a level of compliance with a requirement of the
          Consent Decree. This may occur, for example, when the City’s efforts do not
          cleanly overlap with a reporting period.

      •   Not in Compliance. Based on the City’s evidence, the City has not achieved a
          level of compliance with a requirement of the Consent Decree.

      •   Not Yet Assessed. The IMT has not yet assessed whether the City has met this
          level of compliance with a requirement of the Consent Decree. This may occur,
          for example, when the IMT is still assessing a lower level of compliance, or the
          City has not achieved a lower level of compliance.

      The following subsections include our summaries of compliance assessments
      within each section of the Consent Decree.

      ❖ Community Policing

      ❖ Impartial Policing

      ❖ Crisis Intervention

      ❖ Use of Force

      ❖ Recruitment, Hiring & Promotion

      ❖ Training

      ❖ Supervision

      ❖ Officer Wellness and Support

      ❖ Accountability and Transparency

      ❖ Data Collection, Analysis & Management

      ❖ Investigatory Stops, Protective Pad-Downs, and Enforcement of Loitering
        Ordinances

      ❖ Implementation, Enforcement & Monitoring




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      I. Community Policing
                                       Guiding Principles
      The IMT assessed whether the City complied with applicable Community Policing
      paragraphs in accordance with the Consent Decree’s “Guiding Principles.” These
      principles “are intended to provide the Court, the Monitor, and the public with the
      context for the subsequent substantive requirements” and “the overall goals”
      (¶757):

               8. Strong community partnerships and frequent positive interactions between
               police and members of the public make policing safer and more effective, and
               increase public confidence in law enforcement. Moreover, these partnerships
               allow police to effectively engage with the public in problem-solving tech-
               niques, which include the proactive identification and analysis of issues in or-
               der to develop solutions and evaluate outcomes.

               9. To build and promote public trust and confidence in CPD and ensure consti-
               tutional and effective policing, officer and public safety, and sustainability of
               reforms, the City and CPD will integrate a community policing philosophy into
               CPD operations that promotes organizational strategies that support the sys-
               tematic use of community partnerships and problem-solving techniques.

               10. CPD will ensure that its community policing philosophy is a core compo-
               nent of its provision of police services, crime reduction strategies and tactics,
               training, management, resource deployment, and accountability systems. All
               CPD members will be responsible for furthering this philosophy and employ-
               ing the principles of community policing, which include trust and legitimacy;
               community engagement; community partnerships; problem-solving; and the
               collaboration of CPD, City agencies, and members of the community to pro-
               mote public safety.

               11. The City and CPD are committed to exploring diversion programs, re-
               sources, and alternatives to arrest.


      Summary of Compliance Efforts and Assessments

      Community Policing Progress in the Tenth Reporting Period
      In the tenth reporting period, IMT assessed compliance with the Community Po-
      licing paragraph requirements by reviewing relevant policies, training curricula and
      attendance records, a sampling of arrest records, relevant CPD reports, and mate-
      rials provided by the CPD during regularly scheduled monthly briefings. During an
      April site visit and follow-up meetings the IMT visited several police districts inter-
      viewing District commanders and their leadership staff, Chicago Alternative Polic-
      ing Strategy (CAPS) officers, and District Coordination Officers. The IMT also inter-
      viewed a panel of District Advisory Committee (DAC) chairs, discussed a pilot youth


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      intervention services initiative as alternatives to arrest, and observed a Mayor’s
      Public Safety Cabinet meeting.

      Significant developments in the tenth reporting period are highlighted below:

      •   The CPD initiated changes in leadership at the Office of Community Policing
          and partially re-staffed positions. Additionally, the CPD curtailed detailing staff
          to other assignments, resulting in enhanced capacity by this office in address-
          ing Community Policing compliance requirements.

      •   The CPD continued to develop their districtwide strategy development pro-
          cesses by now including a quarterly review process to assess progress in
          achieving districtwide goals and identifying and addressing challenges. The
          CPD districtwide strategic development process is an important achievement
          in advancing community input that identifies enforcement priorities and com-
          munity engagement activities at the district level.

      •   The CPD continued to refine its Youth Intervention policy by developing a plan
          to implement a year-long pilot project designed to provide meaningful alter-
          natives to arrest for youth, including a more robust service delivery network
          and enhanced tracking of delivery of those recommended services. The pilot
          project is guided by a new Youth Intervention Services directive submitted for
          review at the end of this reporting period.

      •   The CPD initiated the development of templates to document and track district
          level partnerships as well as Beat and DAC meetings. Although not finalized in
          this reporting period, the draft templates represent a major step forward in
          identifying and tracking partnership activity at the district level as required by
          the Consent Decree.

      •   The CPD provided the IMT with an updated community engagement strategy
          that represented improvements form previously submitted versions. The IMT
          believes that the strategy needs to be more comprehensive to include engage-
          ment all city-wide, and district and neighborhood activities involving commu-
          nity input, information sharing, and community feedback on CPD policing op-
          erations and practices. The Consent Decree mandates community engage-
          ment, and the CPD should expand its engagement strategies and planning to
          encompass all the touch points with community members.

      •   The CPD continues to struggle with implementing the Consent Decree’s com-
          munity policing guiding principles requiring all CPD members to be responsible
          for employing its community policing philosophy in daily operations. Currently,
          the CPD relies on CAPS officers and District Coordination officers (DCOs) in
          some districts to engage in community outreach and problem-solving activi-



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          ties. The CPD is initiating a workforce analysis and the IMT hopes that the re-
          sults of the analysis guide CPD’s planning to make significant changes in officer-
          time allocation and seeking ways to further engage in proactive non-enforce-
          ment activities by CPD officers.

      •   On February 22, 2024, the Chicago Board of Education voted to eliminate all
          school Resource officers (SROs) by the end of the next academic year and cre-
          ate a new “holistic” school safety policy. As a result of this resolution, SROs will
          be removed from the 39 high schools where they are currently deployed. It is
          important to note that these SRO requirements are solely dependent upon the
          City, CPD, and Chicago Public Schools (CPS) agreeing to implement an SRO pro-
          gram. The CPD indicates that they are working on a new directive to support
          school safety and any future roles for the currently assigned SROs. We look
          forward to reviewing that directive in future reporting periods.

      Community Policing Progress through Ten Reporting Periods
      Overall, the IMT assessed the City’s compliance with 35 Community Policing para-
      graphs in the tenth reporting period (¶¶13–20 and 22–48). The City and the CPD
      maintained Preliminary compliance for 11 paragraphs (¶¶16, 19, 22–25, 27, 32,
      37, 45, and 47), achieved Preliminary compliance with one paragraph (¶33), main-
      tained Secondary compliance for 18 paragraphs (¶¶13-15, 17–18, 20, 26, 28-29,
      34–36, and 38–43), achieved Secondary compliance for three paragraphs (¶¶31,
      46, and 48), and maintained Full compliance with two paragraphs (¶¶30 and 44).
      See Community Policing Figure 1 below.

      Community Policing Figure 1: Compliance Progress for Community Policing Para-
      graphs at the End of the Tenth Reporting Period (June 30, 2024)




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      Looking Ahead to the Eleventh Reporting Period
      In the eleventh reporting period, the IMT is hopeful that the CPD will complete
      many of the tasks initiated in the tenth reporting period. These include finalizing
      processes to identify, track, assess, and when applicable expand community part-
      nerships. The IMT also looks forward to the CPD completing its digitized resource
      directory, continuing its efforts to better document and track DACs and Beat meet-
      ing activities, and fully implementing its internal review processes for its dis-
      trictwide strategies. Although it made progress in the tenth reporting period, the
      CPD needs to better articulate its community engagement strategies in a much
      more comprehensive manner, recognizing the various levels of engagement and
      related requirements found throughout the Consent Decree. The IMT stands ready
      to assist the CPD in accomplishing this goal.

      The CPD continues to struggle with finding ways to engage in community policing
      practices department wide. Currently, community outreach, problem solving, and
      partnership building is often siloed in Community Alternative Policing Services
      (CAPS) in each district with minimal involvement by patrol officers. The CPD Neigh-
      borhood Initiative (NPI), an effort to expand problem-solving activities at the dis-
      trict level, is still limited to 10 police districts. Moreover, the CPD has not taken
      action to respond to the shortcomings revealed in a 2023 study of NPI.25

      The CPD is seeking assistance in finding solutions to this challenge, including a
      workforce analysis to hopefully lead to better utilization of officer time and allow-
      ing for more proactive non-enforcement community policing and problem-solving
      activities.

      Finally, it is important that the CPD clarify its role in supporting school safety and
      the future roles, if any, of the current cadre of School Resource Officers.

      Additional policies or revisions for the eleventh reporting period may include:

      •    Finalizing the Youth Intervention Services policy,
      •    Revisions to partnership to align with proposed changes in documentation
           and tracking, and
      •    New or revised school-safety-related policies.




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           See Center for Neighborhood Engaged Research & Science (CORNERS), The Chicago Neighbor-
           hood Policing Initiative: Research and Evaluation Report, 2019-2023, INSTITUTE FOR POLICY RE-
           SEARCH RAPID RESEARCH REPORT (April 20, 2023), https://uploads-ssl.webflow.com/630fc70085
           c3ed55d3d41d54/6462577e91593b350aea8bae_CORNERS%202023%20CNPI%20Report%20
           (1).pdf.


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      The Consent Decree also requires additional training development. At the end of
      the tenth reporting period, the City and the CPD continued developing the follow-
      ing training materials:

      •   An in-service COPS training addressing all ¶37 requirements,
      •   An eLearning for Community Partnerships, and
      •   An eLearning for implementing and using community resource directory

      We look forward to reporting on these finalized materials, as well as evidence that
      the City and the CPD have implemented reforms into practice in the next reporting
      period.

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      Specific compliance assessments, by paragraph, for the Community Policing sec-
      tion are available here: https://cpdmonitoringteam.com/tenth-semi-annual-inde-
      pendent-monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each original monitorable paragraphs in the Community
      Policing section is available in Comprehensive Assessment Part I (which included
      Independent Monitoring Report 8): https://cpdmonitoringteam.com/wp-con-
      tent/uploads/2024/06/IMR8-Appendix-1-Community-Policing-2023.11.01.pdf.




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      II. Impartial Policing
                                      Guiding Principles
      The IMT assessed compliance with applicable Impartial Policing paragraphs in ac-
      cordance with the Consent Decree’s “Guiding Principles.” These principles “are in-
      tended to provide the Court, the Monitor, and the public with the context for the
      subsequent substantive requirements” and “the overall goals” (¶757):

              49. The Parties agree that policing fairly, with courtesy and dignity, and with-
              out bias is central to promoting broad community engagement, fostering
              public confidence in CPD, and building partnerships between law enforcement
              and members of the Chicago community that support the effective delivery of
              police services.

              50. In conducting its activities, CPD will provide police services to all members
              of the public without bias and will treat all persons with the courtesy and dig-
              nity which is inherently due every person as a human being without reference
              to stereotype based on race, color, ethnicity, religion, homeless status, na-
              tional origin, immigration status, gender identity or expression, sexual orien-
              tation, socio-economic class, age, disability, incarceration status, or criminal
              history.

              51. CPD will ensure its members have clear policy, training, and supervisory
              direction in order to provide police services in a manner that promotes com-
              munity trust of its policing efforts and ensures equal protection of the law to
              all individuals.


      Summary of Compliance Efforts and Assessments

      Impartial Policing in the Tenth Reporting Period
      In the tenth reporting period, the City’s and the CPD’s progress toward compliance
      with these important requirements remained largely unchanged from the previ-
      ous reporting period. The City and the CPD produced various policies and training
      materials for review. These included the following CPD policies: Interaction with
      Persons with Limited English Proficiency (S02-01-05); Interactions with Persons
      with Disabilities (S02-07); Interactions with Persons Who are Deaf, Hard of Hear-
      ing, or Deaf-Blind (S-02-07-00XX); Gender-Based Violence Incidents (G04-XX); and
      the Search Warrants Policy Suite. The CPD has continued to further develop re-
      lated policies and begin related community engagement.

      During this reporting period, the City and the CPD delivered two trainings in sup-
      port of compliance with various paragraphs within this section, these included
      2024 Annual In-service Supervisors Training, and ABLE (Active Bystander for Law
      Enforcement) refresher training for 2024.


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      Further, the IMT reviewed the CPD’s Equity Framework, which incorporated the
      requirements set forth in ¶¶53 and 72 and helped the City and the CPD achieve
      Preliminary compliance with these paragraphs. The Framework outlines the spe-
      cific policies and training that refer to impartial policing as outlined in this para-
      graph. These policies and trainings are meant to serve as the primary foundation
      for ensuring fair and equitable policing throughout the CPD.

      The City and the CPD also produced the 2023 Annual Hate Crimes Annual Report
      during the tenth reporting period. The production and publication of this, along
      with the CPD’s consistent productions of prior annual reports, is sufficient to
      achieve Full compliance with ¶78.

      During a site visit in April 2024, the IMT learned of the CPD’s efforts to secure a
      contract with an organization for multilingual officers, updates on the use of Lan-
      guage Line, and recent activities of the ADA Liaison and her staff. We also discussed
      the CPD’s efforts around the establishment of the Equity Office and development
      of the related plan and strategy. We also discussed the approach for developing a
      CPD-wide community engagement plan, as well and next steps to assess Full com-
      pliance with various paragraphs currently in Secondary compliance.

      The IMT looks forward to continuing to review progress on related policies and
      trainings, including those related to interactions with people with disabilities and
      gender-based violence. This must include sufficient demonstration of the CPD’s
      efforts to engage the community in this process and in qualifications for its multi-
      lingual officers. We also look forward to the CPD’s continued efforts to establish
      its Equity Office and finalize its community engagement plan.

      Impartial Policing Progress through Ten Reporting Periods
      In the tenth reporting period, we assessed the City’s compliance with 31 Impartial
      Policing paragraphs (¶¶52–82)—with two of those paragraphs containing condi-
      tional requirements that do not apply (¶¶81–82). The City maintained Preliminary
      compliance for eight paragraphs (¶¶52, 57 60–61, 63, 65–66, and 70), met Prelim-
      inary compliance for three paragraphs (¶¶53, 64, and 72), maintained Secondary
      compliance for 11 paragraphs (¶¶54–56, 58–59, 67, 71, 73–74, 76-77), and
      achieved Full compliance for one paragraph (¶78). The City is under assessment
      for Preliminary compliance for one paragraph (¶75) and failed to reach Prelimi-
      nary compliance with the remaining five paragraphs assessed (¶¶62, 68–69, and
      79–80). See Impartial Policing Figure 1 below.




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      Impartial Policing Figure 1:            Compliance Progress for Impartial Policing
                    Paragraphs at the End of the Tenth Reporting Period (June 30, 2024)




      Looking Ahead to the Eleventh Reporting Period
      As noted above, the City and the CPD have not reached any level of compliance
      with five paragraphs in the Impartial Policing section, which is concerning. Moving
      forward, we urge the City and the CPD to provide sufficient resources toward re-
      forms related to the Impartial Policing section (as required by ¶706) and to con-
      tinue its work in establishing the Equity Office. It is our hope that these efforts will
      assist the City and the CPD in propelling compliance with this section in several
      areas.

      The City and the CPD have, however, been developing new and revised policies,
      written guidance, and training to make some progress in this section. At the end
      of the tenth reporting period, the City and the CPD continued developing, for ex-
      ample, the following new or revised policies:

      •   Search Warrants;
      •   Interactions with People with Disabilities;
      •   Community Engagement Plan; and
      •   Gender-Based Violence Policy Suite.

      At the end of the tenth reporting period, the City and the CPD continued develop-
      ing, for example, the following new or revised trainings:

      •   Sexual Misconduct Training Curriculum;
      •   Language Line Training Bulletin; and
      •   Hate Crimes Refresher eLearning.


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      We look forward to reporting on these materials in the eleventh reporting period,
      as well as evidence that the City and the CPD have implemented reforms into prac-
      tice.

                                             ***

      Specific compliance assessments, by paragraph, for the Impartial Policing section
      are available here: https://cpdmonitoringteam.com/tenth-semi-annual-inde-
      pendent-monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each original monitorable paragraphs in the Impartial Po-
      licing section is available in Comprehensive Assessment Part I (which included In-
      dependent Monitoring Report 8): https://cpdmonitoringteam.com/wp-con-
      tent/uploads/2024/06/IMR8-Appendix-2-Impartial-Policing-2023.11.01.pdf.




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      III. Crisis Intervention
                                       Guiding Principles
      The IMT assessed compliance with applicable Crisis Intervention paragraphs in ac-
      cordance with the Consent Decree’s “Guiding Principles.” These principles “are in-
      tended to provide the Court, the Monitor, and the public with the context for the
      subsequent substantive requirements” and “the overall goals” (¶757):

              83. CPD officers often serve as first responders to individuals experiencing a
              behavioral or mental health crisis. These individuals may exhibit symptoms of
              known, suspected, or perceived behavioral or mental health conditions, in-
              cluding, but not limited to, mental illness, intellectual or developmental disa-
              bilities, or co-occurring conditions such as substance use disorders. The Par-
              ties acknowledge that having a mental illness, an intellectual or developmen-
              tal disability, or co-occurring condition does not mean an individual neces-
              sarily is in crisis, or that having a behavioral or mental health condition would
              necessarily be the reason for any crisis that requires police involvement. How-
              ever, it may need to be considered or warrant heightened sensitivity to ensure
              an appropriate response. Therefore, individuals in the groups listed above will
              be collectively referred to as “individuals in crisis” for the purposes of this
              Agreement.

              84. A person may be a suspected individual in crisis based on a number of
              factors, including, but not limited to, self-reporting; information provided by
              witnesses, family members, or individuals requesting service; CPD’s previous
              knowledge of the individual; or an officer’s direct observation.

              85. CPD officers will interact with individuals in crisis with dignity and respect.
              The use of trauma-informed crisis intervention techniques to respond appro-
              priately to individuals in crisis will help CPD officers reduce the need to use
              force, improve safety in police interactions with individuals in crisis, promote
              the connection of individuals in crisis to the healthcare and available commu-
              nity-based service systems, and decrease unnecessary criminal justice involve-
              ment for individuals in crisis. CPD will allow officers sufficient time and re-
              sources to use appropriate crisis intervention techniques, including de-escala-
              tion techniques, to respond to and resolve incidents involving individuals in
              crisis. To achieve these outcomes, the City and CPD will implement the re-
              quirements set out below.

              86. The City and CPD are committed to exploring diversion programs, re-
              sources, and alternatives to arrest for individuals in crisis.




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      Summary of Compliance Efforts and Assessments

      Crisis Intervention in the Tenth Reporting Period
      During the tenth reporting period, the CPD, the Office of Emergency Management
      and Communications (OEMC), and the Chicago Council on Mental Health Equity
      continued to work to address the requirements in the Crisis Intervention section
      of the Consent Decree related to policy, training, practices, and community en-
      gagement. While notable improvements have occurred this reporting period, par-
      ticularly with respect to the CPD, progress in this section has generally stalled.

      Over the last two years, the CPD has made significant improvements training all
      officers in best practices related to crisis response and de-escalation via its revised
      Annual In-Service training and its recruit training. By the end of this reporting pe-
      riod, the CPD produced the Mental Health Awareness and Response training and
      the Neurobiology of Trauma and PTSD training. All recruits receive both trainings
      in addition to the 8-hour CIT Recruit Concepts training. .

      The IMT reviewed and observed the first half of the Mental Health Awareness and
      Response training, which was well done and covers all of the topics in ¶126 (e.g.,
      history of the mental health system, identifying signs and symptoms of mental
      health conditions, techniques to safely de-escalate a crisis situation). This training,
      in combination with the CIT Recruits Concepts training, provides all recruits with a
      firm foundation in crisis intervention. The IMT has also reviewed, but has not yet
      observed, the Neurobiology of Trauma and PTSD training.

      The IMT continued to participate monthly calls with the City, the OEMC, and the
      CPD, as well as observe the quarterly Chicago Council on Mental Health Equity
      meetings. The IMT conducted in-person and virtual site visits and reviewed policy,
      training, and data throughout the tenth reporting period to assess compliance
      with the Consent Decree. For example, the IMT met with Crisis Intervention Team
      (CIT) data analysts, Crisis Intervention Unit (CIU) personnel, participated in ride
      alongs, interviewed several current and former members of the Chicago Council
      on Mental Health Equity, and met with representatives from the Mayor’s Office.

      In contrast to the CPD, the IMT did not receive much information from the OEMC
      in the tenth reporting period. The IMT looks forward to a more productive and
      engaged collaboration with the OEMC in the eleventh reporting period.

      The Chicago Police Department (CPD)

      The IMT’s primary concern continues to be that the CPD’s Crisis Intervention Unit
      (CIU) remains severely understaffed, comprising about half the number of mem-



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      bers compared with 2021. See ¶89.26 The Crisis Intervention Unit consists of peo-
      ple who are dedicated to the unit’s mission and are passionate about the role and
      purpose of the CIT Program.

      But the current staffing levels are wholly insufficient to fulfill Consent Decree re-
      quirements. Without sufficient, qualified, and strategically assigned staff, the re-
      maining CIU personnel are simply unable to accomplish the mission of the Crisis
      Intervention Team program. Since 2021, the IMT has made plain its concerns about
      the CPD’s inadequate staffing levels, and to date, we have seen no actionable
      change. The CPD notes that it issued two Notice of Job Opportunities (NOJOs) this
      reporting period, but staffing remained unchanged. A cadre of additional staff is
      necessary for the CPD’s ability to achieve compliance under the Consent Decree
      requirements.

      CIU personnel have consistently informed the IMT for several reporting periods
      that they feel unsupported and concerned about the severe staffing shortage,
      which has been discouraging to the entire unit. Simply put, the Unit appears over-
      worked and demoralized. Further, at the end of this reporting period, the CPD in-
      formed the IMT that the Lieutenant who has overseen the CIU for the last several
      years was leaving his position of CIT Coordinator in June 2024. This recent change
      in leadership, combined with a new Deputy Chief—also appointed this reporting
      period—with no change in staffing, reinforces the IMT’s concerns that the Crisis
      Intervention Program may continue to regress.

      Crisis Intervention Figure 1:
      Crisis Intervention Unit Staffing over Several Reporting Periods




      At the outset of the Consent Decree, the CPD promoted a voluntary CIT model.
      During the fourth reporting period, the CPD shifted to a mandatory CIT model,
      which required all officers to receive the 40-hour Basic CIT training. During the
      ninth reporting period, the CPD announced that it was reverting to a voluntary



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           Paragraph 89 requires “a qualified, centralized staff, including supervisors, officers, and civilian
           employees, who is necessary to oversee the department-wide operation of the CIT Program,
           carry out the overall mission of the CIT Program, and perform the objectives and functions of
           the CIT Program.”


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      “Memphis Model” CIT program.27 While there are benefits and challenges with
      both models, this change has required the OEMC and the CPD to make updates to
      policy, training, and operational practices, which have delayed additional levels of
      compliance.

      During the tenth reporting period, the CPD made important strides towards com-
      pleting the eligibility review of its voluntary CIT officers, as required under Special
      Order S05-14, Crisis Intervention Team (CIT) Program. We expect this review to be
      completed during the next reporting period, at which time voluntary CIT officers
      will be aligned with the required disciplinary and performance history outlined in
      the S05-14 directive. Additionally, the CPD intends to circulate a survey to deter-
      mine which of the “mandatory” CIT trained officers would like to be considered as
      a voluntary CIT officer. These two steps will help facilitate the accurate calculation
      of the required response ratios to calls for service involving a mental-health com-
      ponent by a voluntary CIT officer. We understand that the CPD’s data analysts are
      waiting for this process to be completed so that they can incorporate the resulting
      data into the CIT dashboard. The completion of this process should allow the City
      and the CPD to achieve compliance with a number of paragraphs.

      The CPD model of response to crisis calls needs substantial attention, particularly
      considering the size of Chicago. Currently, the CPD focuses largely on non-dedi-
      cated patrol response by a majority of officers who have not received specialized
      training since before the Consent Decree. Such deficiencies in training protocols
      not only deviate from recognized best practices but also fall short of the standard
      required for a voluntary, specialized model.

      Currently, if an officer has ever received the 40-hour Basic CIT training, then that
      officer is considered a “Certified CIT officer,” despite receiving no refresher training
      until 2021. The Consent Decree does not consider these officers who received the
      training many years ago (as far back as 2004) to be considered specialized officers

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           In the seventh reporting period, the CPD revised its officer designations related to CIT. The IMT
           mirrored the CPD’s updated language to avoid confusion. The term “Certified Crisis Interven-
           tion Team (CIT) Officers” is used throughout the Consent Decree. See ¶92. The CPD moved
           away from a strictly voluntary CIT model to one that is a hybrid voluntary/mandatory CIT
           model, in which all officers are required to take the 40-hour Basic CIT training. Certified CIT
           officers are now being identified as “Designated CIT officers” by the CPD. Designated CIT offic-
           ers are those officers who voluntarily request to be Crisis Intervention Team members and
           prioritized to calls for service involving a mental health component. Mandatorily assigned of-
           ficers who do not select to be identified as a Designated CIT officer at the end of the 40-hour
           Basic CIT training are now identified as “CIT Trained officers.” The OEMC prioritized CIT Trained
           officers, secondary to a Designated CIT officer for dispatch to mental health calls for service.
           Officers who have not yet been through the 40-hour Basic CIT training are simply identified as
           Untrained. In the ninth reporting period, the CPD announced that it was returning to the orig-
           inal “Memphis Model” of CIT, and therefore, the language is reverting to previous language.
           To mirror the CPD’s language, the IMT will revert to the term “Certified Crisis Intervention
           Team (CIT) Officers” as used throughout the Consent Decree. See ¶92.


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      without re-taking the 40-hour Basic CIT training, and then falling into a regularly
      scheduled refresher training. The Consent Decree itself identifies a best practice
      of providing Refresher CIT training every three years. Presently, approximately 20%
      of all Certified CIT officers were trained over 10 years ago (between 2004 and2012)
      without regular refresher training; about a third of all Certified CIT officers were
      trained more than seven years ago (between 2004 and 2015); and nearly half
      (46.51%) of Certified CIT officers were trained six or more years ago (between 2004
      and2016) without any regular refresher training.

      The Consent Decree does not explicitly require officers who received the 40-hour
      Basic CIT training years ago, before the Consent Decree approved training, to re-
      take the 40-hour Basic CIT training and then fall into the Consent Decree required
      refresher training every three year. However, such an approach is more aligned
      with best practice and, therefore, the IMT has been encouraging the CPD to im-
      plement this practice.

      Additionally, the IMT has consistently recommended that the CPD revise the CIT
      Refresher training to increase content relative to the identification of and response
      to persons in mental and behavioral health crisis. Presently, a significant portion
      of the CIT Refresher training is dedicated to officer wellness. While topics concern-
      ing officer wellness are crucial, they should be moved to another training topic for
      all officers. Moreover, a significant amount of training time is dedicated to CIT trou-
      bleshooting. This topic is also important, but there are more pressing topics that
      could be discussed in the CIT Refresher training. Given the number of officers who
      received the 40-hour Basic CIT training many years ago, it is essential that a robust
      CIT Refresher training focus more on core topics.

      The IMT strongly encourages the CPD to develop a strategic training plan that ad-
      dresses those officers trained in the 40-hour Basic CIT many years ago. Such a plan
      could prioritize specialized training to reflect current subject-matter expertise and
      resources more aligned with best practice. The IMT additionally recommends that
      the City and the CPD revised the CIT Refresher training and provide it to the IMT
      for review.

      The CIU’s Crisis Intervention Team Training Section (CITTS) is currently teaching al-
      most every week of the year. This unit is charged with teaching the 40-hour Basic
      CIT training, the CIT Refresher training, and the Advanced CIT (Youth) and Ad-
      vanced CIT (Veterans) trainings. The CITTS has been forced to cancel its Advanced
      CIT (Youth) and Advanced CIT (Veterans) training for the last three years due to




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      staffing shortages. These trainings were crucial for training School Resource Offic-
      ers (SROs) and are crucial for providing opportunities to expand knowledge and
      skills for the CIU and patrol-based CIT officers.28

      There continues to be only five training officers and one training sergeant assigned
      to the CITTS. This level of staffing is insufficient. If the training section loses any
      additional staff, the CIU leadership stated that it may need to halt the CIT Refresher
      training, which will have significant downward consequences. The CIU has already
      been borrowing CIT District, Operations, and Community Support (CIT DOCS) per-
      sonnel and CIT administrative personnel to fill staffing gaps. For the last three re-
      porting periods, the CIU has had to cancel trainings due to staffing. Further, with
      the tentative 2024 training cadence, the CPD has indicated that it may lack suffi-
      cient staff to maintain the 2024 training schedule.

      Below is the projected training schedule for the 8-hour CIT Refresher training:




      Considering the increased number of officers requiring CIT Refresher training to
      meet Consent Decree requirements, delivering the above refresher classes with
      five training officers is unrealistic. The City and the CPD risk losing compliance on
      several paragraphs if they cannot sustain training deliverables.

      Additionally, there are only thirteen CIT DOCS personnel responsible for many of
      ¶91’s requirements. These thirteen CIT DOCS personnel cover all of the City’s
      twenty-two districts by themselves. CIT personnel routinely face additional staff-
      ing challenges, including covering for officers on furlough. As a result, CIU mem-
      bers cannot accomplish the important responsibilities outlined in their job descrip-
      tions. This staffing crisis has continued, unchanged, for the last three years. The
      CIU produced to the IMT this reporting period a Crisis Intervention Unit Staffing
      Plan, which highlights the alarming trends.




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           The CIU trainers also require sufficient administrative support to ensure their attention is di-
           rected towards fulfilling a rigorous training regimen, and on crucial components of the training
           such as scenario-based exercises. Currently, the CIU trainers must devote time and energy to
           administrative tasks in addition to a stringent teaching rotation. Some of the administrative
           tasks that trainers are completing include reviewing CIT applications, scheduling trainings, ob-
           taining supplies, administering training evaluations, catering, scheduling, and completing
           background checks.


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      In short, the roles and responsibilities of the CIU, as outlined in S05-14, cannot be
      accomplished under the present staffing level thereby hindering the City and the
      CPD from achieving additional levels of compliance.

      Still, despite significant challenges in the tenth reporting period, the City and the
      CPD have demonstrated progress toward achieving compliance for several para-
      graphs in the Crisis Intervention section. For example, the CPD produced some
      training evaluations, which have not been produced in several reporting periods.
      The CPD also produced partial training evaluations over a six-week period in March
      and April 2024. The format of the produced evaluations is user friendly. However,
      there was only one 40-Hour Basic CIT course evaluation in the production, where
      the CIU training plan shows that seven Basic CIT trainings were completed be-
      tween January and April 2024. The evaluations we did receive were, overall, very
      strong.

      Moreover, across both the 40-hour Basic CIT training and Refresher CIT training,
      there were evaluation responses by as few as two participants, others, nine,
      eleven, and fifteen participants. Most classes (both the 40-hour Basic CIT training
      and the CIT Refresher training) have approximately twenty-five participants each.
      We understand that participants are not required to complete training evalua-
      tions. The CPD should consider changing this to make evaluations required, as they
      will be necessary to demonstrate Full compliance.

      This reporting period, the CPD produced for the first time the CIT Documentation
      and Response Evaluation Dashboard SOP, which the CPD will need to finalize, im-
      plement, and train on to reach Secondary compliance with ¶¶114–15. However,
      producing this document is an important step in the right direction, and the CPD
      has put significant thought into how Consent Decree requirements will be evalu-
      ated.

      Finally, the CPD produced a CIT Certification Summary Data Report containing very
      useful data. However, the CPD will need to clarify some of the data contained in
      this report to regain Secondary compliance. For example, the report lists the date
      that several members were “trained in Basic” and “trained in Refresher” but those
      same members are marked as “absent” with a reason for their absence. The CPD
      has indicated that it will revise and reproduce the report to the IMT. We also en-
      courage the CPD to incorporate additional formulas into the report. For example,
      the CPD should consider incorporating a formula to demonstrate that 95% of all
      officers who received Basic CIT training before 2019 who have now completed the
      CIT Refresher training. This will permit easier compliance review based on para-
      graph requirements.

      We appreciate the CPD taking important steps toward training all officers on re-
      sponse to individuals in crisis, with an emphasis on de-escalation strategies. To
      advance compliance with the Consent Decree, the IMT urges the CPD to reliably


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      produce full training evaluations each reporting period. The CPD should also pri-
      oritize setting a regular cadence for annual review and revision of CIT policies and
      training. The CPD should revise the CIT Refresher training to better align with best
      practice, and it should complete the eligibility review of voluntary CIT officers. We
      also recommend that the CPD significantly increase its staffing of the CIU, and en-
      hance efforts to involve the Chicago Council on Mental Health Equity in training
      observations, as required under the Consent Decree.29

      City of Chicago Collaboration

      The priorities of expanding non-criminal justice responses to persons in crisis and
      complying with the guiding principles of the CIT Program requires close collabora-
      tion between City entities and the CPD. The OEMC, for example, plays a crucial role
      in the requirements of the Crisis Intervention section of the Consent Decree

      As identified by the Consent Decree (¶¶87(d), 130–31), the leadership of the CPD,
      Chicago Fire Department (CFD), the OEMC, and Department of Public Health (DPH)
      must work together to forge a best practice model of crisis response, as well as re-
      engage the Advisory Committee.30

      The Crisis Assistance Response Engagement (CARE) pilot program is one example
      of this kind of partnership.31 Despite progress under this pilot, the City has been

      29
           To date, there has been little evidence of such oversight. The CPD, if appropriate, may want to
           consider whether it is feasible to utilize the established Training Community Advisory Commit-
           tee (TCAC) for CIT policy and training review, given its representation from notable organiza-
           tions also involved in Chicago Council on Mental Health Equity, like NAMI, Ignite Chicago, Ac-
           cess Living, ARC, Thresholds, and Bobby Wright Comprehensive Behavioral Health Center.
      30
           The following are a few examples of the current challenges in this area: First, several para-
           graphs in the Crisis Intervention section (and other sections) require “timely” response. At
           nearly five years into the Consent Decree, the CPD and the OEMC still have not defined
           “timely,” which undermines the City’s ability to set and meet expectations, assess response
           ratios, and track trends. The CPD, CFD, and OEMC should utilize CPD and CFD response time
           data for all calls for service, by priority level and national best practices, to define what quali-
           fies as a “timely” response. Second, at this time, the OEMC is only able to track at the point of
           dispatch, not the point of arrival on-scene. Therefore, it is unknown if there is a “timely” re-
           sponse by a CIT officer. As we understand it, the new CAD system with GPS that is due to be
           implemented soon should help address this. Third, the IMT continues to have concerns about
           the CPD and the OEMC using the term “mental” as the event code associated with mental
           health-related calls for service. They have indicated this is difficult to change with the current
           CAD system. “Mental” is not a respectful term nor is it industry recognized. Compare ¶¶135,
           152.
      31
           The CARE program includes three types of responses: (1) pre-response, which staffs mental-
           health professionals in the City’s 911 Call Center to provide support to callers, call takers, dis-
           patchers, and response teams; (2) alternate response, where the 911 Call Center will dispatch
           mental-health professionals with first responders to respond to people in crisis; and (3) post-
           response, which links residents with appropriate community-based services and uses alternate
           drop-off sites for people in behavioral health crisis.


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      reluctant to provide policies, training, and data related to this alternate response
      program. The CARE program aims to divert people in crisis away from the criminal
      justice system, a model of diversion and deflection as noted by ¶¶11 and 86.32

      Crisis Intervention Figure 2: CARE Pilot Program – Types of Responses


            CARE Pilot Program’s Three Types of Responses


            Pre-response        Staffs mental-health professionals in the City’s 911 Call Center to
                                provide support to callers, call takers, dispatchers, and response
                                teams.


            Alternate           The 911 Call Center will dispatch mental-health professionals with
            Response            first responders to respond to people in crisis.


            Post-response       Links residents with appropriate community-based services and
                                uses alternate drop-off sites for people in behavioral health crisis.


      The Mayor’s office has recently informed the Chicago Council on Mental Health
      Equity that CIT officers, who have historically joined the CARE Alternate Response
      Teams, will now be placed back on patrol. This will result in a fully non-law en-
      forcement response. While there is significant value in this approach, the City
      should identify a plan for mental health calls for service that do require police pres-
      ence. This is national best practice, and there are many models to accomplish this.

      Relatedly, the City and the CPD still have not yet completed the required Crisis
      Intervention Team Officer Implementation Plan nor the required Crisis Intervention
      Plan. (See ¶¶108 and 122). Although required annually, the last report was sub-
      mitted in 2020. While the IMT appreciates delaying these reports until they are
      supported by more robust strategies and reliable data, the City should at minimum
      produce an annual report demonstrating any progress toward producing the re-
      port, as well as the barriers that continue to cause the delay and the plans to over-
      come them.



      32
           The City has largely resisted IMT efforts to obtain relevant information about the CARE Pro-
           gram and has indicated that it considers the CARE Program to be separate and apart from the
           Consent Decree. The IMT strongly encourages the City to re-evaluate this position in light of
           the Consent Decree requirements. Moreover, the CARE Program is an excellent example of a
           successful, proactive diversion program that provides an alternative to arresting individuals in
           crisis. The City should be commended for these successful efforts, and the IMT believes that
           increased transparency will only increase public support for the program.


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      The Chicago Council on Mental Health Equity

      The Chicago Council on Mental Health Equity is composed of talented, dedicated
      experts and people with lived experience who are eager to provide crucial feed-
      back to the City. On February 26, 2024, the IMT observed a very encouraging quar-
      terly meeting, which demonstrated impressive participation and leadership. The
      Chicago Council on Mental Healthy Equity presented a revised structure for itself
      that was welcomed by the committee’s members. Newly identified co-chairs were
      also introduced during this meeting. However, the subcommittees did not meet
      during the reporting period, and the required quarterly meeting on May 22, 2024,
      was cancelled. There was an attempt to re-schedule the meeting, and while the
      meeting held on June 27, 2024, was quite productive—with a substantially useful
      report given by the CPD—there was again no quorum and no agenda posted 48
      hours in advance as required under bylaws.

      This reporting period, the IMT met with Chicago Council on Mental Health Equity’s
      leadership during a site visit. We continue to be encouraged by the expertise and
      resources provided by the committee’s members. In addition, meeting agendas,
      participant attendance, and meeting minutes for the last reporting period were
      produced this reporting period, including complete records for the meeting held
      on July 31, 2023, partial records (only meeting minutes) for the meeting held on
      November 6, 2023, and only the agenda was produced for the February 26, 2024
      meeting held during this reporting period. We appreciate these efforts and look
      forward to complete records being produced reliably each reporting period.

      The IMT continues to be concerned about the low representation and the inade-
      quate participation of members of the community and those with lived experience
      on the Chicago Council of Mental Health Equity. Various committee members have
      shared similar concerns with the IMT. Active participation continues to be low, and
      the City should consider additional ways to improve participation of people with
      lived experience and the prescribed representation outlined in ¶132. There are
      numerous professionals serving on this committee who would be an excellent re-
      source to assist with recruitment. We also recommend that the Chicago Council
      on Mental Health Equity produce a list of all active members and the self-identified
      category they represent as required under ¶132.

      We appreciate the hard work that has gone into developing the Chicago Council
      on Mental Health Equity. We encourage the City to take additional steps to opera-
      tionalize this hard work.

      The Office of Emergency Management and Communications (OEMC)

      Last reporting period, the OEMC produced complete and thorough training rec-
      ords. While the format and information is useful for future compliance, these rec-
      ords revealed that a significant number of telecommunicators received the CIT and


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      Mental Health Awareness training as far back as 2016, before the Consent Decree
      approved training in 2020.33 Because the IMT learned that the OEMC is using a
      previous training to demonstrate compliance, which may not meet Consent De-
      cree requirements, the City and the OEMC lost Secondary and Full compliance with
      ¶¶142–43 last reporting period.34

      There is no doubt that the OEMC provided telecommunicators with mental-health
      and CIT-awareness training before the Consent Decree. In fact, the Consent Decree
      acknowledges the possibility that such pre-Consent Decree training could satisfy
      Consent Decree requirements. See ¶145. However, if the OEMC intends to use its
      previous training towards compliance with ¶¶142–45, then the OEMC must
      demonstrate that the 2016 training complies with ¶¶142–44’s requirements.35
      The OEMC had not yet attempted to do so with the 2016 training by the end of
      the tenth reporting period.

      It is important for the OEMC to demonstrate that all telecommunicators have re-
      ceived training consistent with the Consent Decree. The OEMC’s Mental Health
      and CIT Awareness training is essential to a telecommunicator’s ability to perform
      their role, as evidenced by the fact that all OEMC telecommunicators must receive
      this training before they are allowed to answer calls independently. See ¶142. In-
      deed, members of the public interacting with OEMC telecommunicators are often
      urgently seeking the OEMC’s and the CPD’s help in the midst of crisis. Whether a
      telecommunicator is adequately trained in mental health and CIT awareness can
      be a matter of life or death. A study by the nonprofit Treatment Advocacy Center
      notes that people with untreated mental health conditions are sixteen times more
      likely to be killed by the police than other civilians stopped by law enforcement
      and around one in four fatal police encounters result in the death of a person with




      33
           The OEMC’s 2023 training records show that 304 telecommunicators out of 459 total (66%)
           received the CIT and Mental Health Awareness training before 2020. The OEMC’s 2019 training
           records appear to be inconsistent with the 2023 training records, showing, for example, that
           432 telecommunicators received the training in 2016, whereas the 2023 training records show
           that 272 telecommunicators received the training in 2016.
      34
           While the City and the OEMC did produce a pre-Consent Decree training, that training was
           from 2018, not 2016—when the majority of telecommunicators received the training. Addi-
           tionally, that 2018 pre-Consent Decree training that the City produced did not satisfy the re-
           quirements of Paragraphs 142-45 because almost all of the topics listed in Paragraph 144 (e.g.,
           telephonic suicide prevention, scenario-based training exercises, the established policy for dis-
           patching a Certified CIT officer) are not covered in the 2018 training.
      35
           Any such training must adequately address the topics identified in ¶144. The IMT has received
           and reviewed the OEMC’s 2018 training. To date, the IMT has neither received nor reviewed
           the OEMC’s 2016, 2017, or 2019 training.


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      severe mental illness.36 Telecommunicators are the front line for triaging and dis-
      patching the appropriate response.37

      Finally, the IMT cannot assess the OEMC’s compliance with numerous paragraphs
      without reviewing evidence of program changes (e.g., 988; the Crisis Assistance
      Response and Engagement pilot program, new coding including “Certified CIT of-
      ficer” and “ALT Response,” audit outcomes, and Chicago Council on Mental Health
      Equity observation and feedback of policies and training). The OEMC must also
      produce completed audit sheets (e.g., “CIT Employee Review”; “CIT Reviewed
      Events”; and “CIT Quality Assurance Report”) to support training revisions and to
      maintain compliance.

      In the tenth reporting period, the OEMC did not produce evidence that the 8-hour
      Mental Health and CIT Awareness training or the CIT Refresher training had been
      revised to guide call-takers and dispatchers on new protocols responsive to
      ¶¶138–39. The regular cadence of annual policy and training revisions required
      under the Consent Decree is meant to assist in addressing the fluidity of program
      improvements and is required annually with Chicago Council on Mental Healthy
      Equity feedback. Additionally, the OEMC did not produce validated data support-
      ing dispatch priorities.

      The IMT encourages the OEMC to recalibrate and promote a plan to demonstrate
      all telecommunicators have received the Mental Health and CIT Awareness train-
      ing covering the requirements of ¶¶142–145. Additionally, the OEMC did not pro-
      duce any new material and did not report any substantive updates this reporting
      period. The IMT has offered to establish monthly meetings with the OEMC, similar
      to the monthly meetings we have already established with the CPD. We believe
      the OEMC would greatly benefit by agreeing to these meetings with the IMT, as
      these meetings have built rapport and have promoted more candid, informal dia-
      logue between the IMT and the CPD. These meetings have also allowed the CPD
      to efficiently clarify what is required for under specific paragraphs and to proac-
      tively identify unforeseen barriers to compliance.

      Crisis Intervention Progress through Tenth Reporting Periods
      During this reporting period, the IMT assessed the City’s compliance with 66 Crisis
      Intervention paragraphs: ¶¶87–152. The City maintained Preliminary compliance
      with 38 paragraphs (¶¶87–95, 98, 100–05, 114–15, 117, 119–21, 124–25, 127–32,

      36
           See Overlooked in the Undercounted: The Role of Mental Illness in Fatal Law Enforcement En-
           counters, TREATMENT ADVOCACY CENTER (December 2015), available at https://www.treatmentad-
           vocacycenter.org/reports_publications/overlooked-in-the-undercounted-the-role-of-mental-
           illness-in-fatal-law-enforcement-encounters/
      37
           This is another reason why the IMT strongly recommends that the definition of “telecommu-
           nicators,” as outlined in the Consent Decree, see ¶789, should be expanded to all telecommu-
           nicators, not just those answering police calls for service.


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      136, 141–45, 147, and 150–51), met Preliminary compliance with one paragraph
      (¶137), maintained Secondary compliance with 16 paragraphs (¶¶96–97, 99, 106,
      113, 116, 118, 126, 133–35, 138–40, 146, and 152), and achieved Secondary com-
      pliance with one paragraph (¶98). At the end of the tenth reporting period, the
      City did not have any compliance levels with 10 paragraphs (¶¶107–12, 122–23,
      and 148–49).

      Crisis Intervention Figure 2: Compliance Progress for Crisis Intervention Para-
      graphs at the End of the Tenth Reporting Period (June 30, 2024)




      Looking Ahead to the Eleventh Reporting Period
      In the eleventh reporting period, the City and the CPD should re-evaluate its Crisis
      Response Model to build a more robust program capable of meeting Consent De-
      cree requirements and aligning with best practices. In addition to key crisis re-
      sponse components, the CPD should consider dedicated district CIT patrol units
      that are solely responsible for response to live mental-health-related calls for ser-
      vice. Presently, the CPD has a minimalist model that struggles to meet both Con-
      sent Decree requirements and the mission of the CIT program.

      In the eleventh monitoring period, the IMT hopes to receive a finalized S05-14 Cri-
      sis Intervention Team policy, CIT officer eligibility data, complete CPD training eval-
      uations, updates on the new CAD system, evidence of revised or supplemental
      trainings that fully meet ¶127’s requirements, and a training plan to prioritize of-
      ficers who received the 40-hour CIT Basic training before the Consent Decree to
      reestablish their voluntary status and recertify in the updated 40-hour training.

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      Specific compliance assessments, by paragraph, for the Crisis Intervention section
      are available here: https://cpdmonitoringteam.com/tenth-semi-annual-inde-
      pendent-monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each original monitorable paragraphs in the Crisis inter-
      vention section is available in Comprehensive Assessment Part I (which included
      Independent Monitoring Report 8): https://cpdmonitoringteam.com/wp-con-
      tent/uploads/2024/06/IMR8-Appendix-3-Crisis-Intervention-2023.11.01.pdf.




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      IV. Use of Force
                                             Objectives38
      The IMT assessed compliance with applicable Use of Force paragraphs in accord-
      ance with the Consent Decree’s corresponding objectives:

                153. CPD’s use of force policies, as well as its training, supervision, and ac-
                countability systems, must ensure that: CPD officers use force in accordance
                with federal law, state law, and the requirements of this Agreement; CPD of-
                ficers apply de-escalation techniques to prevent or reduce the need for force
                whenever safe and feasible; when using force, CPD officers only use force that
                is objectively reasonable, necessary, and proportional under the totality of the
                circumstances; and any use of unreasonable or unnecessary force is promptly
                identified and responded to appropriately.

                155. CPD officers have the authority to use force, but that authority is limited
                by the law and Department policy. The provisions of this Agreement seek to
                facilitate compliance with the law and Department policy regarding the use
                of force to reduce the circumstances in which using force is necessary, and to
                ensure accountability when CPD officers use force that is not objectively rea-
                sonable, necessary, and proportional under the totality of the circumstances.


      Summary of Compliance Efforts and Assessments

      Use of Force in the Tenth Reporting Period
      In the tenth reporting period, the City and the CPD achieved several new levels of
      compliance for paragraphs in the Use of Force section, including achieving Full
      compliance for two paragraphs, while maintaining the same levels of compliance
      that they achieved in previous reporting periods. Specifically, the City and the CPD
      achieved Secondary compliance with several paragraphs based on the analyses of
      patterns and trends reported in the CPD’s 2023 Annual Use of Force Report and
      TRED’s 2023 Year-End Report and the CPD’s actions to address those patterns and
      trends, such as training on handcuffing.

      We met regularly with the City, the CPD, and the OAG to address the Use of Force
      requirements in the Consent Decree, including ongoing productions from the City
      and the CPD.

      After the end of this reporting period, the Court issued an order directing the CPD
      to clarify its Body Worn Cameras policy, S03-14, specifically the requirement that


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           The Use of Force section of the Consent Decree includes “objectives” rather than “guiding
           principles.”


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      cameras be deactivated for recording of public safety “investigations.” We look for-
      ward to reviewing the required revisions to the CPD’s Body Worn Cameras policy
      in the next reporting period, and to reviewing CPD’s efforts to meaningfully engage
      the community regarding this policy.

      This reporting period, the IMT continued to review and comment on drafts of the
      CPD’s S06-06 suite of policies and forms in preparation for the Democratic National
      Convention (DNC), which include the following policies: S06-06, Response to
      Crowds, First Amendment Assemblies, and Civil Disturbances; S06-06-01, Declara-
      tion of a Coordinated Multiple Arrest Incident; S06-06-02, Alternative Arrest Pro-
      cedures During Coordinated Multiple Arrest Incidents, and S06-06-03, Alternate
      Tactical Response Reporting During Coordinated Multiple Arrest Incidents. We also
      observed the City and the CPD’s negotiations with the Coalition regarding the S06-
      06 suite of policies and forms.

      The CPD incorporated training on the draft S06-06 suite into its 2024 eight-hour
      annual use-of-force training. We reviewed and provided a no-objection notice for
      the in-service training materials, and we observed sessions of the annual use-of-
      force and other DNC-related courses this reporting period.

      We also continued to review the CPD’s Annual Use of Force Report, along with re-
      ports published by the Tactical Review and Evaluation Division (TRED, formerly
      known as the Force Review Division (FRD) or the Force Review Unit (FRU)). We
      remain impressed with TRED’s professionalism and its efforts to observe, address,
      and publicly report on patterns and trends relating to uses of force, foot pursuits,
      and firearm pointing incidents—even with inadequate resources for its responsi-
      bilities.

      TRED fell behind on its reviews during the fifth reporting period because of insuf-
      ficient staffing, and the backlog grew in the sixth and seventh reporting periods.
      In previous reporting periods, attempts to address the backlog included 20 officers
      being detailed to TRED for 90 days, with an extension on that detail for officers to
      remain with the unit. There have also been attempts to hire civilians part-time, as
      well as hiring additional officers to the TRED unit. In this reporting period, TRED
      continues to review all foot pursuits. Meanwhile, the CPD continues to assign TRED
      new and important responsibilities regarding the observation and analysis of pat-
      terns and trends in the CPD’s practices. We recommended in the eighth and ninth
      reporting periods—and continue to recommend—that district- and unit-level su-
      pervisors take on firearm pointing review responsibilities currently shouldered by
      TRED.

      At the end of the tenth reporting period, therefore, more work was necessary for
      further levels of compliance.




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      Use of Force Progress through Ten Reporting Periods
      During this reporting period, the IMT assessed the City’s compliance with 96 Use
      of Force paragraphs. At the end of the tenth reporting period, the City maintained
      Preliminary compliance for 10 paragraphs (¶¶153, 156, 158–59, 174, 193, 217,
      228, and 239–40). The City did not achieve Preliminary compliance with any addi-
      tional paragraphs. The City maintained Secondary compliance for 62 paragraphs
      (¶¶154, 161–69, 171–73, 175–79, 182–84, 186–87, 189–92, 196, 198–200, 202–
      05, 207–13, 216, 218–27, 229–34, 243–44, and 247) and achieved Secondary com-
      pliance for five paragraphs (¶¶155, 157, 214–15, and 241). The City maintained
      Full compliance for 11 paragraphs (¶¶170, 180–81, 185, 188, 194–95, 197, 245–
      46, and 248) and achieved Full compliance with three paragraphs (¶¶201, 206,
      and 235). The City’s Preliminary compliance for five paragraphs remained under
      assessment at the end of the tenth reporting period (¶¶160, 236–38, and 242).

      Use of Force Figure 1:                      Compliance Progress for Use of Force
                   Paragraphs at the End of the Tenth Reporting Period (June 30, 2024)




      The CPD has made significant progress with its use-of-force policies, training, and
      analysis of data since the start of the Consent Decree. Through ten reporting peri-
      ods, for example, the City and the CPD have incorporated required reforms from
      the Use of Force section into various policies and written guidance. In preparation
      for the Democratic National Convention, for instance, the CPD revised and adapted
      the use of force reporting and other related polices. While we have had and con-
      tinue to have concerns with the CPD’s corresponding community engagement ef-
      forts and strategies, the CPD has made and continues to make meaningful efforts
      toward improving its corresponding community engagement and efforts to receive
      community input.


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      Through 10 reporting periods, the City and the CPD have also developed or up-
      dated training materials to incorporate requirements across the Use of Force sec-
      tion. For example, because of the Consent Decree, the CPD has developed and
      delivers use-of-force in-service training every year, which includes training on de-
      escalation and force mitigation. The CPD is also streamlining their weapons quali-
      fications training to incorporate carbine, firearms, and Tasers.

      The CPD has also increased the workload carried by the Tactical Review and Eval-
      uation Division (also known as TRED, and formerly known as the Force Review Di-
      vision or Force Review Unit) in the time since the Consent Decree became effec-
      tive. TRED reviews use-of-force incidents, firearm-pointing incidents, and all foot
      pursuits to identify and allow the CPD to address patterns and trends. TRED’s re-
      sponsibilities have also been expanded to include search warrant reviews.39 TRED’s
      resources have not been expanded accordingly, however, and the City and the CPD
      have not yet implemented our recommendation to shift responsibilities for fire-
      arm pointing reviews to district- and unit- level supervisors.

      Furthermore, the CPD began using the new Incident Debrief Report (IDR) that
      TRED was developing in the seventh reporting period and was implemented in the
      ninth reporting period. The Incident Debrief Report streamlines TRED’s review and
      identification of de-briefing points for incidents involving multiple reportable
      events (uses of force, firearm pointing, and foot pursuits).

      Finally, while significant challenges remain, the CPD has continued to make pro-
      gress in its public reporting of use-of-force data. For example, the CPD makes rel-
      evant data available to the public via its Use of Force Dashboard.40 TRED also pub-
      lishes semiannual and yearly reports that contain analysis of and conclusions
      about the CPD’s use-of-force data, including data collected via Tactical Response
      Reports (TRRs), firearm-pointing incidents, and foot pursuits. The CPD’s Annual
      Use of Force Report, now in its third iteration, continues to improve and is another
      publicly-available source of data and trend analysis.

      Looking Ahead to the Eleventh Reporting Period
      In the tenth reporting period, the City and the CPD continued making progress
      toward compliance with the Use of Force requirements of the Consent Decree,


      39
           “It should be noted that the annual and quarterly reports were previously produced by the
           Force Review Unit (FRU). Moving forward these reports will be generated by the Tactical Re-
           view and Evaluation Division (TRED). The new name change more accurately reflects TRED’s
           focus on new and future responsibilities which include search warrant, foot chase and investi-
           gative stop reviews.” TRED 2022 Q1 Report, CPD TRED (August 16, 2022), https://home.chica-
           gopolice.org/wp-content/uploads/Q1-2022-16Aug22-FINAL.pdf.
      40
           See Use of Force Dashboard, CHICAGO POLICE DEPARTMENT (2015 to present), https://home.chica-
           gopolice.org/statistics-data/data-dashboards/use-of-force-dashboard/.


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      particularly related to policy and training requirements. Community engagement
      and use of body-worn cameras—particularly timely activation—continue to pre-
      sent significant hurdles to further levels of compliances.

      Nonetheless, at the end of the tenth reporting period, the City and the CPD were
      also continuing to develop new and revised policies, written guidance, and training
      materials to make progress in this section.

      For example, by the end of the tenth reporting period, the CPD was continuing to
      review its policies for alternate use-of-force reporting during coordinated multiple
      arrest incidents, while simultaneously training on the new policies in preparation
      for the Democratic National Convention.

      In the tenth reporting period, the City and the CPD continued to dedicate signifi-
      cant efforts to identifying and addressing data issues, particularly regarding foot
      pursuits. As we noted in previous reporting periods, until the CPD can appropri-
      ately collect, manage, and analyze data related to the Use of Force section, among
      others, the City and the CPD cannot sufficiently demonstrate whether the CPD’s
      practices have improved. This will, in turn, prevent the City and the CPD from be-
      coming a true learning agency, capable of reviewing and revising policies and train-
      ing in a way that is data driven and specific to the needs of Chicago’s communities
      and CPD officers. We saw evidence of CPD putting its findings into practice in both
      the 2023 Annual Use of Force Report and TRED’s 2023 Year-End Report this report-
      ing period, and we look forward to monitoring additional progress in the eleventh
      reporting period.

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      Specific compliance assessments, by paragraph, for the Use of Force section are
      available here: https://cpdmonitoringteam.com/tenth-semi-annual-independent-
      monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each monitorable paragraph in the Use of Force section
      is available in Comprehensive Assessment Part I (which included Independent Mon-
      itoring       Report     8):     https://cpdmonitoringteam.com/wp-content/up-
      loads/2024/06/IMR8-Appendix-4-Use-of-Force-2023.11.01.pdf.




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      V. Recruitment, Hiring & Promotion
                                      Guiding Principles
      The IMT assessed compliance with the Recruitment, Hiring, and Promotion
      paragraphs in accordance with the Consent Decree’s “Guiding Principles.” These
      principles “are intended to provide the Court, the Monitor, and the public with the
      context for the subsequent substantive requirements” and “the overall goals”
      (¶757):

               249. Having a department that recruits, hires, and promotes officers who are
               qualified to meet the increasingly complex needs of law enforcement and that
               reflects a broad cross section of the Chicago community in which it serves is
               critical to accomplishing the following goals: running a professional police
               force; building community trust and confidence; increasing legitimacy and
               acceptance of CPD’s supervision and accountability systems; and reducing
               perceptions of bias.
               250. The provisions of this Agreement are designed to ensure that CPD
               attracts, hires, retains, and promotes individuals who are equipped to
               perform their jobs safely, effectively, and in accordance with the law, CPD
               policy, and the terms of this Agreement. Further, this Agreement is designed
               to ensure that CPD promotes individuals who are capable of: providing
               effective supervision; guiding officers under their command on lawful, safe,
               and effective policing; and holding officers accountable for misconduct.
               251. The City and CPD’s recruitment, hiring, and promotions policies and
               practices will show a commitment to attracting, hiring, and promoting
               qualified candidates at all ranks that reflect a broad cross section of the
               Chicago community the Department serves.
               252. The Parties acknowledge that the City and CPD are currently subject to
               the City of Chicago Police Department Hiring Plan for Sworn Titles (“Hiring
               Plan”), dated May 14, 2014, which may be subject to change in the future.


      Summary of Compliance Efforts and Assessments

      Recruitment, Hiring, and Promotion in the Tenth Reporting Period
      In the tenth reporting period, the City and the CPD achieved additional compliance
      with the requirements of the Consent Decree for one paragraph (¶261) and
      demonstrated continued progress towards implementation of the Consent Decree
      requirements by maintaining compliance levels achieved in previous reporting pe-
      riods for all other paragraphs.

      During this reporting period, the City and the CPD provided an independent ex-
      pert’s (DCI Consulting Group’s) assessment of the City’s and the CPD’s promotions
      processes for the ranks of Sergeant and Lieutenant to ensure that its policies and


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      practices comply with the law, are transparent, and are consistent with the Con-
      sent Decree. Further efforts focused on establishing a Recruitment and Hiring
      Committee as a process of regularly assisting its promotions processes as specified
      in relevant policies. As stated by the Recruitment and Hiring Committee, “the com-
      mittee’s formation aims to ensure that the CPD’s recruitment and hiring practices
      are lawful, transparent, and consistent with the principles of the Consent Decree.
      These practices are evaluated at least every three years to maintain compliance
      and to implement necessary improvements.” The committee is comprised of rep-
      resentatives from various CPD bureaus, units, and other City department leaders.
      The committee’s governance structure is laid out in the Office of Public Safety Ad-
      ministration IAP 07-01, the Recruitment and Hiring Committee Human Resources
      Office of Public Administration Standard Operating Procedure, and the Consent
      Decree. Outcomes from these efforts are consistent with their steady progressive
      approach and will strengthen compliance with Consent Decree requirements. Sus-
      tained robust recruitment and hiring processes are required to lift the CPD out of
      the acute staffing shortages it continues to face.

      Recruitment, Hiring, and Promotion Progress through Ten Reporting
      Periods
      Overall, the City and the CPD maintained Preliminary compliance for six para-
      graphs (¶¶253–54, 256, 260, 262, and 264), maintained Secondary compliance for
      four paragraphs (¶¶255, 258–59, and 263), achieved Full compliance for one par-
      agraph (¶261), and maintained Full compliance for one paragraph (¶257)). See Re-
      cruitment Figure 1 below.

      Recruitment Figure 1: Compliance Progress for Recruitment, Hiring & Promotion
                  Paragraphs at the End of the Tenth Reporting Period (June 30, 2024)




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      Looking Ahead to the Eleventh Reporting Period
      Looking ahead to the eleventh reporting period, the IMT hopes to see the City and
      the CPD allocate and focus appropriate attention and resources to the Recruit-
      ment, Hiring, and Promotion section of the Consent Decree (see ¶706). Meaning-
      ful progress towards further levels of compliance should aid in addressing the
      CPD’s ongoing staffing shortage and the corresponding challenges that staffing
      shortage has caused. Indeed, while this is the smallest section of the Consent De-
      cree, the City’s and the CPD’s efforts directed at recruitment, hiring, and promo-
      tions are critical to every other Consent Decree section and the short and long-
      term success of Chicago’s policing efforts.

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      Specific compliance assessments, by paragraph, for the Recruitment, Hiring, and
      Promotion section are available here: https://cpdmonitoringteam.com/tenth-
      semi-annual-independent-monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each original monitorable paragraphs in the Recruitment,
      Hiring, and Promotion section is available in Comprehensive Assessment Part I
      (which included Independent Monitoring Report 8): https://cpdmonitoring-
      team.com/wp-content/uploads/2024/06/IMR8-Appendix-5-Recruitment-Hiring-
      and-Promotions-2023.11.01-1.pdf.




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      VI. Training
                                       Guiding Principles
      The IMT assessed compliance with the Training paragraphs in accordance with the
      Consent Decree’s “Guiding Principles.” These principles “are intended to provide
      the Court, the Monitor, and the public with the context for the subsequent sub-
      stantive requirements” and “the overall goals” (¶757):

               265. CPD will enhance its recruit training, field training, in-service training,
               and preservice promotional training so that they are sufficient in duration and
               scope to prepare officers to comply with CPD directives consistently,
               effectively, and in accordance with the law, CPD policy, best practices, and this
               Agreement.

               266. CPD training will reflect its commitment to procedural justice, de-
               escalation, impartial policing, and community policing.

               267. CPD training will convey CPD’s expectations that officers perform their
               jobs diligently and safely, and have an understanding of, and commitment to,
               the constitutional rights of the individuals they encounter.

               268. The training required under this Agreement is set out in this section and,
               for specific topic areas, in the Community Policing, Impartial Policing, Crisis
               Intervention, Use of Force, Officer Wellness and Support, and Accountability
               and Transparency sections.


      Summary of Compliance Efforts and Assessments

      Training in the Tenth Reporting Period
      In the tenth reporting period, the CPD continued to make progress in many areas
      of training, as required by the Consent Decree. Notably, the CPD has made signifi-
      cant in the Field Training and Evaluation Program. As the CPD expanded recruit-
      ment efforts to address the CPD’s significant staffing shortages, this placed strains
      on the Field Training Officer (FTO) program, which is tasked with providing Proba-
      tionary Police Officers (PPO) with sufficient field training before becoming field
      qualified and receiving field assignments as Chicago Police Officer.

      During this reporting period, the CPD expanded the Field Training Officer (FTO)
      budget allocation to support up to 450 Field Training Officers and conducted new
      exams and training for new FTOs. While additional FTO exams are scheduled for
      the remainder of 2024, this expansion has allowed the CPD to end the use of ACT-
      Ups to supplement the FTO cadre, while still maintaining the requisite one-to-one
      FTO-PPO ratio for each of the PPOs’ three field training cycles.



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      This reporting period, the CPD began implementation of the 2024 Training Plan,
      which included a minimum of 40 hours of In-Service Training based on the previ-
      ously published 2024 Needs Assessment. The CPD has made significant strides to
      progress towards the 95% completion rates required by the Consent Decree early
      in the year, so as to meet the training needs of the CPD ahead of the 2024 Demo-
      cratic National Convention in Chicago.

      Updated Compliance Levels through Ten Reporting Periods
      Independent Monitoring Report 10 provides compliance assessments for 68 para-
      graphs. During this reporting period, the City and the CPD achieved or maintained
      at least Preliminary compliance with 63 of these paragraphs. Specifically, in the
      tenth reporting period, the City and the CPD maintained Preliminary compliance
      for 46 paragraphs (¶¶273–85, 289, 295–300, 303-04, 307–19, 324, 326–29, 331–
      35, and 338), achieved Preliminary compliance for two paragraphs (¶¶291 and
      336), lost Secondary compliance for one paragraph (¶283), maintained Secondary
      compliance with 10 paragraphs (¶¶270, 272, 292, 305, 320–23, 337, and 340),
      achieved Secondary compliance with four paragraphs (¶301–02, 306, and 339),
      and achieved Full compliance for one paragraph (¶271). The City and CPD failed to
      reach Preliminary compliance for five paragraphs (¶¶286–88, 290, and 294). See
      Training Figure 1 below.

      Training Figure 1: Compliance Progress for Training
      Paragraphs at the End of the Tenth Reporting Period (June 30, 2024)




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      Training Progress through Ten Reporting Periods and Looking Ahead
      to the Eleventh Reporting Period
      Through 10 reporting periods, the City and the CPD have developed or updated
      many training materials to incorporate requirements across the Consent Decree
      sections. Many of these trainings are reflected in the corresponding sections of
      this report.

      Looking ahead to the next reporting period, the IMT anticipates enhanced and
      more substantive compliance reviews in several areas based on the progress the
      City and the CPD have made in meeting and maintaining compliance levels. The
      IMT anticipates that the CPD will make progress towards the development of pol-
      icy and practices guiding quality instructor selection, training delivery, instruction,
      and evaluation of participant outcomes. As noted in prior reporting periods, the
      development of the evaluation process is crucial to assessing the effectiveness of
      existing training and how to improve the quality and consistency of future instruc-
      tion and curriculum.

                                               ***

      Specific compliance assessments, by paragraph, for the Training section are avail-
      able here: https://cpdmonitoringteam.com/tenth-semi-annual-independent-
      monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each original monitorable paragraphs in the Training sec-
      tion is available in Comprehensive Assessment Part I (which included Independent
      Monitoring       Report   8):    https://cpdmonitoringteam.com/wp-content/up-
      loads/2024/06/IMR8-Appendix-6-Training-2023.11.01.pdf.




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      VII. Supervision
                                      Guiding Principles
      The IMT assessed compliance with the Supervision paragraphs in accordance with
      the Consent Decree’s “Guiding Principles.” These principles “are intended to pro-
      vide the Court, the Monitor, and the public with the context for the subsequent
      substantive requirements” and “the overall goals” (¶757):

              341. Effective supervisors, who lead by example and actively engage with the
              subordinates under their direct command, play a critical role in ensuring law-
              ful, safe, effective, and community-centered policing. To achieve this out-
              come, the Parties agree to the requirements set out below.

              342. The provisions of this Agreement are designed to ensure that CPD super-
              visors provide the effective supervision necessary for members to perform
              their duties lawfully, safely, and effectively and for members to improve and
              grow professionally. Further, the provisions of this Agreement are designed to
              allow supervisors to spend time monitoring and training members under their
              direct command so as to provide adequate opportunities to prevent, promptly
              identify, and promptly correct adverse officer behavior. This meaningful su-
              pervision will facilitate the establishment and re-enforcement of a culture of
              community policing, community and officer safety, and accountability
              throughout the Department.

              343. CPD should have the staffing necessary to promote lawful, safe, effec-
              tive, and community-centered policing; provide effective supervision; ensure
              officer safety and accountability; and implement the terms of this Agreement.

              344. Immediate supervisors of all ranks are responsible for supervising, man-
              aging, and overseeing, as appropriate, the day-to-day work activities of mem-
              bers under their direct command.

              345. Supervisors of all ranks are accountable for the performance of subordi-
              nate members directly observed or under their direct command.

              346. Effective supervisors will: a. engage in activities and conduct that sup-
              port the mission and goals of the Department, including those set forth in this
              Agreement; b. model appropriate conduct, including abiding by high stand-
              ards of integrity and adhering to the United States Constitution and other
              laws, CPD policy, and the terms of this Agreement; and c. consistently demon-
              strate professionalism, courtesy, and respect towards all people with whom
              they interact.




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      Summary of Compliance Efforts and Assessments

      Supervision in the Tenth Reporting Period
      Many of the City’s and the CPD’s efforts in the Supervision section of the Consent
      Decree rely on the concepts of unity of command and span of control. Unity of
      command requires that the same sergeant supervise the same group of police of-
      ficers. See ¶358. Span of control limits the number of officers any one sergeant
      can supervise daily. See ¶358. The goal of span of control is to create a consistent
      ratio of 10 officers to one sergeant to encourage effective supervision.

      The Unity of Command and Span of Control Pilot Program was launched to imple-
      ment these concepts to enable more effective and efficient supervision, mentor-
      ing, officer support, and policing. Through the pilot program, the City and the CPD
      implemented a pod supervision structure (primary, secondary, and tertiary role for
      supervisors). The Unity of Command and Span of Control Pilot Program began in
      the 6th District during the second reporting period. In the fourth reporting period,
      the CPD expanded the pilot into the 4th and 7th districts. Ultimately, however, the
      CPD decided that implementing the Unity of Command and Span of Control Pilot
      Program in three districts was not feasible, so they chose to focus efforts on refin-
      ing the program within the 6th District.

      Despite the CPD’s continued efforts to implement the Unity of Command and Span
      of Control Pilot Program, the CPD has faced various challenges with the implemen-
      tation, as explained in previous IMT reports. The CPD continues to face staffing
      shortages that prevented the pilot districts from consistently meeting the 10-to-1
      officer-to-supervisor ratio required by ¶360. We learned that officers were not be-
      ing consistently overseen by the same supervisors, as envisioned by the pilot pro-
      gram. We also heard frustrations from officers regarding the staffing shortages,
      which not only hampered compliance with the program, but also created situa-
      tions in which understaffing could have reduced officer safety.

      In April 2022, the City and the CPD requested technical assistance from the IMT
      regarding the Unity of Command and Span of Control Pilot Program. During the
      sixth and seventh reporting periods, we had in-depth discussions with command
      staff, officers, and supervisors about the strengths and shortcomings of the pilot
      program. We were informed that the pod supervision structure did not consist-
      ently result in unity of command as envisioned. Therefore, in late June 2022, dur-
      ing the first technical assistance meeting, the City and the CPD shared their plans
      to develop a new staffing model to address several the shortcomings of the pod
      model. The new model, implemented in the ninth reporting period, focuses on
      three tenets: (1) geographic familiarity, (2) high-quality supervision, and (3) re-
      source flexibility.



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       During the ninth reporting period, the IMT closely observed the rollout of the Unity
       of Command and Span of Control Pilot Program based on the new staffing model
       in the 6th District. The City and CPD expanded the pilot programs into other dis-
       tricts in the ninth and tenth reporting periods. The pilots were implemented in the
       4th district in October 2023 and implemented in the 7th district in January 2024.

       As the CPD strategically staggered implementation, the supervision pilot programs
       are in various stages of completion. Table 1 shows the progress of the pilots in
       active districts. Districts in the “Implementation Underway” phase have begun op-
       erating under the model and are tracking compliance with the pre-determined
       success metrics. Districts in the “Implementation Complete” phase have achieved
       and maintained compliance with pre-determined success metrics.
       Table 1. Progress of Supervision Pilot Programs

        CPD District (in order of             Unity of Command/                 Performance Evaluation
        implementation)                       Span of Control                   System
        006 – Gresham                         Implementation Underway           Implementation Underway
        004 – South Chicago                   Implementation Underway           Implementation Underway
        007 – Englewood                       Implementation Underway           Implementation Underway

       During monthly calls, the City and the CPD shared information about the progress
       of the pilot program. The CPD-determined target goal for Span of Control, or the
       frequency with which CPD is meeting the 10:1 ratio of members compared to ser-
       geant working within a sector/watch is 70%.41 The CPD-determined target goal for
       the Unity of Command by sector, or the frequency with which a member is working
       within their assigned sector is also 70%. The CPD-determined target goal for Unity
       of Command by reviewer, or the frequency with which a member is working with
       the supervisor assigned to complete their performance review is 50%. Since the
       launch of the new staffing model in the ninth reporting period, compliance rates
       with the CPD-determined target goals have fluctuated and this has continued in
       the tenth reporting period. The IMT acknowledges the CPD’s efforts but looks for-
       ward to these numbers stabilizing across all periods and shifts.
       Table 2. Compliance with CPD-Determined Target Goals in the Tenth Reporting Period

  CPD District (in order        Span of Control          Unity of Command by                Unity of Command by
  of implementation)            (% Range)                Sector (% Range)                   Reviewer (% Range)
  006 – Gresham                 64 – 81%                 76 – 80%                           24 – 27%
  004 – South Chicago           67 – 81%                 72 – 80%                           33 – 39%
  007 – Englewood               80 – 89%                 77 – 84%                           18 – 31%



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            In previous reporting periods, the CPD-determined target goal was 80%.


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      Additionally, the CPD has continued to provide updates on the staffing dashboard’s
      management tools for making staffing and operational decisions, which the IMT
      believes would enhance unity of command and span of control. We look forward
      to these percentages of time increasing and remaining stable over time. In the
      IMT’s opinion, the CPD members in the pilot districts and in the patrol chain of
      command are dedicated to achieving compliance in this area, not only because it
      is required by the Consent Decree, but because they understand that these re-
      quirements are fundamental pieces of the structure and accountability required
      to be able to effectively and constitutionally police Chicago.

      The CPD originally chose to also begin implementing the pilots for the Perfor-
      mance Evaluation System (PES) and Officer Support System in the same districts as
      the Unity of Command and Span of Control Pilot Program. However, in the ninth
      reporting period, the CPD shared their plans to halt the Officer Support System
      pilot and instead work to combine the system with the legacy officer intervention
      systems. The IMT is supportive of this more streamlined approach and have ac-
      cepted the CPD’s request to provide technical assistance for this effort. In the tenth
      reporting period, the City and CPD produced D20-04, Early Intervention and Sup-
      port System (EISS) – Pilot Program, to which the IMT provided a conditional no-
      objection notice.42 The City and CPD are moving forward with developing other
      aspects of the EISS, including the development of the EISS application and corre-
      sponding training. The IMT urges the CPD to maintain (and expand) efforts to en-
      gage with collective bargaining units, officers, supervisors, and subject matter ex-
      perts to ensure that the EISS results in officers receiving appropriate interventions
      to avoid future adverse events.

      We believe that it makes sense to continue to pilot the PES and Unity of Command
      and Span of Control Pilot Program together, because they both rely on effective
      supervision. The PES currently requires that supervisors meet with supervisees for
      a goal setting session at the beginning of the year, input thirteen portfolio notes
      (one every CPD period) about a member’s performance throughout the year, and
      conduct an annual performance evaluation at the end of the year. In the tenth
      reporting period, we continued to monitor the progress of the PES program
      rollout. In focus group conversations with members of various ranks, the IMT
      heard about an operational disconnect in the assignment of staff to supervisors in
      the PES due to movement within districts that City human resources staff would
      not have been immediately aware of. To CPD’s credit, they were able to remedy
      this issue by providing administrative access to district leadership. CPD members
      also shared that there was inconsistency in communication about the require-
      ments of and variation in the quality of inputs into the PES. In the case of the 7 th


      42
           As part of our no-objection notice, the IMT noted that final approval for the policy would be
           provided once the CPD developed other elements of the EISS program (e.g., the EISS app,
           training material, unit SOPs).


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      district, delays in the rollout of the PES led to a seven-month period between train-
      ing and implementation which likely impacted members’ familiarity with and un-
      derstanding of the system. The IMT has recommended refresher training be con-
      ducted to ensure that all CPD members (sworn and non-sworn) understand the
      purpose of the PES and can use it effectively. The City and CPD are planning to
      share results of an internally-conducted evaluation of the PES, which the IMT read-
      ily looks forward to.

      The CPD has also convened a Unity of Command and Span of Control Pilot Program
      Evaluation Committee, which is to meet at least quarterly to discuss implementa-
      tion progress and share feedback from CPD personnel. This committee has the po-
      tential to play an important role in the programs’ effective implementation. The
      CPD also added similar tasks to this committee for the Performance Evaluation
      System and Early Intervention and Support System pilot programs. The IMT be-
      lieves that this committee can work to anticipate and address some of the possible
      challenges to ensure a smoother implementation process. However, in the past,
      these meetings had been structured as briefings to members rather than an op-
      portunity for members to engage in robust, constructive conversations, leading
      the IMT to have doubts about whether the committee was fulfilling its’ responsi-
      bilities. However, in the tenth reporting period’s committee meeting, members
      were much more vocal about pilot implementation successes and challenges. Con-
      versations during the meeting led to the institution of monthly meetings of the
      pilot districts to review metrics.

      Finally, the City and the CPD are in the process of initiating a Work Force Allocation
      Study, which will allow the City and the CPD to evaluate the CPD’s current staffing
      and organizational structure and implement recommendations to bring the CPD in
      line with best staffing practices and further compliance with the Consent Decree.
      During the tenth reporting period the IMT provided written and oral feedback on
      a draft scope of work for the forthcoming Work Force Allocation Study. The IMT
      will evaluate compliance with the relevant paragraphs upon receipt of an executed
      scope of work, which the CPD plans to provide during the eleventh reporting pe-
      riod. The IMT believes that programs required by the Supervision section of the
      Consent Decree are being thoughtfully developed and implemented by the City
      and the CPD as a pilot. To test and develop strategies to implement Unity of Com-
      mand and Span of Control, the PES, and the Officer Support System pilot programs
      in all CPD districts, the 6th District became the central location and focus of the
      IMT and the Parties as the pilot district. We recognize the aforementioned pro-
      gress that has been made and the pilot in the 6th District was used to assess and
      grant Preliminary compliance, as policies and processes have been developed and
      are at various stages of implementation. However, the Consent Decree requires
      that many of the paragraphs within the Supervision section be implemented and
      measured for compliance in all 22 CPD police districts. Therefore, while Prelimi-



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      nary compliance was achieved in the 6th District, further levels of compliance can-
      not be achieved until the pilot continues to expand and is able to be successfully
      replicated and implemented in other districts. The IMT may be able to consider
      these levels of compliance once evidence of successful implementation is observ-
      able and measurable in multiple districts with unique challenges. The IMT looks
      forward to continuing to work with the City and the CPD toward the goal of broad-
      ening the impact of implementing an effective supervision structure in all 22 dis-
      tricts.

      Supervision Progress through Ten Reporting Periods
      Overall, we assessed the City’s compliance with 29 Supervision paragraphs during
      the tenth reporting period (¶¶347–57 and 359–76). In the tenth reporting period,
      the City and the CPD maintained Preliminary compliance for 23 paragraphs
      (¶¶347–349, 351–55, 359–64, 367, and 369–76) and reached Secondary Compli-
      ance for two paragraphs (¶¶350 and 368). The City and the CPD did not reach any
      level of compliance with four paragraphs (¶¶356–57 and 365–66).

      Supervision Figure 1:                       Compliance Progress for Supervision
                   Paragraphs at the End of the Tenth Reporting Period (June 30, 2024)




      Looking Ahead to the Eleventh Reporting Period
      In the eleventh reporting period, the IMT will review data relevant to the Unity of
      Command and Span of Control Pilot Program such as assignment sheets, transfer
      orders, and other relevant records. The IMT also looks forward to receiving access
      to the Watch Application Sheet and Unity of Command and Span of Control Tab-




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      leau Dashboard. While the numbers and staffing are important, the IMT empha-
      sizes the importance of seeing discussions related to the pilot shift to include the
      guiding concepts.

      We hope to work more collaboratively with the City and the CPD to identify and,
      if necessary, help develop data sources which accurately capture supervisory ac-
      tivities and show evidence of supervisors’ ability to provide appropriate support
      and accountability. The IMT will continue conducting interviews and focus groups
      with members of the three pilot districts. The IMT also anticipates observing any
      pilot program, pre-service supervisors, and in-service supervisors training along
      with evaluations of that training. The IMT notes that the CPD has stated that it
      plans to conduct training for non-sworn supervisors during the eleventh reporting
      period. The IMT looks forward to observing this training and notes that all refer-
      ences to training in this section refer to the training of all applicable supervisors,
      both sworn and non-sworn. Further, we plan to observe future evaluation com-
      mittee meetings and hope to see a shift from a briefing model to a more collabo-
      rative and conversational structure.

                                               ***

      Specific compliance assessments, by paragraph, for the Supervision section are
      available here: https://cpdmonitoringteam.com/tenth-semi-annual-independent-
      monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A description of the history of compliance efforts, methodologies, compliance de-
      terminations for each original monitorable paragraphs in the Supervision section
      is available in Comprehensive Assessment Part I (which included Independent Mon-
      itoring       Report     8):      https://cpdmonitoringteam.com/wp-content/up-
      loads/2024/06/IMR8-Appendix-7-Supervision-2023.11.01.pdf.




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      VIII. Officer Wellness and Support
                                       Guiding Principles
      The IMT assessed compliance with applicable Officer Wellness and Support para-
      graphs in accordance with the Consent Decree’s “Guiding Principles.” These guide-
      lines “are intended to provide the Court, the Monitor, and the public with the con-
      text for the subsequent substantive requirements” and “the overall goals” (¶757):

               377. In fulfilling their duties, CPD members expose themselves to significant
               danger, high stress, and a wide spectrum of human tragedy. There is growing
               recognition that psychological and emotional wellness are critical to officers’
               health, relationships, job performance, and safety. The City and the CPD have
               an obligation to help CPD members cope with the consequences that come
               from their service to the public.

               378. The City and the CPD’s obligation to CPD members includes providing
               adequate support systems to treat members experiencing mental health, sub-
               stance abuse, and other emotional challenges.

               379. The City and the CPD’s obligation to CPD members also includes equip-
               ping them in a manner that enables them to do their jobs as safely as reason-
               ably possible. CPD will ensure that the safety of its members is not jeopardized
               by equipment and technology that is outdated, broken, or in need of repair or
               replacement.

               380. The City and the CPD will implement the following requirements in order
               to achieve a healthy, effective, and constitutionally compliant police force.


      Summary of Compliance Efforts and Assessments

      Officer Wellness and Support in the Tenth Reporting Period
      During the tenth reporting period, the City and the CPD made notable progress
      towards compliance in several areas of the Consent Decree. For example, the CPD
      resumed the Annual Wellness Check-ins after re-evaluating their intake and sched-
      uling process; continued a partnership with the University of Chicago to design the
      needs assessment (see ¶383); partnered with several technology vendors to de-
      velop the tools necessary to establish a technology-based system to support their
      data collection; produced data being collected manually which is required by the
      Consent Decree (see ¶392 and 394); made necessary policy changes to the Di-
      rective E06-03, Traumatic Incident Stress Management Program (TISMP); and be-
      gan to prioritize civilian wellness training.




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      While the City and the CPD are taking actionable steps forward, there is still more
      work to do in line with the guiding principles of the Consent Decree to support
      member wellness.

      As stated in the guiding principles for this section (see ¶377–80), CPD members
      expose themselves to significant danger, high stress, and a wide spectrum of hu-
      man tragedy. The City and the CPD have an obligation to help CPD officers and
      civilian members cope with the consequences that come from their service to the
      public. This includes providing adequate support systems to treat CPD members
      experiencing mental health, substance use disorder, and emotional challenges.

      The City and the CPD continued to face challenges related to several areas in this
      reporting period. Obstacles to advancing toward further compliance include the
      following:

      •   Inability to determine timeframes for members’ receipt of services, as re-
          quired by the Consent Decree (see ¶¶383, 389, 395, and 407);

      •   Reliance on manual data collection as opposed to establishing a technology-
          based system (see ¶¶381–382); and

      •   Failure to demonstrate fully functional necessary systems to maintain its
          equipment and technology; ensure that it has the necessary resources in place
          to conduct an audit; or establish an audit schedule to inform the plan within
          the designated 90 days to address the stipulated findings, recommendations,
          and next steps (see ¶¶415–417).

      As in prior reporting periods, during the tenth reporting period, data collection
      continued to be a challenging issue for the City and the CPD. While the CPD is cur-
      rently manually collecting data which has afforded them certain levels of compli-
      ance, to reach Full compliance in several paragraphs, the CPD must implement a
      reliable, technology-based, and data driven system to retain, track, and analyze
      key data points relevant to specific paragraph requirements.

      Currently, the Professional Counseling Division (PCD) captures data relating to of-
      ficer wellness by completing handwritten forms. The forms are then submitted to
      an administrator, who manually inputs the data into a computer. The PCD is reeval-
      uating this process to allow the PCD to automatically capture key data points re-
      lating to officer wellness at an aggregate level while maintaining client anonymity.

      Notably, the PCD uses a manual process to track the times of requests for services,
      offers of appointments, and the actual times scheduled for appointments. The IMT
      strongly recommends that the PCD use a computerized system to automatically
      record these touchpoints. Such a computerized system would allow the PCD to



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      reliably measure response times to requests for service, which will help the CPD
      achieve further compliance with several paragraphs (e.g., ¶¶ 381, 383, 389, and
      395).

      In addition to assessing response times, the CPD continues to face challenges as-
      sessing the caseloads of the PCD. The IMT recognizes and appreciates the contin-
      ued increase in mental-health clinicians since the inception of the Consent Decree.
      The CPD has informed the IMT that the PCD is “almost fully staffed,” with 21 men-
      tal health clinicians currently employed. However, preliminary data from quarterly
      reports indicated that the caseloads were nearly double the numbers that the PCD
      had previously verbally reported. The IMT looks forward to seeing further data
      regarding staffing, workload, and current and future capacity.43 Furthermore, the
      CPD must demonstrate that the data-driven results and analyses of the forthcom-
      ing needs assessment and Officer Support Systems Plan inform the CPD on future
      staffing levels. These systems and processes will help to ensure that the PCD has
      sufficient staff to meet the wellness needs of all members (see ¶¶390, 391, 395,
      and 399).

      The City and the CPD have recently begun collecting data on referrals to external
      clinicians. The IMT and the PCD have had robust discussions about which referral
      metrics the PCD should capture. The PCD’s effort to develop a database should
      help the CPD reach further compliance in several paragraphs (see, e.g., ¶¶394,
      399, 404, and 406).

      The IMT also recognizes the continued progress that CPD and the City made to-
      ward compliance with the Traumatic Incident Stress Management Program
      (TISMP) (see ¶¶ 407, 408, and 410). During the tenth reporting period, the City
      and the CPD produced the Traumatic Incident Stress Management Program
      eLearning training materials. The IMT reviewed these materials and awaits attend-
      ance records in future reporting periods.44

      During the tenth reporting period, the CPD continued to make progress toward
      developing an improved needs assessment (¶383), Officer Support Systems Plan

      43
           The IMT notes that the PCD will be reviewed under the forthcoming Workforce Allocation
           Study.
      44
           The IMT notes that, in addition to training their members on the TISMP, the CPD must ensure
           they have a mechanism in place to systematically identify members who are required to at-
           tend (or have already attended) the TISMP as defined by Directive E06-03, Traumatic Incident
           Stress Management Program (TISMP). While training all members on the TISMP is a necessary
           step toward compliance with ¶¶ 407, 408, and 410, the IMT is concerned that without a reli-
           able, automated mechanism to identify applicable members, the CPD will continue to fail to
           enroll in the TISMP all members who have experienced potentially traumatic incidents, as
           noted by the 2023 TISMP Audit. Furthermore, the IMT strongly encourages the CPD to com-
           municate the importance of the TISMP referral requirements to all members (and particularly
           those with referral responsibilities, like Watch Operations Lieutenants), possibly during roll
           calls.


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      (¶384), communication strategy (¶¶385–86), and Suicide Prevention Initiative
      (¶388). The CPD has informed the IMT that they are collaborating with the Univer-
      sity of Chicago to develop the next needs assessment, which will be the basis for
      a future Officer Support Systems Plan, communications strategy, and Suicide Pre-
      vention Initiative. The IMT encourages the CPD to create a robust internal commu-
      nication strategy regarding the upcoming needs assessment to help ensure in-
      creased participation in the needs assessment survey (see ¶383(f)). Finally, the
      IMT encourages the PCD to collaborate with the Office of Public Safety Administra-
      tion (OPSA) on the Suicide Prevention Initiative because OPSA maintains data on
      member suicides.

      The IMT also continues to engage with the OPSA regarding fitness for duty, as OPSA
      is responsible for managing and overseeing the fitness for duty evaluation process
      (see ¶397). During the ninth reporting period, the OPSA provided the IMT with an
      informal production of a flowchart explaining the fitness for duty evaluation pro-
      cess. The IMT anticipates that the OPSA will formally produce this flowchart, along
      with a fitness-for-duty policy during the eleventh reporting period. The IMT notes
      that it has observed a confusion regarding the fitness for duty process among CPD
      members and hopes that the fitness for duty policy and flowchart will reduce this
      confusion.

      During the tenth reporting period, the CPD prioritized training sworn members in
      advance of the Democratic National Convention (which was held in Chicago in Au-
      gust 2024). To that end, the CPD produced several training suites or training en-
      hancements, including annual use-of-force training, in-service supervisor training,
      recruit training, and enhancements to the Wellness and Law Enforcement Medical
      and Rescue Training (WELMART). The IMT notes that these training suites were
      comprehensive and included training on a wide variety of wellness topics, includ-
      ing the role biometrics has in capturing the physiological impact of stress, financial
      wellness, yoga practices, and nutritional information.

      While the CPD prioritized training of sworn members during the tenth reporting
      period, the CPD did make some progress toward civilian wellness training. The CPD
      produced a civilian wellness curriculum and anticipates that it will provide this
      training during the eleventh reporting period. The IMT stresses the importance of
      providing wellness training to all members, sworn and non-sworn, and looks for-
      ward to observing the upcoming civilian wellness training.

      During future reporting periods, the IMT looks forward to learning about the pro-
      cess by which the CPD identifies and consults subject matter experts in the crea-
      tion of wellness training (see ¶¶ 412–13). The IMT understands that the CPD cur-
      rently develops certain wellness training curricula in cooperation with subject mat-




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      ter experts, but the IMT is currently unaware of the process by which the CPD se-
      lects those subject-matter experts. Compare ¶¶282–286. The IMT looks forward
      to further discussion on this process.

      Officer Wellness and Support Progress through
      Ten Reporting Periods
      Overall, the IMT assessed the City’s compliance with 36 Officer Wellness and Sup-
      port paragraphs in the tenth reporting period (¶¶381–402, 404 and 406–18). The
      City and the CPD maintained Preliminary compliance with 18 paragraphs (¶¶384,
      388, 395, 398, 399, 402, and 407–18), achieved Preliminary compliance with one
      paragraph (¶389), maintained Secondary compliance with 12 paragraphs (¶¶381–
      83, 385–86, 390–91, 393, 397, 401, 404, and 406), achieved Secondary compliance
      with two paragraphs (¶¶394 and 400), and achieved Full compliance with three
      paragraphs (¶¶387, 392, and 396).

      Officer Wellness Figure 1:              Compliance Progress for Officer Wellness
                   Paragraphs at the End of the Tenth Reporting Period (June 30, 2024)




      Looking Ahead to the Eleventh Reporting Period
      Moving forward, the City and the CPD should focus on (1) improving its data col-
      lection and analysis, (2) ensuring that it identifies and tracks all members who
      qualify for referral to the TISMP referral program, and (3) developing a compre-
      hensive needs assessment, which will inform the next Officer Support Systems
      Plan, communications strategy, and Suicide Prevention Initiative.




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      The IMT also expects to see significant efforts put into remedying the issues iden-
      tified in the TISMP audits. It is crucial that all members—particularly members re-
      sponsible for making referrals—understand the referral requirements for the
      TISMP. It is also crucial that the CPD have an automated system to identify and
      track members who qualify for referral to the TISMP.

                                             ***

      Specific compliance assessments, by paragraph, for the Officer Wellness and Sup-
      port section are available here: https://cpdmonitoringteam.com/tenth-semi-an-
      nual-independent-monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each original monitorable paragraphs in the Officer Well-
      ness and Support section is available in Comprehensive Assessment Part I (which
      included Independent Monitoring Report 8): https://cpdmonitoringteam.com/wp-
      content/uploads/2024/06/IMR8-Appendix-8-Officer-Wellness-and-Support-
      2023.11.01.pdf.




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      IX. Accountability and Transparency
                                        Guiding Principles
      The IMT assessed compliance with applicable Accountability and Transparency
      paragraphs in accordance with the Consent Decree’s “Guiding Principles.” These
      principles “are intended to provide the Court, the Monitor, and the public with the
      context for the subsequent substantive requirements” and “the overall goals”
      (¶757):

               419. Holding public servants accountable when they violate law or policy is
               essential to ensuring legitimacy and community confidence.

               420. A robust and well-functioning accountability system in which CPD mem-
               bers are held to the highest standards of integrity is critical to CPD’s legitimacy
               and is a priority of CPD. A culture of accountability also promotes employee
               safety and morale, and improves the effectiveness of CPD operations. Organ-
               izational justice also plays an important role in ensuring that CPD members
               have confidence in the legitimacy of the system that holds them accountable.

               421. In order to foster public trust and receive critically important community
               feedback, and promote confidence in CPD, the City and CPD will ensure the
               process for submitting and pursuing complaints that allege violations of CPD
               policy or the law by CPD members is open and accessible for all individuals
               who wish to file complaints.

               422. Meaningful community involvement is imperative to CPD accountability
               and transparency. Nothing in this Agreement should be construed as limiting
               or impeding community participation in CPD’s accountability system, includ-
               ing the creation and participation of a community safety oversight board.
               OAG and the City acknowledge the significant work many of Chicago’s com-
               munity organizations have undertaken and are continuing to undertake, in-
               cluding work alongside CPD, in the area of police reform and accountability,
               and OAG and the City know this critical work will continue.

               423. The City, CPD, and COPA will ensure that all complaints of misconduct,
               whether from internal or external sources, are thoroughly, fairly, timely, and
               efficiently investigated in accordance with this Agreement; that all investiga-
               tive findings are supported by the appropriate standard of proof and docu-
               mented in writing; and that all CPD members who commit misconduct are
               held accountable pursuant to a disciplinary system that is fair, timely and con-
               sistent, and provides due process.




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      Summary of Compliance Efforts and Assessments

      Accountability and Transparency in the Tenth Reporting Period
      The Accountability and Transparency section of the Consent Decree requires re-
      form efforts from many City entities. The reach of the section is vast—involving
      several City entities—and is motivated by the guiding principles at the outset of
      the Section, as shown above (¶¶419–23).

      The Accountability and Transparency section of the Consent Decree explicitly sets
      obligations for the following City entities: the Chicago Police Department (CPD)
      and the CPD’s Bureau of Internal Affairs (BIA), the Office of the Inspector General’s
      (OIG) Deputy Inspector General for Public Safety (Deputy PSIG), the Civilian Office
      of Police Accountability (COPA), and the Police Board. Since some requirements
      previously assigned to other entities have now been assumed by the Community
      Commission for Public Safety and Accountability (CCPSA), the IMT also interacts
      with that entity. In addition, some of the requirements of the Accountability and
      Transparency section call for action by the City. All of these moving parts make up
      a complex accountability system in the City of Chicago.

      While the CPD, COPA, the Deputy PSIG, and the Police Board are working toward
      the common goal of increased accountability and transparency, these entities
      work toward this goal in different manners as appropriate for each entity and as
      required by the Consent Decree. These entities have each found success in com-
      plying with the requirements set out in the Accountability and Transparency sec-
      tion at different paces and with varying degrees. The Deputy PSIG, for example,
      achieved Full compliance with all requirements pertaining to its office in the fourth
      reporting period and maintained that Full compliance during subsequent report-
      ing periods. In the eighth reporting period, the Deputy PSIG successfully com-
      pleted its two-year sustainment period, marking two years that it had maintained
      Full compliance with all requirements pertaining to its office. Therefore, in the
      ninth reporting period, the Parties moved to release the OIG and the Deputy PSIG
      from its Consent Decree requirements, which was granted by the Court.

      In the past few reporting periods, COPA and the Police Board had developed and
      followed plans that allowed them to consistently achieve compliance with various
      requirements of this section.

      The CPD, on the other hand, had been following a less methodical path toward
      compliance, which slowed its progress in complying with Accountability and Trans-
      parency requirements. In the eighth and ninth reporting periods, the CPD started
      to make notable progress toward compliance by developing specific BIA trainings.




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      However, the CPD did not make much progress toward compliance with require-
      ments because no trainings were delivered to BIA personnel during the tenth re-
      porting period.

      The City’s complex accountability system requires consistent communication and
      collaboration among all entities. As noted in our last report, there was a sharp
      decline in collaboration between the CPD and COPA in the ninth reporting period
      with regard to report access, data access, and regularly occurring conversations.
      However, in the tenth reporting period, the entities appeared to improve their col-
      laborative relationship, and COPA reported improved access to data. Although
      COPA still does not have access to the CPD’s digital system for personnel photos or
      the CPD’s Member Disciplinary Histories for the entire length of employment, the
      IMT is encouraged by the important improvements.45 We hope to see continued
      efforts to improve consistent communications between the entities.

      For the past several reporting periods, the CPD, COPA, and the Police Board have
      conducted regular meetings with the IMT and the OAG. In the eighth reporting
      period, the CCPSA began conducting monthly meetings as well, but the vast ma-
      jority of these meetings were canceled by the City. In an effort to foster a more
      collaborative process, in addition to these monthly meetings, the IMT began to
      regularly meet individually with the City entities and the OAG. The increased indi-
      vidual meetings and direct communications allowed the IMT to hear challenges
      and concerns, to explain compliance methodologies, and to provide technical as-
      sistance (see ¶656). Moving forward, we feel the enhanced, less-rigid communica-
      tions will further assist the City in achieving and maintaining compliance with the
      Consent Decree.

      Accountability and Transparency Progress through
      Ten Reporting Periods
      Overall, the IMT assessed the City’s compliance with 139 Accountability and Trans-
      parency paragraphs. With the combined efforts of all the City entities noted in this
      section, the City maintained Preliminary compliance with 50 paragraphs (¶¶439,
      444–45, 448, 453–56, 459–61, 463–68, 471, 475–76, 479–84, 486–87, 493, 495,
      497, 499, 501, 503–04, 516–19, 522–24, 526–27, 530–31, 540–42, and 544) and
      met Preliminary compliance with four paragraphs in the tenth reporting period
      (¶¶528, 548–49, and 564). The City also maintained Secondary compliance with
      44 paragraphs (¶¶424–29, 431–38, 440, 443, 446–47, 449–50, 452, 457, 462, 469,

      45
           We noted in the ninth reporting period that the City, the CPD, and COPA had participated in
           collaborative conversations due to changes in state law, which removed the five-year require-
           ment stated in ¶516. We understand that COPA still does not have access to this documenta-
           tion. COPA provided a memorandum at the end of the tenth reporting period noting that BIA
           had declined to provide the disciplinary records for CPD members for their entire length of
           employment until the Office of Legal Affairs approved.


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      470, 472, 474, 477–78, 496, 498, 500, 502, 505–09, 511, 513–15, 552, and 560)
      and met Secondary compliance with 2 paragraphs (¶¶525 and 532). The City also
      maintained Full compliance with 24 paragraphs (¶¶430, 441–42, 473, 485, 533–
      39, 543, 550, 554–59, 561–63, and 565) and met Full compliance with one para-
      graph (¶551). The City did not reach any level of compliance with 14 paragraphs
      (¶¶451, 488–92, 494, 512, 521, 529, 545–47, and 553), two of which are under
      assessment for Preliminary compliance (¶¶546–47).

      Accountability Figure 1: Compliance Progress for Accountability & Transparency
                   Paragraphs at the End of the Tenth Reporting Period (June 30, 2024)




      Given the variable nature of the Accountability and Transparency Section require-
      ments for each City entity, we provide a summary of each entity’s efforts sepa-
      rately.

      The Chicago Police Department (CPD)

      In the tenth reporting period, the CPD continued making efforts toward compli-
      ance with Accountability and Transparency requirements.46 For example, the CPD
      made significant progress toward finalizing its Officer-Involved Shooting and Of-
      ficer-Involved Death Incident policy series (G03-06, G03-06-01, and G03-06-02),
      which is arguably one of the most important requirements of the Consent Decree.
      The CPD worked closely with the IMT and the OAG in the tenth reporting period

      46
           The City takes the position that ¶445 does not apply to the CPD. However, the IMT has con-
           sistently monitored both the CPD and COPA throughout the past reporting periods on the re-
           quirements of this paragraph. Because the paragraph says COPA will “initiate the intake pro-
           cess” does not exclude CPD from its requirements for leadership to know the process when a
           CPD member is untruthful, including any findings made at suppression hearings. The IMT will
           continue to monitor the City’s compliance looking at both the CPD and COPA.


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      to discuss and revise the policy series. The CPD also conducted a simulated officer-
      involved shooting walkthrough for the Court, the IMT, and the OAG to demon-
      strate how the policy series works in practice. The walkthrough provided helpful
      insight into the intent of the provisions in the policy series and fostered further
      discussions. The IMT provided a no-objection notice to the policy series on June
      13, 2024. However, the CPD must address the OAG’s additional comments before
      implementing the policy series. Additionally, the CPD must revise the policy series
      to comply with the Court’s July 1, 2024 Order Regarding the CPD’s Body Worn
      Camera Policy and Public Safety Investigations.

      In the seventh and eighth reporting periods, the CPD focused its efforts on creating
      a BIA Onboard Training. Toward the end of the eighth reporting period, after many
      discussions about the format and purpose of the BIA Onboard Training (including
      how that training could be repurposed to satisfy ¶¶526–28), the CPD restructured
      this training as subject-specific blocks of instruction. We suggested that this
      change in structure would improve the quality and efficacy of the training and
      would provide the CPD with the opportunity of seeking and gaining compliance
      with various paragraphs on a rolling basis as training modules are drafted and pro-
      vided.

      During the ninth and tenth reporting periods, the CPD continued to make signifi-
      cant progress by developing numerous BIA in-service training modules. By the end
      of the tenth reporting period, the CPD developed lesson plans for each subpara-
      graph of ¶528 and many additional Accountability and Transparency paragraphs,
      thereby achieving Preliminary compliance with ¶528. Several of the trainings were
      provided in the ninth reporting period. However, due to other demands, no BIA
      trainings were provided in the tenth reporting period and have been scheduled for
      delivery in the eleventh reporting period. The IMT understands that the CPD plans
      to deliver the following trainings in the eleventh reporting period:

      •   BIA’s Accountability Supplemental eLearning
      •   BIA’s New Intake Personnel
      •   BIA’s In-Service Trainings: Module 3, Credibility, Standards of Proof, and Disci-
          plinary Decision Making; Module 8, Audio Recording Interview Guidelines;
          Module 9, Interviewing Department Members; Module 10, Mistakes and Up-
          dates; Collection of Evidence and Interviews with Non-Department Members;
          and Investigation Assignment and Timelines.

      We look forward to the delivery of the trainings next reporting period, along with
      documentation of training records (see ¶¶282–89).




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      The CPD also produced its 2023 BIA Annual Report47 and its 2024 BIA Quarter 1
      Report48 during the tenth reporting period. The reports include all necessary ag-
      gregate data regarding investigations conducted by BIA and Accountability Ser-
      geants, as required by ¶¶550–51.49 The IMT appreciates the CPD’s effort to create
      and publish the reports in a timely manner. The reports demonstrate a commit-
      ment to transparency and building trust in BIA’s operations.

      During site visits in March 2024, the IMT met with Accountability Sergeants in mul-
      tiple districts. As we have noted in previous reporting periods, we continue to have
      concerns about Accountability Sergeants and BIA Investigators’ day-to-day respon-
      sibilities and experiences. For example, although some Accountability Sergeants
      do have designated areas in the district where they can conduct interviews, review
      videos confidentially, and complete their investigations, many others do not. Each
      Accountability Sergeant interviewed this reporting period had department-pro-
      vided recording devices to record interviews, but this does not resolve the issue
      that not all Accountability Sergeants have the ability to conduct these recorded
      interviews in quiet, private spaces.

      Additionally, the IMT continues to be concerned about the lack of reform of the
      accountability and disciplinary process. We continue to learn the harsh realities on
      the ground and challenges that BIA Investigators and Accountability Sergeants face
      when performing their duties. Even though ¶494(b) requires two Accountability
      Sergeants to be assigned in each district, we have continued to learn this is not
      occurring in practice. Although most districts have now allocated more than one
      sergeant as an Accountability Sergeant, the majority of the districts still classify
      them as a “primary” and a “backup.” In many districts, the backup Accountability
      Sergeant performs other assignments in the district and only has cases assigned
      during the absence of the Primary Accountability Sergeant. This continues to cre-
      ate a very high caseload for the one designated Accountability Sergeant. One dis-
      trict had a Primary Accountability Sergeant, but when we visited in a previous re-
      porting period, that sergeant was working as the desk sergeant in the district. In
      another district, the Primary Accountability Sergeant was assigned out in the field
      and had to come back to the district office to meet with us. This is not a new issue.
      We have noted this issue going back to at least the sixth reporting period. We con-
      tinue to encourage the CPD to designate two Accountability Sergeants with their

      47
           See 2023 BIA Annual Report, https://home.chicagopolice.org/wp-content/uploads/BIA-2023-
           Annual-Report.pdf.
      48
           See 2024 BIA Quarter 1 Report, https://home.chicagopolice.org/wp-content/uploads/BIA-
           Quarter-Q1-2024-Report.pdf.
      49
           The 2023 BIA Annual Report was also produced for Full compliance review with ¶¶456, 462,
           476, 526–28, and 530, and the 2024 BIA Quarter 1 Report was also produced for Full compli-
           ance review with ¶¶456, 462, 476, and 526–27. However, the reports alone are insufficient for
           Full compliance with those paragraphs. To reach Full compliance with those paragraphs, the
           CPD must produce the underlying data relevant to those paragraphs rather than a summary
           of that data.


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      primary responsibility being receiving, processing, and investigating complaints
      against CPD members (as required by ¶¶493-494) rather than other duties like
      serving as the desk sergeant or the field sergeant for the day.

      This reporting period, we learned of confusion among Accountability Sergeants on
      investigative timelines, particularly when cases have been re-assigned multiple
      times to different Accountability Sergeants (see ¶471–72). Lastly, we learned that
      BIA does not conduct formal performance evaluations of the Accountability Ser-
      geants in the district, although they primarily oversee the duties of their work. We
      encourage the CPD to consider how BIA can play a role in this process formally
      moving forward.

      Although Accountability Sergeants’ caseloads have begun to trend in the right di-
      rection with lower caseloads, we continue to note that the numbers may not con-
      tinue to improve until personnel are primarily dedicated to investigating cases in
      the districts. We strongly encourage BIA to continue holding informal sessions with
      Accountability Sergeants, and one-on-ones to continue the momentum with dis-
      trict investigations moving forward.

      Throughout the tenth reporting period, the IMT met with the CPD on a regular
      basis to provide technical assistance to the CPD as it continues to develop and fi-
      nalize its policies, as well as develop and deliver its trainings. We look forward to
      continued conversations as the CPD works towards compliance.

      Civilian Office of Police Accountability (COPA)

      In the tenth reporting period, COPA proceeded to make efforts toward compliance
      with Accountability and Transparency requirements. In addition to the monthly
      COPA meetings, the IMT began having more regular direct communications with
      COPA in the tenth reporting period. COPA continued to demonstrate its commit-
      ment to not only fulfilling the requirements of the Consent Decree but recognizing
      the opportunity to improve their operational capacity and quality of their organi-
      zation.

      This reporting period, the IMT attended and observed multiple COPA In-Service
      trainings:

      •    Complaint Register;
      •    Rules and Directives;
      •    Officer Interviews;
      •    Fact Gathering – Evidence Collection;
      •    Witness Reliability.50

      50
           The IMT did not attend and observe COPA’s Civil and Criminal Complaint Review Training this
           reporting period.


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      Overall, the IMT met with COPA training staff throughout the reporting period to
      discuss various improvements we would like to see addressed in future reporting
      periods. Moving forward, the IMT would like to see all instructors teaching in align-
      ment with the lesson plans, which ensures consistency across training sessions and
      instructors. Additionally, we hope to see more engagement from the training at-
      tendees by COPA utilizing adult-learning techniques throughout each training ses-
      sion (see ¶284). The IMT would also like to see COPA improve its post-test engage-
      ment by discussing the answers to each question with the attendees to ensure
      comprehension of training materials (see ¶272(g)). Per previous discussions, COPA
      must send these records for all trainings each reporting period moving forward. 51

      To assess the effectiveness of the trainings, COPA surveyed the training attendees
      to evaluate the courses and to provide feedback (see ¶287). However, on average,
      only 24% of attendees provided an evaluation. In future reporting periods, we
      hope to see COPA improve its response rate to ensure feedback is being received
      from the majority of attendees. COPA should also expand its evaluation compo-
      nent to include collection of data on the instructors. Lastly, we hope to see a mech-
      anism in place to ensure that feedback is received, analyzed, and reviewed and
      that training is improved in future iterations.

      This reporting period, COPA produced its 2023 Annual Report52 and its 2024 First
      Quarter Report53. The reports include all necessary aggregate data regarding in-
      vestigations conducted by COPA, as required by ¶550. The reports also demon-
      strate COPA’s commitment to transparency in its operations.

      We acknowledge COPA’s continued progress and encourage COPA to continue
      these efforts in future reporting periods to maintain and achieve additional levels
      of compliance. The IMT appreciates the opportunity for continued conversations
      to discuss what documentation is necessary for Full and Effective compliance. We
      look forward to continuing positive collaboration in future reporting periods.

      The Chicago Police Board

      In the tenth reporting period, the Police Board continued to make thoughtful and
      methodical efforts toward compliance with Accountability and Transparency sec-
      tion requirements under new leadership. For example, the Police Board drafted
      policies related to its Consent Decree requirements during this reporting period.


      51
           The IMT did not receive training evaluation records (see ¶287) by the end of the reporting
           period for COPA’s Investigative File Maintenance Training and its Disciplinary and Remedial
           Recommendations Training.
      52
           See 2023 COPA Annual Report, https://www.chicagocopa.org/wp-content/uploads/2024/05/
           2023-Annual-Report_.pdf.
      53
           See 2024 COPA Q1 Report, https://www.chicagocopa.org/wp-content/uploads/2024/04/
           COPA-2024-Q1-Final-1.pdf.


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      Additionally, the Police Board continued to work toward meeting training require-
      ments (see ¶¶540–42). To meet its training requirements, the Police Board has
      sought the help of outside entities on a pro bono basis to provide relevant and
      thorough training on topics required by the Consent Decree.

      Throughout the tenth reporting period, the IMT met with the Police Board on a
      monthly basis. During these meetings, the Police Board provided various updates
      on its compliance efforts and also provided updates regarding pending litigation
      between a police union and the City regarding arbitration of serious police disci-
      pline cases.54 That litigation is currently pending appeal, and pursuant to the
      court’s decision, the Police Board only heard cases in which the officer consented
      to the Police Board’s procedures in the tenth reporting period.55

      Beyond taking the steps necessary to achieve compliance levels, the Police Board
      has continued to demonstrate a dedication to the spirit of the Consent Decree,
      taking reform, accountability, and transparency seriously. We commend the Police
      Board for its continued efforts and progress to date.

      The Community Commission for Public Safety and Accountability (CCPSA)

      In 2021, the City of Chicago created the Community Commission for Public Safety
      and Accountability (CCPSA), a new entity for police oversight, accountability, and
      public safety. The CCPSA is now responsible for selecting a COPA Chief Administra-
      tor and Police Board members when vacancies occur (see ¶¶525 and 532).

      The CCPSA was first tasked with filling vacant Police Board positions in the ninth
      reporting period. We expressed concerns that the CCPSA did not follow the estab-
      lished selection process and criteria previously developed by the Police Board and
      the City. However, in the tenth reporting period, the CCPSA again had the oppor-
      tunity to select additional Police Board members, and resolved our concerns by
      following the established selection process and criteria in filling the additional va-
      cant positions. The IMT appreciates the CCPSA’s efforts to closely follow the pro-
      cess despite challenges related to gaining interest from qualified applicants.

      Additionally, in the tenth reporting period, the CCPSA produced draft surveys seek-
      ing responses from CPD and COPA personnel regarding the qualities needed of a
      COPA Chief Administrator, as well as responses from CPD members regarding the
      qualities needed of a Police Board member. The materials submitted also indicated
      that the CCPSA plans to hold public hearings regarding the same. We appreciate



      54
           See Chicago John Dineen Lodge #7 v. City of Chicago, et al., Case No. 2024-CH-00093 (Circuit
           Court of Cook County, Illinois County Department, Chancery Division).
      55
           As of the time of this report, the IMT understands this litigation is still pending appeal.


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      the CCPSA’s community outreach efforts and look forward to seeing the results of
      those efforts in future reporting periods.

      Deputy Inspector General of Public Safety (Deputy PSIG)

      The Deputy PSIG achieved Full compliance with all Consent Decree requirements
      relevant to the Deputy PSIG in the fourth reporting period. The Deputy PSIG made
      consistent efforts to maintain Full compliance in subsequent reporting periods. As
      we noted in the fifth reporting period, the Deputy PSIG developed a plan to main-
      tain Full compliance. It followed that plan through the end of the eighth reporting
      period, which marked the end of its two-year sustainment period. As stated above,
      in the ninth reporting period, the Parties moved to release the OIG and the Deputy
      PSIG from its Consent Decree requirements because it successfully completed the
      required two-year sustainment period, which was granted by the Court. Therefore,
      the IMT ceased monitoring the Deputy PSIG in the ninth reporting period.

      Other City Entities

      As noted above, the City of Chicago often works toward and accomplishes compli-
      ance through the efforts of the CPD, COPA, the Deputy PSIG, the Police Board, and
      the CCPSA. However, other City entities occasionally undertake efforts relevant to
      compliance with Accountability and Transparency section paragraphs.

      On October 1, 2022, the City launched its Community-Police Mediation Pilot Pro-
      gram, which offers a meaningful opportunity to build trust and facilitate honest
      discussions between community members and CPD officers. In the eighth report-
      ing period, the City provided materials explaining that it had extended its revised
      Community-Police Mediation Pilot Program to run through December 31, 2023.
      Throughout the ninth and tenth reporting periods, we met with the Mayor’s Office
      to receive updates on the program, but these meetings did not occur monthly as
      scheduled and were often cancelled. We have previously requested more regular
      updates going forward and are eager for more information about the progress of
      the pilot program.

      In the tenth reporting period, the City produced reports regarding the Community-
      Police Mediation Pilot Program. During the first two pilot phases, even though
      there were a small number of cases that were mediated, the participants were
      overall satisfied with the program. However, some challenges remained such as
      scheduling issues and the lack of a virtual option. During this reporting period, the
      City and COPA created a new Director of Mediation position that will be housed
      within COPA. This new position will focus on staffing the program and on commu-
      nity engagement. While the City worked to hire the Director of Mediation, the City
      also begun reviewing its policy to make required changes and working on commu-
      nity engagement. In July 2024, the IMT learned that COPA had filled the Director


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      of Mediation position and that person would begin employment very soon. 56 The
      IMT looks forward to updates on the program in the eleventh reporting period.

      Additionally, this reporting period, the City produced its 2023 Report on Chicago
      Police Department Litigation. The report was timely published within 180 days fol-
      lowing the end of the 2023 calendar year and contained all relevant data, as re-
      quired by ¶¶548–49. The IMT appreciates the City’s effort to create and publish
      the report in a timely manner.

      Finally, the City produced a memorandum and supporting documentation detail-
      ing its efforts to comply with the Police and Community Relations Improvement
      Act, 50 ILCS 727/1-1 et seq. (PCRIA), which sets forth the requirements with regard
      to the criminal investigation of officer-involved death incidents. Specifically, PCRIA
      requires, among other things, that “[n]o investigator involved in the investigation
      may be employed by the law enforcement agency that employs the officer in-
      volved in the officer-involved death . . . .” 50 ILCS 727/1-10(b). Therefore, as the
      memorandum explains, the City began discussions in 2020 to potentially contract
      the Illinois State Police’s services to investigate CPD officer-involved death inci-
      dents. The City’s discussions with the Illinois State Police stalled in July 2021. In
      September 2023, the City resumed discussions with the Illinois State Police, and
      those discussions remain ongoing. We look forward to additional updates next re-
      porting period.

                                                     ***

      Specific assessments, by paragraph, for the Accountability and Transparency sec-
      tion are available here: https://cpdmonitoringteam.com/tenth-semi-annual-inde-
      pendent-monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.

      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each original monitorable paragraphs in the Accountabil-
      ity and Transparency section is available in Comprehensive Assessment Part I
      (which included Independent Monitoring Report 8): https://cpdmonitoring-
      team.com/wp-content/uploads/2024/06/IMR8-Appendix-9-Accountability-and-
      Transparency-2023.11.01.pdf.




      56
           As of the time of this report, the IMT understands that COPA’s Director of Mediation position
           was filled by a prior Mayor’s Office employee who has already begun working on the program.


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      X. Data Collection, Analysis & Management
                                       Guiding Principles
      The IMT assessed compliance with applicable Data Collection, Analysis, and Man-
      agement paragraphs in accordance with the Consent Decree’s “Guiding Princi-
      ples.” These principles “are intended to provide the Court, the Monitor, and the
      public with the context for the subsequent substantive requirements” and “the
      overall goals” (¶757):

               566. Data can empower CPD to engage in the type of critical self-examination
               essential to instilling and maintaining constitutional policing. CPD can lever-
               age data to ensure constitutional policing by: systematically collecting
               enough data to have a broad-based understanding of officers’ interactions
               with the public; auditing the data to ensure it accurately reflects those inter-
               actions; analyzing the data to identify trends or areas of concern; developing
               tailored support and interventions to address behavior that is or may become
               problematic; and assessing the effectiveness of attempts to modify officers’
               behavior.

               567. In addition to enhancing CPD’s capacity for internal accountability, CPD
               can use data to promote accountability to the public by regularly publishing
               data it collects.


      Summary of Compliance Efforts and Assessments

      Data Collection, Analysis, and Management in the
      Tenth Reporting Period
      During the tenth reporting period, the City and CPD continued to make progress
      on several reforms required by the Data Collection, Analysis, and Management
      section. These efforts allowed the City and CPD to regain Preliminary and Second-
      ary compliance with ¶570, achieve Preliminary compliance with ¶573, achieve Full
      compliance ¶577, and make appreciable progress in both developing the Depart-
      ment’s early intervention system (¶¶583–605) and conducting an audit to ensure
      the validity of the Department’s use of force data (¶¶568, 571, 581, and 582).

      During this reporting period, the City regained Preliminary and Secondary compli-
      ance with the requirements of ¶570, which provides that COPA shall have access
      to CPD data systems as part of their investigations into use-of-force events. During
      the ninth reporting period, the City had lost all levels of compliance due to COPA’s
      restricted access into various CPD data systems and that such access restrictions
      impacted COPA’s ability to conduct their investigations. During the tenth reporting
      period, COPA’s access was restored for all pertinent systems required by ¶570
      (“reasonably available documents related to reportable uses of force”), resulting


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      in regained compliance levels.57 However, as with prior reports, we continue to
      require the CPD develop a policy memorializing COPA’s access, which we note may
      have prevented lost compliance in the first place.

      Additionally, during this reporting period the CPD’s Audit Division conducted an
      audit of 10,377 report narratives to evaluate the validity of use-of-force data, re-
      lated to ¶¶568, 571, 581, and 582. In conducting their assessment, the Audit Divi-
      sion identified common narrative terms and criminal charges associated with use
      of force. The Audit Division then reviewed reports that included such terms and
      charges to determine whether a TRR should have been completed but was not. In
      all, the audit found a total of 30 incidents (with a total of 75 members) involving
      force that were previously unreported, representing 0.3% of the narratives re-
      viewed. The audit also found that force may be overreported in that WOLs inter-
      viewed as part of the audit indicated they approved TRRs that they do not believe
      are required under G03-02-02 (Incidents Requiring the Completion of a Tactical
      Response Report). We have requested TRED data regarding the extent of potential
      overreporting though note that the findings of the audit largely indicate that the
      CPD’s use of force data is a valid reflection of use of force events.

      The CPD also made progress this reporting period in ¶572’s requirement to con-
      duct an assessment of the “relative frequency and type of force used by CPD mem-
      bers against persons in specific demographic categories, including race or ethnic-
      ity, gender, age, or perceived or known disability status” (¶572). During this report-
      ing period, the CPD provided the IMT with a draft methodology for conducting the
      required analysis (as required by ¶573), which was developed by research partners
      from the University of Texas San Antonio and the University of Pennsylvania. In
      reviewing the draft methodology, we found it to overall reflect an assessment ap-
      proach that is consistent with current standards in use-of-force analyses. Late in
      the tenth reporting period, the IMT met with the research partners to discuss the
      methodology, raise questions, and provide comments. While the IMT did not pro-
      vide approval for the methodology during the tenth reporting period, the meth-
      odology provided for our initial review demonstrates commendable progress on
      this paragraph and resulted in Preliminary compliance with ¶573.

      Finally, during this reporting period, the CPD and City continued to make progress
      in revising and restructuring their early intervention system (EIS), previously re-
      ferred to as the Officer Support System (OSS). As noted in our prior report, the CPD
      is in the process of revising the CPD’s current approach to EIS (now referred to as
      the Early Intervention and Support System, or EISS), merging the predictive com-
      ponents of the OSS with systems the CPD has previously used that will incorporate
      threshold and peer-comparison metrics into the EIS. As part of its efforts during

      57
           While we find that COPA currently has access to documents with respect to ¶570, we reference
           concerns with COPA’s overall access as described in the Accountability and Transparency sec-
           tion, above.


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      this reporting period, the CPD formally produced Directive D20-04 (Early Interven-
      tion and Support System – Pilot Program) to which the IMT provided a conditional
      no-objection notice.58

      As the CPD’s progress in developing the EISS continues, we note the importance
      of ensuring that the system is carefully implemented and is supported by a robust
      evaluation framework. In particular, we point to the history of EISs in Chicago as a
      cautionary tale for the present approach. The CPD is incorporating legacy systems
      into the EISS though those systems were previously allowed to be under-utilized.
      The CPD has also previously used the Performance Recognition System, a “first-
      generation attempt[]…to develop early intervention systems to identify and ad-
      dress at-risk conduct by officers” (¶599), though this too has largely been ne-
      glected during the IMT’s tenure.

      As a result of the Consent Decree, the CPD conducted a pilot of the OSS in two
      districts though neither included empirical measures of success, limiting the utility
      of the pilots. As a result of this history, officers may be skeptical to immediately
      trust the validity and legitimacy of the new EISS. Accordingly, we urge the CPD to
      maintain (and expand) efforts to engage with collective bargaining units, officers,
      supervisors, and subject matter experts to ensure that the EISS results in officers
      receiving appropriate interventions to avoid future adverse events. We continue
      to stress the importance of a strong and wide-ranging evaluation framework for
      evaluating the success of the EISS. By doing so, the CPD can ensure that each EISS
      alert is supported by the data, that officers are taking advantage of the interven-
      tions offered, and that EISS supports are resulting in positive behavioral changes
      for officers.

      Data Collection, Analysis, and Management Progress
      through Ten Reporting Periods
      Overall, the IMT assessed the City’s compliance with 42 Data Collection, Analysis,
      and Management paragraphs. At the end of the tenth reporting period, the City
      achieved Preliminary compliance with one paragraph (¶573), maintained Prelimi-
      nary compliance for 26 paragraphs (¶¶568–69, 572, 574, and 583–604), regained
      Secondary compliance with one paragraph (¶570), maintained Secondary compli-
      ance with six paragraphs (¶¶571, 578, 580, 581–82, and 608), achieved Full com-
      pliance with one paragraph (¶577), maintained Full compliance with three para-
      graphs (¶¶579, 606, and 609), and failed to reach any level of compliance with
      four paragraphs (¶¶575–76, 605, and 607). See Data Figure 1 below.



      58
           As part of our no-objection notice, the IMT noted that final approval for the policy would be
           provided once the CPD developed other elements of the EISS program (e.g., the EISS app,
           training material, unit SOPs).


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      Data Figure 1: Compliance Progress for Data Collection, Analysis & Management
                   Paragraphs at the end of the Tenth Reporting Period (June 30, 2024)




      Looking Ahead to the Eleventh Reporting Period
      Moving forward, the CPD should continue to work collaboratively and consistently
      to address the Data Collection, Analysis, and Management section of the Consent
      Decree. We look forward to the CPD continuing to make progress as it develops its
      EIS system and accompanying policy and training. We also look forward to the CPD
      finalizing the proposed methodology required by ¶573 and conducting the use of
      force assessment required by ¶572 in the coming reporting periods.

      To maintain Secondary compliance with ¶570, which was regained in the tenth
      reporting period, we expect the CPD to develop a policy that memorializes the City
      and the CPD’s responsibility for ensuring COPA has access to reasonably available
      documents related to reportable uses of force in CPD systems.

      We look forward to continuing to monitor the City and the CPD’s progress in meet-
      ing the requirements of the Consent Decree in the next reporting period.

                                             ***

      Specific assessments, by paragraph, for the Data Collection, Analysis & Manage-
      ment section are available here: https://cpdmonitoringteam.com/tenth-semi-an-
      nual-independent-monitoring-report/.

      This includes paragraphs where the City gained or lost compliance in the tenth
      reporting period, as well as paragraphs with significant developments toward or
      away from compliance.



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      A fuller description of the history of compliance efforts, methodologies, compli-
      ance determinations for each original monitorable paragraphs in the Data Collec-
      tion, Analysis, and Management section is available in Comprehensive Assessment
      Part I (which included Independent Monitoring Report 8): https://cpdmonitoring-
      team.com/wp-content/uploads/2024/06/IMR8-Appendix-10-Data-Collection-
      Analysis-and-Management-2023.11.01.pdf.




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      XI. Investigatory Stops, Protective
      Pat-Downs, and Enforcement of Loitering
      Ordinances
                                       Guiding Principles
      The IMT will assess compliance with the Investigatory Stops, Protective Pat Downs,
      and Enforcement of Loitering Ordinances paragraphs in accordance with the Con-
      sent Decree’s “Guiding Principles.” These principles “are intended to provide the
      Court, the Monitor, and the public with the context for the subsequent substantive
      requirements” and “the overall goals” (¶757):

              800. The Parties agree that the Consent Decree will be expanded to include
              obligations by CPD to monitor, report, review, train, and implement account-
              ability measures with respect to investigatory stops, protective pat downs,
              and enforcement of the Loitering Ordinances. Enforcement of the Loitering
              Ordinances will include initial dispersal orders and, where appropriate, may
              include investigatory stops, protective pat downs, and arrests. These
              measures will ensure that CPD’s investigatory stops, protective pat downs,
              and enforcement of the Loitering Ordinances are conducted in a manner that
              comply with the Constitution and laws of the United States and the State of
              Illinois and are in accordance with best practices, as defined in Paragraph 730
              of the Consent Decree.

              801. In conducting investigatory stops and protective pat downs and enforc-
              ing the Loitering Ordinances, CPD will interact with all members of the public
              without bias and will treat all persons with the courtesy and dignity which is
              inherently due every person as a human being without reference to stereo-
              types based on race, color, ethnicity, religion, homeless status, national origin,
              immigration status, gender identity or expression, sexual orientation, socio-
              economic class, age, disability, incarceration status, or criminal history.

              802. The Parties agree that in achieving the goals of this Stipulation, CPD will
              encourage officers, through training and supervision, to employ a less intru-
              sive response when enforcing the Loitering Ordinances when appropriate and
              reasonable under the circumstances.




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      Summary of Compliance Efforts and Assessments

      Investigatory Stops, Protective Pat-Downs, and Enforcement of
      Loitering Ordinances in the Tenth Reporting Period
      During this reporting period, the City and the CPD made progress toward compli-
      ance by producing updated drafts of CPD policies and reports related to investiga-
      tory stops, protective pat downs, and the enforcement of the Loitering Ordi-
      nances. The CPD had meaningful engagement with the IMT and OAG in the subse-
      quent review and comment process.

      Through the development of draft policies and forms related to investigatory
      stops, protective pat downs, and the enforcement of the Loitering Ordinances, the
      City and the CPD achieved Full compliance with ¶868. The City and CPD remained
      under assessment for Preliminary compliance for ¶¶803–821 while the IMT as-
      sesses the CPD’s efforts to seek community feedback and their incorporation of
      community input when appropriate. The City and the CPD are also under assess-
      ment for Preliminary compliance for ¶¶862–864 because, while their policies in-
      clude language regarding community engagement and input, there is not an infra-
      structure in place for implementation. Additionally, the City and the CPD are under
      assessment for Preliminary compliance with ¶¶852–853.

      For the requirements of ¶834, the City and the CPD achieved Preliminary compli-
      ance in the tenth reporting period. The IMT reviewed de-identified investigatory
      stop data that was submitted, as well as the City and CPD’s draft G03-XX suite pol-
      icies and forms. For the requirements of ¶835, the City and CPD achieved Second-
      ary compliance. The IMT reviewed the CPD’s draft Needs Assessment – Investiga-
      tory Stops and provided the Fourth Amendment Stop Review Unit (4ASRU) with
      comments and suggestions in the form of technical assistance. The Needs Assess-
      ment was also reviewed for other paragraph requirements as well, including
      ¶¶838, 841, and 853. For the requirements of ¶¶841, 852, 857–859, and 873, the
      City and CPD achieved Preliminary compliance. The IMT reviewed the City and the
      CPD’s draft G03-XX policies and forms, as well as the Tactical Review and Evalua-
      tion Division (TRED) 2023 Year End Report and Notice of Job Opportunity (NOJO)
      for TRED/4ASRU (¶¶852–853). The City and CPD achieved Secondary compliance
      with ¶856 with the submission of the TRED 2023 Year End Report.

      Investigatory Stops, Protective Pat-Downs, and Enforcement of
      Loitering Ordinances Progress in the Tenth Reporting Periods
      During this reporting period, the IMT assessed the City’s compliance with 36 par-
      agraphs in the Investigatory Stops, Protective Pat-Downs, and Enforcement of Loi-
      tering Ordinances section of the Consent Decree. At the end of the tenth reporting


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      period, the City achieved Preliminary compliance for six paragraphs (¶¶834, 841,
      857–59, and 873). The City maintained Secondary compliance for one paragraph
      (¶854) and achieved Secondary compliance for three paragraphs (¶¶835, 838, and
      856). The City achieved Full compliance with one paragraph (¶868). The City’s Pre-
      liminary compliance for 25 paragraphs remained under assessment at the end of
      the tenth reporting period (¶¶803–821, 852–53, 862–64, and 866).

      ISR Stipulation Figure 1:
      Compliance Progress for Investigatory Stops, Protective Pat-Downs, and
      Enforcement of Loitering Ordinances Paragraphs
      at the end of the Tenth Reporting Period (ending June 30, 2024)




      Looking Ahead to the Eleventh Reporting Period
      In the next reporting period, we look forward to assessing additional paragraphs
      and reviewing documentation supporting compliance for each. Of note, there
      were three paragraphs previously slated for the tenth reporting period that were
      not monitorable due to contingencies on other paragraphs.59 We have updated
      the Monitoring Plan chart from Independent Monitoring Report 9 to reflect ¶¶836,



      59
         On December 28, 2023, the IMT received an extension request from the City and CPD for ¶835.
      The City and CPD requested an extension to April 30, 2024. On January 13, 2024, the IMT submitted
      a response to this request approving the extension. As a result of this extension and ¶836 requiring
      that the CPD submit a data plan within 180 days of completion of the needs assessment provided
      for in Paragraph 835 of this Stipulation, the deadline for ¶836 became October 27, 2024—falling
      under the eleventh reporting period. For paragraph requirements for ¶861, the IMT recognizes
      that ¶860 is not being monitored until the eleventh reporting period, and since ¶861 is contingent
      upon ¶860, it would not be possible to monitor in the tenth reporting period.


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       837, and 861 being moved to the eleventh reporting period (see ISR Stipulation
       Figure 2).

       ISR Stipulation Figure 2.
       Investigatory Stops, Protective Pat-Downs, and
       Enforcement of Loitering Ordinances Updated Monitoring Plan

         Monitoring Period                                   Paragraphs
 Ninth Reporting Period               ¶¶854, 866, 868
 (July 1, 2023 – December 31, 2023)
                                                                                     (Total = 3)
 Tenth Reporting Period               ¶¶803–821, 834–835, 838, 841, 852–853, 856–859, 862–864,
 (January 1, 2024 – June 30, 2024)    873

                                                                    +33 paragraphs (Total = 36)
 Eleventh Reporting Period            ¶¶822–833, 836–37, 839–840, 860–61, 869–870, 872
 (July 1, 2024 – December 31, 2024)
                                                                      +21 paragraphs (Total = 57)
 Twelfth Reporting Period             None
 (January 1, 2025 – June 30, 2025)
                                                                       +0 paragraphs (Total = 57)
 Thirteenth Reporting Monitoring      ¶¶844–851
 (July 1, 2025 – December 31, 2025)
                                                                       +8 paragraphs (Total = 65)

       Looking forward to the eleventh reporting period, the IMT hopes to see the City
       and the CPD focus on finalizing their policies, and incorporating investigatory
       stops, protective pat downs, and the enforcement of loitering ordinances into their
       public awareness campaign. The IMT also hopes to see the City and the CPD focus
       on finalizing their Needs Assessment so that operations are streamlined and any
       gaps that were identified are addressed. Indeed, while this is the newest section
       of the Consent Decree, the City’s and the CPD’s efforts directed at investigatory
       stops and enforcement of loitering ordinances are critical to every section of the
       Consent Decree and the short and long-term success of Chicago’s policing efforts
       overall.

                                              ***

       Specific compliance assessments, by paragraph, for the Investigatory Stops, Pro-
       tective Pat Downs, and Enforcement of Loitering Ordinances section are available
       here: https://cpdmonitoringteam.com/tenth-semi-annual-independent-monitor-
       ing-report/.

       This includes paragraphs where the City gained or lost compliance in the tenth
       reporting period, as well as paragraphs with significant developments toward or
       away from compliance.


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      XII. Implementation, Enforcement & Monitoring
      As we identified in previous monitoring plans and reports, the City has many obli-
      gations that fall outside the 11 topic areas. While these paragraphs do not fall
      within the specific topic areas discussed above, these obligations are critical to the
      success of the reform efforts across all 11 topic areas of the Consent Decree. These
      requirements are included in the Implementation, Enforcement, and Monitoring
      section of the Consent Decree: ¶¶626–27, 629–43, 677–80, 682–87, 699–701,
      704–06, 711, 714, and 720–21.

      Review and Monitoring Processes
      (¶¶626–27, 629–42, 679–80, 687, 711)

      The Consent Decree outlines the policy review process in ¶¶626–37, the plan re-
      view process in ¶¶638–40, and the training review process in ¶641. Paragraph 633
      requires the CPD to “ensure that its officers and the public have a meaningful op-
      portunity to review and comment on material changes to CPD policies and proce-
      dures required by this Agreement.” See also, ¶¶52 and 160. Further, as the City
      and the CPD develop and revise policies throughout the Consent Decree process,
      they must consult with the IMT and the OAG to develop the necessary policy or
      revision. The City and the CPD must then provide the IMT with the new or revised
      policy at least 30 days before the policy is scheduled to go into effect (¶¶627–28).
      The IMT and the OAG then have 30 days to comment, with a possible 15-day ex-
      tension (¶¶627–28). The City, the CPD, the OAG, and the IMT then have at least
      30 days to resolve comments. If we are unable to come to a timely agreement, an
      entity may submit a formal objection, which triggers a “workout period” (¶630).
      The entities then have an additional 30 days to resolve the issue before one of the
      Parties brings the issue to the Court to resolve (¶630). On the other hand, when
      the IMT and the OAG provide a “no objection” notice, then when applicable, the
      City and the CPD must post the new or revised policy for public comment for a
      minimum of 15 days (¶633). The entities must then review and consider the public
      comments and agree to any changes before the City and the CPD finalize the policy
      (¶633).

      Overall, we have been satisfied with the City’s and the CPD’s willingness to collab-
      orate with the IMT and the OAG regarding their policies. In recent months, how-
      ever, the City has implemented several policies outside of the required ¶¶626–37
      process. Recently, the City, the CPD, and the IMT have had productive conversa-
      tions regarding strategies to ensure that these procedures are better implemented
      moving forward. Moreover, during the tenth reporting period, the City, the CPD,
      the IMT, and the OAG also engaged in the consultation process for policy and train-
      ing development for several policies and training materials to great effect.



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      As we note below, the City and the CPD must continue to improve their community
      engagement processes around policy creation and revision. The review processes
      have not always been without complications since the inception of the Consent
      Decree, but we continue to work through disagreements in a largely collaborative
      fashion.

      The City is also obligated by ¶679 to “collect and maintain all data and records
      necessary to document compliance with this agreement.” The City and the CPD
      continue to take steps in the right direction. During the tenth reporting period, the
      City and the CPD continued to make progress on its efforts to streamline data col-
      lection processes and ensure reliable data is collected to demonstrate compliance
      with each section of the Consent Decree. As reported in our last assessment, the
      City and the CPD reached out to each Consent Decree section’s Associate Monitor
      to identify the data necessary to comply with their section, representing a collab-
      orative process between the IMT and the City to ensure that data collection sys-
      tems and processes are reliably captured and mapped. And during the ninth re-
      porting period, the City and the CPD provided a final assessment report for ¶606
      that will now be used to inform the development of a Data Systems Plan. See ¶607.

      Separately, ¶680 requires the City to “file a status report one month before each
      of the Monitor’s reports is due for the duration of this Agreement. The City’s status
      report will delineate the steps taken by CPD during the reporting period to comply
      with this Agreement, and CPD’s assessment of the status of its progress imple-
      menting this Agreement.” In the tenth reporting period, the City filed this required
      report on time. We remain hopeful that this status report will develop into an ac-
      curate tool for expediting full and effective compliance with the Consent Decree
      in future reporting periods.60

      Collective Bargaining (¶711)

      It is important to note that the Consent Decree, and all review and monitoring
      processes exist alongside the City’s collective-bargaining relationships. As ex-
      plained in our previous reports, the City is a party to collective bargaining relation-
      ships with four labor unions representing sworn police officers:

      •    The Fraternal Order of Police, Chicago Lodge No. 7 (FOP);

      •    The Policemen’s Benevolent & Protective Association of Illinois (PBPA), Unit
           156 – Sergeants;



      60
           We note that some aspects of the status report appear to conflict with recent conversations
           with members of the CPD regarding their progress. For the purposes of this report, where
           there is an apparent conflict, we have relied on the more recent conversations.


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      •   PBPA of Illinois, Unit 156 – Lieutenants; and

      •   PBPA of Illinois, Unit 156 – Captains (collectively, the “Unions”).

      Paragraph 711 of the Consent Decree harmonizes the City’s statutory bargaining
      obligations with the Unions with the City’s Consent Decree, adopting the following
      key tenets:

      •   As a threshold matter, the Consent Decree is not intended to alter the City’s
          collective bargaining agreements or otherwise to impair or conflict with the
          officers’ statutory rights to engage in collective bargaining through their cho-
          sen representatives (the Unions);

      •   Likewise, the Consent Decree does not obligate the City (or the Unions) to vi-
          olate the terms of their collective bargaining agreements, or to violate or waive
          any bargaining rights or obligations;

      •   Nevertheless, in recognition of the fact that the City’s labor agreements can
          and will directly impact its compliance with various provisions in the Consent
          Decree, the Consent Decree obligates the City to “use its best efforts” in the
          collective bargaining process “to secure modifications” to its collective bar-
          gaining agreements covering sworn officers that are consistent with the terms
          of the Consent Decree or to the extent necessary to implement the provisions
          of the Consent Decree.

      To monitor ¶711, the City, the IMT, and the OAG have met on a monthly basis
      during earlier reporting periods. During the most-recent tenth reporting period,
      the City, the IMT, and the OAG met once, on April 25, 2024, to discuss updates on
      the City’s progress in bargaining successor labor agreements with the Unions and
      the status of related pending litigation. During this meeting, the City provided ac-
      cess to members of its bargaining committee. In future reporting periods, the IMT
      intends to return to a monthly meeting cadence.

      During the tenth reporting period, the City produced a Final Opinion and Award of
      the Dispute Resolution Board, dated October 19, 2023, in which the Dispute Res-
      olution Board ordered the FOP and the City to include in their new agreement a
      provision stating that grievances protesting disciplinary actions in excess of 365
      days and separations (dismissals) issued to police officers may be heard and de-
      cided in final and binding arbitration rather than by the Police Board. The City also
      produced various documents relating to an Amended Verified Complaint filed on
      February 1, 2024 in the Circuit Court of Cook County, Chancery Division (the
      Court), by the FOP to confirm the Dispute Resolution Board’s October 19, 2023
      Final Opinion and Award. The documents indicate that, on January 31, 2024, the
      Court issued an Agreed Order staying Police Board proceedings through February
      25, 2024. The FOP and the City filed cross-Motions for Summary Judgment, and


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      the Court heard oral argument on those motions on March 20, 2024. During the
      April 25, 2024 meeting between the City, the IMT, and the OAG, the IMT learned
      that the Court issued a ruling on March 21, 2024. The City has not produced a copy
      of that ruling to the IMT. The IMT understands that the ruling permits disciplinary
      actions in excess of 365 days and separations (dismissals) to be heard in arbitra-
      tion, but the arbitration must be public and the accused officers may be suspended
      without pay while the arbitration case is pending. In April 2024, the FOP filed a
      notice of appeal of the Court’s decision.

      IMT and OAG Access (¶¶682–86)

      To effectively monitor the City, the CPD, and the City’s entities’ compliance with
      the requirements of the Consent Decree, the IMT and the OAG (in their role as the
      plaintiff) must have access to tremendous amounts of documents, data, and most
      importantly people and places. The IMT believes that to accelerate compliance
      through Technical Assistance, the City must streamline access to facilitate efficient
      compliance efforts and determinations. Since the Consent Decree began, the IMT
      has enjoyed considerable access to the CPD – but at times has found access chal-
      lenging that is needed to determine compliance (¶¶681–86).

      The IMT must broader, unencumbered, and cooperative access to get a true sense
      of the impact of Consent Decree reforms on the ground, as well as how the organ-
      ization functions. Receiving the access required by the Consent Decree consist-
      ently will become increasingly important for reaching Full compliance with re-
      quirements across the Consent Decree. The City, the CPD, and the IMT have been
      working to ensure that such access is provided in the eleventh reporting period,
      including preparation for the Democratic National Convention. We will report on
      that progress in the report for the eleventh monitoring report.

      Additionally, as noted in many of our monitoring reports, we continue to have
      challenges regarding document and data productions, as a large number of mate-
      rials tend to be produced tend to be produced near the end of the reporting pe-
      riod. This challenge impacts the IMT’s ability to have substantive discussions with
      the City regarding compliance assessments. Although we have seen this issue im-
      prove over the last few reporting periods, we note that in the tenth reporting pe-
      riod, over 50% of the productions for the entire period were submitted in the last
      two months of the reporting period. We continue to urge the City to take a more
      holistic approach to their submissions to ensure they are submitted in a manner
      that allows sufficient time for collaboration and discussion with the IMT and OAG.
      We also made recommendations in Part II of our comprehensive assessment to
      facilitate more efficient demonstrations of compliance and corresponding public
      reporting.




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      Accountability Processes (¶¶643, 683, 699, 704)

      Throughout the Consent Decree process, the IMT has noted many challenges with
      the CPD’s accountability processes. In fact, the lack of accountability for CPD offic-
      ers engaging in misconduct was among the major findings of the U.S. Department
      of Justice’s investigation into the CPD for civil rights violations, which ultimately
      resulted in the Consent Decree.

      The City’s and the CPD’s accountability processes are complex, involving many en-
      tities with overlapping roles and responsibilities, including the CPD’s Bureau of In-
      ternal Affairs (BIA), the Chicago Police Board, the Civilian Office of Police Account-
      ability (COPA), the four police unions (see ¶711), the City’s Department of Law,
      and the Office of the Inspector General’s Public Safety Section (PSIG). Moreover,
      the City recently implemented a new police oversight entity, the Community Com-
      mission for Public Safety and Accountability (CCPSA), which is embedded into the
      fabric of the City of Chicago’s complex police accountability system.

      The IMT acknowledges that holding officers who “violate policies, procedures, or-
      ders, or directives that are required by this Agreement” accountable for their ac-
      tions is sometimes complicated. The IMT has consistently emphasized that officer
      accountability – and public transparency about accountability processes – must be
      a shared responsibility among all leaders in the CPD, from sergeants to the Super-
      intendent.

      We note, for example, that while several paragraphs of the Consent Decree require
      progressive discipline (see ¶¶238–39 in addition to ¶643), we have seen limited
      to no evidence of a functional progressive discipline policy or process over five
      years into the Consent Decree process. Further, as we have noted over many re-
      porting periods, the CPD is not implementing the district-level Accountability Ser-
      geants—the first line of accountability in the agency—as required by ¶¶493–95.
      The CPD must implement the Accountability Sergeant function as it is described in
      and required by the Consent Decree.

      Moreover, the Consent Decree notes that the “City agrees to require compliance
      with this Agreement by its officers, officials, employees, agents, agencies, assigns,
      or successors” and that the Consent Decree is “binding on all Parties hereto, by
      and through their officials, employees, agents, representatives, agencies, assigns,
      and successors.” We urge the City and the CPD to take appropriate action to com-
      ply with these important and long overdue accountability requirements.

      Staffing and Resource Issues (¶¶677–78, 700, 706)

      While the City and the Chicago Police Department (CPD) continue to implement
      the requirements of the Consent Decree, we remain concerned about the lack of



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      consistent staffing and retention levels. The City and the CPD have designated the
      following entities to be responsible for the following provisions of ¶678:

      •   678(a): the CPD’s Reform Management Group and the City’s Department of
          Law;

      •   678(b) and (c): the CPD’s Office of Legal Affairs and the City’s Department of
          Law; and

      •   678(d): the CPD’s Reform Management Group.

      Overall, personnel from the City, the CPD, and other relevant City entities continue
      to assist the IMT by providing information, updates, and evidence of compliance
      efforts. These representatives frequently arrange communications and help the
      IMT navigate the complexity of the City entities.

      As with previous reporting periods, we have had some specific concerns about the
      lack of consistent staffing and retention levels in the Reform Management Group
      and the high level of turnover in the over five years since the Consent Decree be-
      gan. The Reform Management Group is located within the CPD’s Office of Consti-
      tutional Policing and Reform and works closely with the CPD’s Office of Legal Af-
      fairs and the City’s Department of Law. We have mentioned in previous reports
      our concern about the turnover in Executive Directors in the CPD’s Office of Con-
      stitutional Policing and Reform – three people have held that position in 3.5 years.
      Additionally, as of the end of the tenth reporting period, the Executive Director
      position remains vacant. Consistent leadership is of the utmost importance for re-
      form to be sustainably implemented. We also note that the City and the CPD have
      not provided the IMT with an updated CPD organizational chart since September
      2023; therefore, we have only dated information about some of the staffing levels
      and organizational structure of some key components for implementing and sus-
      taining Consent Decree requirements, such as the Audit Division.

      The personnel in these groups have many of the “knowledge, skills, and abilities
      necessary to facilitate compliance with this Agreement,” as ¶677 requires. The
      City’s Department of Law provides many of the project management functions for
      the relevant city entities—the Civilian Office of Police Accountability (COPA); the
      Chicago Police Board; the City Office of Inspector General (OIG), including the Dep-
      uty Inspector General for Public Safety (Deputy PSIG); and the Office of Emergency
      Management and Communications (OEMC). The Reform Management Group pro-
      vides many of these project management functions for the CPD.

      We also have concerns about the staffing of the CPD’s Audit Division, which is crit-
      ical to the sustainability of the reform effort. The Audit Division’s mission is as fol-
      lows:



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               The mission of the Audit Division is to provide quality, independent and objec-
               tive assessments of the operations, processes, and internal controls in support
               of the Chicago Police Department ('Department'), including but not limited to
               work related to the strategic plan and consent decree. During internal audits
               and other reviews in which areas for improvement are identified, recommen-
               dations will be made to enhance Department operations. The Audit Division
               promotes accountability by proactively working with officials across all the
               Department to identify risks, evaluate controls, and make recommendations
               intended to promote constitutional policing and the effective delivery of po-
               lice services. The Department is committed to the use of audits and other re-
               views to assess adherence to its stated orders, policies, and procedures—as
               well as to demonstrate consistency with the strategic plan and compliance
               with the consent decree into which the Department entered with the Attorney
               General of the State of Illinois. All audits and reviews are intended to provide
               objective information to inform decision-making and to help improve the in-
               ternal transparency and accountability of the Department’s operations.

      The chronic understaffing of this unit is short-sighted for the future of sustainable
      reform at the CPD. The City and the CPD must continue to make efforts to maintain
      staffing at appropriate levels at all times in the following key departments: the Re-
      search and Development Division, the Tactical Review and Evaluation Division (or
      TRED, an umbrella under which the Force Review Unit, the Firearm Pointing Re-
      view Unit, the Foot Pursuit Review Unit, the Search Warrant Review Unit, and the
      Fourth Amendment Stop Review Unit reside), the Education and Training Division,
      the Crisis Intervention Team, the Audit Division, the Office of Community Policing,
      the Bureau of Internal Affairs (BIA), and the Reform Management Group. All have
      experienced consistent understaffing, and we believe that understaffing contin-
      ues.

      Many of the City’s and the CPD’s efforts and achievements in the first nine report-
      ing periods continued into the tenth reporting period. The City’s Department of
      Law, the CPD’s Office of Constitutional Policing and Reform, the Legal Affairs Divi-
      sion, and the Research and Development Division (¶¶677–78) continued to be
      fully engaged in the monitoring process. The City and the CPD also maintained
      regular channels of communication with the IMT and the OAG and continued dia-
      logue, problem-solving, and brainstorming about requirements and challenges re-
      garding the paragraphs of the Consent Decree.

      The City is “responsible for providing necessary and reasonable financial resources
      necessary through steps or processes that can include the budget process to fulfill
      its obligations under this Agreement, subject to the terms and conditions set forth
      herein” per ¶700 and that it is “responsible for providing necessary support and
      resources to CPD to enable CPD to fulfill its obligations under this Agreement” per
      ¶706.




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       Reform and Sustainability Processes (¶¶705, 714, 720–21)

       While the City and the CPD have a long way to go to achieve “full and effective
       compliance” with the Consent Decree (see ¶717), we encourage them to begin
       thinking about how they will sustain the reforms they achieve over the course of
       this process.

       The City bears the burden of providing evidence of its achievements to the IMT
       (per ¶720) and has been focused on achieving compliance with the Consent De-
       cree’s requirements (per ¶714 the original goal for completely implementing all
       requirements was five years, but it has since been extended by the Court to eight
       years), we must also be mindful of sustaining the reforms beyond the Consent De-
       cree monitoring process.61 Paragraph 721 requires the City and the CPD to “de-
       velop a plan, in consultation with the Monitor and OAG, to conduct compliance
       reviews, audits, and community surveys deemed necessary and appropriate fol-
       lowing the termination of the Consent Decree.”

       It is not too early to begin thinking about how the City’s resources and accounta-
       bility systems—including but not limited to the CPD’s own Audit Division, TRED,
       the OIG, the PSIG, COPA, the Police Board, the CCPSA, and the most important
       accountability mechanisms of all, front-line CPD supervisors—should be har-
       nessed to maintain sustained compliance with reforms, identify shortcomings and
       rectify them quickly well into the future.

       One of the Consent Decree’s overarching goals is for the CPD to become a learning
       and self-correcting organization. We are hopeful that the CPD will begin to think
       forward to a long-term plan for not only reaching full and effective compliance,
       but also how it can sustain these reformed practices well after the Consent Decree
       is terminated. Constitutional policing practices must be ingrained into the CPD’s
       policies, practices, and culture. We believe it is crucially important that CPD begin
       to develop the plan required by ¶721, and we remind the City that the Consent
       Decree does not “limit the City’s right to adopt future measures that exceed or
       surpass the obligations contained herein, as long as the terms of this Agreement
       are satisfied” (¶705).




       61
            See Stipulation Regarding Search Warrants, Consent Decree Timelines, and the Procedure for
            “Full and Effective Compliance,” Illinois v. Chicago, Case No. 17-cv-6260 (March 25, 2022),
            https://cpdmonitoringteam.com/wp-content/uploads/2024/03/2022.03.25-Stipulation-Re-
            garding-Search-Warrants-Consent-Decree-Timeline.pdf.


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       Conclusion,
       Looking Ahead to
       Independent Monitoring Report 11
       We have concluded our monitoring efforts for the tenth reporting period (January
       1, 2024, through June 30, 2024). We appreciate the reform efforts made by many
       hard-working City personnel, including the compliance progress made by the City;
       the CPD; COPA; the Chicago Police Board; and the OEMC.

       The IMT’s next semiannual report, Independent Monitoring Report 11, will cover
       the reporting period from July 1, 2024, through December 31, 2024. As with pre-
       vious reports, we will continue to work with the City and the OAG to implement
       all the Consent Decree’s requirements. We will also continue to engage with Chi-
       cagoans to determine whether these reforms are being felt in their communities.

       Moving forward, in the twelfth and thirteenth reporting periods, we will continue
       to assess the City’s compliance with all paragraphs with requirements in the Con-
       sent Decree or “monitorable paragraphs.”62

       The number of monitorable paragraphs may change as the City and its relevant
       entities begin to achieve full and effective compliance by sustaining Full compli-
       ance for the requisite periods.63 In those cases, the IMT will stop assessing those
       requirements and paragraphs for compliance unless we derive information or evi-
       dence “showing that compliance with such requirements has materially lapsed.”
       ¶716.




       62
            Our previous Monitoring Plans are available on our website. See Reports, INDEPENDENT MONI-
            TORING TEAM, https://cpdmonitoringteam.com/reports-information/.
       63
            To achieve full and effective compliance with Consent Decree requirements, the City and its
            relevant entities must maintain Full compliance for either one or two years, depending on the
            section of the Consent Decree. See ¶714.


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       Conclusion Figure 1. Reporting Periods for Years One through Six

                                        Monitoring Plan for Year One
                                                     March 1, 2019 – August 31, 2019
            1st Reporting Period                  (See Independent Monitoring Report 1)
                                                  September 1, 2019 – February 29, 2020
            2nd Reporting Period
                                                  (See Independent Monitoring Report 2)
                                        Monitoring Plan for Year Two
                                                   March 1, 2020 – December 31, 202064
            3rd Reporting Period                  (See Independent Monitoring Report 3)
                                                      January 1, 2021 – June 30, 2021
            4th Reporting Period
                                                  (See Independent Monitoring Report 4)
                                       Monitoring Plan for Year Three
                                                     July 1, 2021 – December 31, 2021
            5th Reporting Period                  (See Independent Monitoring Report 5)
                                                      January 1, 2022 – June 30, 2022
            6th Reporting Period
                                                  (See Independent Monitoring Report 6)
                                       Monitoring Plan for Year Four
                                                     July 1, 2022 – December 31, 2022
            7th Reporting Period
                                                  (See Independent Monitoring Report 7)
                                                      January 1, 2023 – June 30, 2023
            8th Reporting Period
                                                  (See Independent Monitoring Report 8)
                                        Monitoring Plan for Year Five
                                                     July 1, 2023 – December 31, 2023
            9th Reporting Period
                                              (Independent Monitoring Report 9, Spring 2024)
                                                      January 1, 2024 – June 30, 2024
            10th Reporting Period
                                            (Independent Monitoring Report 10, Autumn 2024)
                                        Monitoring Plan for Year Six
                                                    July 1, 2024 – December 31, 2024
            11th Reporting Period
                                             (Independent Monitoring Report 11, Spring 2025)
                                                     January 1, 2025 – June 30, 2025
            12th Reporting Period
                                            (Independent Monitoring Report 12, Autumn 2025)

       Figure 2 on the following page reflects all monitorable paragraphs – including the
       new Investigatory Stops section – in the Consent Decree, which the IMT will con-
       tinue to monitor in Year Six.




       64
            Because of the shutdowns in response to the COVID-19 pandemic, the City and the Office of
            the Illinois Attorney General extended the third reporting period to December 31, 2020. See
            Order Regarding the Extension of Consent Decree Obligation Deadlines (March 27, 2020),
            https://cpdmonitoringteam.com/wp-content/uploads/2024/04/2020_03_27-Order-Regard-
            ing-the-Extension-of-Consent-Decree-Obligation-De.pdf.


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       Conclusion Figure 2. Monitoring Plan for Year Six Paragraphs

                  Topic Area                                     Year Six Monitoring
                                           13, 14, 15, 16, 17, 18, 19, 20, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32,
                    Community
                                           33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48
                     Policing                                                                              (Total = 35)
                                           52, 53, 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67, 68, 69, 70,
                     Impartial
                                           71, 72, 73, 74, 75, 76, 77, 78, 79, 80
                      Policing                                                                             (Total = 29)
                                           87, 88, 89, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104,
                                           105, 106, 107, 108, 109, 110, 111, 112, 113, 114, 115, 116, 117, 118, 119,
                       Crisis              120, 121, 122, 123, 124, 125, 126, 127, 128, 129, 130, 131, 132, 133, 134,
                   Intervention            135, 136, 137, 138, 139, 140, 141, 142, 143, 144, 145, 146, 147, 148, 149,
                                           150, 151, 152
                                                                                                           (Total = 66)
                                           153, 154, 155, 156, 157, 158, 159, 160, 161, 162, 163, 164, 165, 166, 167,
                                           168, 169, 170, 171, 172, 173, 174, 175, 176, 177, 178, 179, 180, 181, 182,
                                           183, 184, 185, 186, 187, 188, 189, 190, 191, 192, 193, 194, 195, 196, 197,
                                           198, 199, 200, 201, 202, 203, 204, 205, 206, 207, 208, 209, 210, 211, 212,
                   Use of Force            213, 214, 215, 216, 217, 218, 219, 220, 221, 222, 223, 224, 225, 226, 227,
                                           228, 229, 230, 231, 232, 233, 234, 235, 236, 237, 238, 239, 240, 241, 242,
                                           243, 244, 245, 246, 247, 248
                                                                                                           (Total = 96)
                   Recruitment,            253, 254, 255, 256, 257, 258, 259, 260, 261, 262, 263, 264
                    Hiring, and
                    Promotion                                                                             (Total = 12)
                                           270, 271, 272, 273, 274, 275, 276, 277, 278, 279, 280, 281, 282, 283, 284,
                                           285, 286, 287, 288, 289, 290, 291, 292, 294, 295, 296, 297, 298, 299, 300,
                                           301, 302, 303, 304, 305, 306, 307, 308, 309, 310, 311, 312, 313, 314, 315,
                     Training              316, 317, 318, 319, 320, 321, 322, 323, 324, 326, 327, 328, 329, 331, 332,
                                           333, 334, 335, 336, 337, 338, 339, 340
                                                                                                         (Total = 68)
                                           347, 348, 349, 350, 351, 352, 353, 354, 355, 356, 357, 359, 360, 361,
                                           362, 363, 364, 365, 366, 367, 368, 369, 370, 371, 372, 373, 374, 375,
                    Supervision            376
                                                                                                         (Total = 29)
                                           381, 382, 383, 384, 385, 386, 387, 388, 389, 390, 391, 392, 393, 394, 395,
                     Officer
                                           396, 397, 398, 399, 400, 401, 402, 404, 406, 407, 408, 409, 410, 411, 412,
                   Wellness and            413, 414, 415, 416, 417, 418
                    Support                                                                              (Total = 36)
                                           424, 425, 426, 427, 428, 429, 430, 431, 432, 433, 434, 435, 436, 437, 438,
                                           439, 440, 441, 442, 443, 444, 445, 446, 447, 448, 449, 450, 451, 452, 453,
                                           454, 455, 456, 457, 459, 460, 461, 462, 463, 464, 465, 466, 467, 468, 469,
                                           470, 471, 472, 473, 474, 475, 476, 477, 478, 479, 480, 481, 482, 483, 484,
                  Accountability           485, 486, 487, 488, 489, 490, 491, 492, 493, 494, 495, 496, 497, 498, 499,
                      and                  500, 501, 502, 503, 504, 505, 506, 507, 508, 509, 511, 512, 513, 514, 515,
                  Transparency             516, 517, 518, 519, 521, 522, 523, 524, 525, 526, 527, 528, 529, 530, 531,
                                           532, 533, 534, 535, 536, 537, 538, 539, 540, 541, 542, 543, 544, 545, 546,
                                           547, 548, 549, 550, 551, 552, 553, 554, 555, 556, 557, 558, 559, 560, 561,
                                           562, 563, 564, 565
                                                                                                        (Total = 139)
                       Data                568, 569, 570, 571, 572, 573, 574, 575, 576, 577, 578, 579, 580, 581, 582,
                    Collection,            583, 584, 585, 586, 587, 588, 589, 590, 591, 592, 593, 594, 595, 596, 598,
                   Analysis, and           597, 599, 600, 601, 602, 603, 604, 605, 606, 607, 608, 609
                                                                                                         (Total = 42)
                   Management
            Investigatory Stops, Protec-   803, 804, 805, 806, 807, 808, 809, 810, 811, 812, 813, 814, 815, 816, 817,
                                           818, 819, 820, 821, 822, 823, 824, 825, 826, 827, 834, 835, 836, 837, 839,
              tive Pat Downs, and En-
                                           840, 841, 852, 853, 854, 855, 856, 858, 859, 860, 865, 861, 862, 863, 864,
             forcement of Loitering Or-    866, 868, 869, 870, 873
                      dinances                                                                           (Total = 57)
                                 TOTAL                                       609


                                                            96
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       In the first five and a half years of the Consent Decree process, the City and the
       CPD have made significant progress revising, developing, and implementing poli-
       cies and training. The City and the CPD have struggled, however, with community
       policing and community engagement; reliable data collection, analysis, and man-
       agement; staffing and resource shortages and management; supervision; account-
       ability and full implementation of the Consent Decree. In Year Six, we look forward
       to monitoring the City’s and the CPD’s efforts to continue to bridge these gaps and
       continue demonstrating compliance with the Consent Decree.

       In future years, our priorities may shift as the City and the CPD make progress with
       the requirements of the Consent Decree. The monitoring plans for subsequent
       years will reflect those shifts.

       There are, however, several elements of the IMT’s work that will remain consistent
       over time. The IMT’s Community Engagement Team will remain involved with local
       community-based groups invested in police reform in Chicago. We will disseminate
       information to community members about the City’s and the CPD’s progress and
       collect important information from Chicago residents. Likewise, the IMT will con-
       tinue to implement and assess community surveys and research and solicit input
       from CPD members.

       We will also continue to prioritize transparent community engagement and partic-
       ipation; independent reviews of police policies and practices; and regular commu-
       nication with the OAG, the City, the CPD, the Chicago Police Board, the Civilian
       Office of Police Accountability, other relevant City entities, members of the Coali-
       tion (¶669), and members of Chicago communities.

       In ¶6 of the Introduction section of the Consent Decree, the City made commit-
       ments that help frame many of the issues facing reform efforts today:

                In this [Consent Decree], the City commits to ensuring that police
                services are delivered to all of the people of Chicago in a manner
                that fully complies with the Constitution and laws of the United
                States and the State of Illinois, [in a manner that] respects the
                rights of all of the people of Chicago, [in a manner that] builds
                trust between officers and the communities they serve, and [in a
                manner that] promotes community and officer safety.

                The City also commits to providing CPD members with the re-
                sources and support they need, including improved training, su-
                pervision, and wellness resources.

       The CPD is—along with police departments across the nation—continuing to face
       significant challenges with meeting such commitments. Staffing and resource is-
       sues, for example, continue to negatively affect the City’s and the CPD’s progress


                                               97
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       toward simultaneously and sufficiently providing supervision, officer-wellness,
       and support. This, in turn, has undermined the City’s and the CPD’s ability to
       demonstrate effective policing practices that respect the rights of all of the people
       of Chicago; build trust between officers and the communities they serve; and pro-
       mote community and officer safety. The City must accelerate its efforts to comply
       with the Consent Decree.




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       Appendix 1
       All Compliance Levels, By Paragraph
       See chart on the following page.




                                          99
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        Community Policing

           8                 9         10           11          12            13             14     15       16           17               18   19    20    21    22    23

          24             25            26           27          28            29             30     31       32           33               34   35    36    37    38    39

          40             41            42           43          44            45             46     47       48

        Impartial Policing

          49             50            51           52          53            54             55     56       57           58               59   60    61    62    63    64

          65             66            67           68          69            70             71     72       73           74               75   76    77    78    79    80

          81             82

        Crisis Intervention

          83             84            85           86          87            88             89     90       91           92               93   94    95    96    97    98

          99            100         101          102           103           104             105   106     107           108           109      110   111   112   113   114

         115            116         117          118           119           120             121   122     123           124           125      126   127   128   129   130

         131            132         133          134           135           136             137   138     139           140           141      142   143   144   145   146

         147            148         149          150           151           152

        Use of Force

         153            154         155          156           157           158             159   160     161           162           163      164   165   166   167   168

         169            170         171          172           173           174             175   176     177           178           179      180   181   182   183   184

         185            186         187          188           189           190             191   192     193           194           195      196   197   198   199   200

         201            202         203          204           205           206             207   208     209           210           211      212   213   214   215   216

         217            218         219          220           221           222             223   224     225           226           227      228   229   230   231   232

         233            234         235          236           237           238             239   240     241           242           243      244   245   246   247   248

        Recruitment, Hiring, and Promotions

         249            250         251          252           253           254             255   256     257           258           259      260   261   262   263   264

        Training

         265            266         267          268           269           270             271   272     273           274           275      276   277   278   279   280

         281            282         283          284           285           286             287   288     289           290           291      292   293   294   295   296

         297            298         299          300           301           302             303   304     305           306           307      308   309   310   311   312

         313            314         315          316           317           318             319   320     321           322           323      324   325   326   327   328

         329            330         331          332           333           334             335   336     337           338           339      340

        Supervision

         341            342         343          344           345           346             347   348     349           350           351      352   353   354   355   356

         357            358         359          360           361           362             363   364     365           366           367      368   369   370   371   372

         373            374         375          376

        Officer Wellness and Support

         377            378         379          380           381           382             383   384     385           386           387      388   389   390   391   392

         393            394         395          396           397           398             399   400     401           402           403      404   405   406   407   408

         409            410         411          412           413           414             415   416     417           418

        Accountability and Transparency

         419            420         421          422           423           424             425   426     427           428           429      430   431   432   433   434

         435            436         437          438           439           440             441   442     443           444           445      446   447   448   449   450

         451            452         453          454           455           456             457   458     459           460           461      462   463   464   465   466

         467            468         469          470           471           472             473   474     475           476           477      478   479   480   481   482

         483            484         485          486           487           488             489   490     491           492           493      494   495   496   497   498

         499            500         501          502           503           504             505   506     507           508           509      510   511   512   513   514

         515            516         517          518           519           520             521   522     523           524           525      526   527   528   529   530

         531            532         533          534           535           536             537   538     539           540           541      542   543   544   545   546

         547            548         549          550           551           552             553   554     555           556           557      558   559   560   561   562

         563            564         565

        Data Collection, Analysis, and Management

         566            567         568          569           570           571             572   573     574           575           576      577   578   579   580   581

         582            583         584          585           586           587             588   589     590           591           592      593   594   595   596   597

         598            599         600          601           602           603             604   605     606           607           608      609

        Investigatory Stops, Protective Pat Downs, and Enforcement of Loitering Ordinances

         800            801         802          803           804           805             806   807     808           809           810      811   812   813   814   815

         816            817         818          819           820           821             822   823     824           825           826      827   828   829   830   831

         832            833         834          835           836           837             838   839     840           841           842      843   844   845   846   847

         848            849         850          851           852           853             854   855     856           857           858      859   860   861   862   863

         864            865         866          867           868           869             670   871     872           873           874      875   876   877

               Preliminary       Secondary      Full          None          Not Yet Applicable     N/A     Full and Effective Compliance



                                                                                                         100
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       Attachment A:
       Office of the Illinois Attorney General
       Comments
       (November 6, 2024)




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                             OFFICE OF THE ATTORNEY GENERAL
                                     STATE OF ILLINOIS

KWAME RAOUL
ATTORNEY GENERAL

                                              November 6, 2024

Margaret A. Hickey
Independent Monitor
ArentFox Schiff LLP
233 S. Wacker Drive, Suite 7100
Chicago, IL 60606
Maggie.Hickey@afslaw.com

Re:     OAG Comments on the Tenth Independent Monitoring Report
        Consent Decree, Illinois v. Chicago, 17-cv-6260 (N.D. Ill.)

Dear Ms. Hickey:

       The Consent Decree gives the Office of the Illinois Attorney General (OAG) an
opportunity to comment on the tenth Monitoring Report (Report) before the Independent
Monitoring Team (IMT) files it with the Court. The Report covers January 1, 2024 through June
30, 2024, a period in which the City of Chicago and the Chicago Police Department (CPD) showed
promise with its preparations for the Democratic National Convention and continued to make slow
progress towards overall implementation of the consent decree. As in prior reporting periods,
however, the City and CPD again faced challenges with staffing and resource allocation, and
community engagement.
                     Progress Towards Finalizing Remaining Critical Policies
         As the Report explains, the first step towards compliance with the consent decree is usually
creating or revising a policy incorporating the reform requirements. For the last several reporting
periods, OAG urged CPD to prioritize putting all remaining consent decree requirements into
policy. During this reporting period, CPD continued to make slow, but steady, progress on these
critical policies. For example, OAG and IMT sent “no-objection” letters on CPD’s policy ensuring
meaningful access to police services for individuals with limited English proficiency and CPD is
continuing to discuss that policy with the Coalition.

 500 SOUTH SECOND STREET, SPRINGFIELD, ILLINOIS 62706 • (217) 782-1090 • TTY: (217) 785 -2771 • FAX: (217) 782-7046
  100 WEST RANDOLPH STREET, CHICAGO, ILLINOIS 60601 • (312) 814-3000 • TTY: (312) 814-3374 • FAX: (312) 814-3806
      1001 EAST MAIN, CARBONDALE, ILLINOIS 62901 • (618) 529-6400 • TTY: (618) 529-6403 • FAX: (618) 529-6416
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        OAG provides brief updates on several critical policies that remain outstanding below:
    •   CPD has been developing a draft of a suite of policies to ensure meaningful access to police
        services for individuals with disabilities. OAG, IMT, the Coalition, and community
        members and organizations provided significant input on that draft policy suite during the
        reporting period and more recently. OAG encourages CPD to incorporate this input into
        the draft policies to ensure that CPD’s practices meet legal requirements and reflect the
        input of individuals with lived experience.

    •   The OAG has provided extensive comments on CPD’s draft revised policy suite governing
        investigations of officer-involved shootings and deaths in compliance with the consent
        decree and Illinois law. The OAG and CPD met several times to discuss the draft policy
        suite and OAG continues to work collaboratively with CPD so that CPD can finalize this
        policy suite and post it for public comment.

    •   After Judge Pallmeyer issued court decisions regarding search warrant practices and the
        OAG’s motion for a judicial resolution of the Body-Worn Camera policy, on May 14, 2024,
        and July 2, 2024, respectively, CPD provided revised versions of those policies to the IMT
        and OAG for review and comment. OAG looks forward to CPD finalizing these critical
        policies consistent with those court decisions as soon as possible.

          CPD’s and the City’s Staffing Allocation Choices Have Hindered Reform
         As in prior monitoring periods, nearly every section of the Report emphasizes the staffing
shortages experienced by those divisions of CPD tasked with the nuts and bolts of police reform.
The Office of Community Policing, the Crisis Intervention Unit, the Tactical Review and
Evaluation Division (TRED), the Training and Support Group, and Reform Management are all
understaffed. The Bureau of Internal Affairs is also understaffed and accountability sergeants in
the districts struggle with competing patrol responsibilities. Lack of resource allocation also
impacts CPD’s efforts to implement sweeping reforms to its supervision structure. As the IMT
identified, “staffing shortages prevented the Unity of Command and Span of Control Pilot Program
districts from consistently meeting the 10-1 officer-to-supervisor ratio required for all districts” by
the consent decree. 1
        In February, a City Council committee approved an ordinance requiring CPD to conduct a
staffing analysis, 2 which is also a requirement of the consent decree. The City, the OAG, and the
IMT provided updates on the progress so far during the October monthly public hearing. While

1
 Report, p. 7.
2
 Fran Spielman and Tom Schuba, City Council Committee OKs Study on How Best to Deploy Chicago
Police as Resources Shrink, Some Crimes Spike, CHICAGO SUN TIMES (February 5, 2024), available at
City Council committee OKs study on how best to deploy Chicago police as resources shrink, some
crimes spike - Chicago Sun-Times (suntimes.com).
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OAG is hopeful that the results of this study assist the City and CPD in responding more quickly
to 911 calls and provide necessary data to adequately staff the units performing critical reform
functions, OAG is deeply concerned about the recent reporting about the City’s proposed cuts to
the City and CPD’s budgets for these units in 2025. 3 The City and CPD must meet the consent
decree’s requirements to put sufficient financial and staffing resources towards reform. Decreasing
the number of personnel carrying out the daily work of reform, such as the Training and Support
Group and the Office of Community Policing, may substantially reverse the incremental progress
made so far.
      CPD Must Keep Up Progress Towards Sharing Information with the Public and
                               Developing Trainings
        The second step in implementing a reform is often training the relevant officers and
civilians on changes to policy or procedure. CPD continues to develop Department-wide training
on a variety of new or revised policies while also providing specialized training for supervisors
and field training officers. In the monitoring period, CPD trained relevant officers on policies and
tactics related to protecting public safety during the DNC while also respecting the First
Amendment rights of protesters and reporting force in a transparent way. Moving forward, OAG
encourages CPD to prioritize developing a system to evaluate training courses and instructors to
ensure that its training is high-quality, consistent, and effective.
        Additionally, one of the overarching goals of the consent decree is for the City and CPD to
increase its transparency with the public. To that end, the City and CPD published annual reports
during this monitoring period to share information with the public, including the following: the
2023 Annual Hate Crimes Report; the 2023 Use of Force Report, the 2023 Tactical Review and
Evaluation Division Year-End Report, the Bureau of Internal Affairs 2023 Annual Report, the
City’s 2023 Report on CPD Litigation, and the officer wellness report to the Superintendent. While
the City and CPD have a long way to go towards efficient, accurate data collection, analysis, and
management across the consent decree, OAG is encouraged by these public reports. Finally, the
City, OAG, and IMT provide progress updates during monthly public hearings on the status of
various reforms.
                                           Conclusion
       As we near the end of 2024, we encourage the City and CPD to accelerate its progress
towards implementing the reform requirements of the consent decree in 2025 so that Chicagoans
begin to feel change in practice. We remain committed to working with the City, the CPD, IMT,
the Coalition, and community members and organizations who work towards changing policing in
Chicago every day.




3
 Alice Yin and A.D. Quig, Mayor Brandon Johnson’s CPD Budget Plan Cuts Constitutional Policing,
Other Reform Offices: ‘It’s a Gutting,’ CHICAGO TRIBUNE (November 1, 2024), available at Mayor
Brandon Johnson's CPD budget plan cuts constitutional policing (chicagotribune.com)
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                                                    Respectfully,

                                                    KWAME RAOUL
                                                    Attorney General of the State of Illinois

                                                    s/Mary J. Grieb
                                                    Mary J. Grieb
                                                    Deputy Chief, Civil Rights Bureau
                                                    Office of the Illinois Attorney General
                                                    115 S. LaSalle St.
                                                    Chicago, Illinois 60615
                                                    773.590.7959
                                                    Mary.Grieb@ilag.gov

cc: Jennifer Bagby, Allan Slagel, Counsel for the City of Chicago (via email)
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       Attachment B:
       City of Chicago
       Comments
       (November 13, 2024)




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                           November 13, 2024

                           Independent Monitoring Team
                           c/o Maggie Hickey, Independent Monitor
                           233 South Wacker Drive, Suite 7100
                           Chicago, IL 60606
                           Maggie.Hickey@afslaw.com


City of Chicago            Dear Ms. Hickey:
Brandon Johnson, Mayor
                                  The City of Chicago provides its comments to the Independent
Department of Law
Mary Richardson - Lowry    Monitoring Team’s final draft report for the reporting period January 1, 2024,
Corporation Counsel
                           through June 30, 2024, (IMR 10). The City looks forward to continued
                           compliance progress in the current monitoring period (July 1, 2024 – December
121 North LaSalle Street
Suite 600                  31, 2024).
Chicago, Illinois 60602
(312) 744-0220
(312) 744-5185 fax
                                               City of Chicago’s Comments on the
www.cityofchicago.org                         Tenth Independent Monitoring Report

                                  Pursuant to Consent Decree Paragraph 663, the City of Chicago (“City”)
                           provides the following response to the Independent Monitoring Team’s
                           (“IMT”) final draft Independent Monitoring Report 10 (“IMR 10 Report”).

                                  Summary of the City’s Continued Increased Compliance

                                  IMR-10 includes 36 additional monitorable paragraphs in the
                           Investigatory Stop, Protective Pat Down, and Enforcement of the Loitering
                           Ordinance section of the Consent Decree. Preliminary compliance with most
                           of these additional paragraphs is tied to the finalization of Chicago Police
                           Department’s (CPD) suite of policies, which were involved in the paragraph
                           627 review and comment process with the IMT and Office of Illinois Attorney
                           General (OAG) throughout IMR 10. Of these 36 additional paragraphs, 25 are
                           “under assessment” for preliminary compliance at the end of IMR 10, due in
                           part to the extensive work by CPD during IMR 10. Even with the addition of
                           these paragraphs, the City maintained some level of compliance with
                           approximately 88% of the monitorable paragraphs assessed by the IMT in IMR

                                           2 N OR TH L A SA L L E ST REE T * SU I TE 420
                                                     C H IC A G O, I L L IN O IS 6 0602
                                        3 12 .74 2. 640 8 · J e nn i fe r. B ag b y@C it y o fC h ic a go .o rg
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                                                                                                   2

10. Without considering these additional paragraphs, as of the end of IMR 10, the City has
achieved some level of compliance with at least 92% of the pre-existing monitorable paragraphs
and continued to demonstrate an increase in the level of secondary compliance. The achievement
of preliminary compliance of substantially all of the pre-existing monitor paragraphs and
increasing secondary (training) compliance the City and CPD believe create the basis to achieving
the guiding principles of the Consent Decree.

        The City’s consistently increasing rates of compliance are significant but represent only a
portion of the work done throughout the reporting period. The City appreciates the IMT’s
acknowledgement that “[t]his report represents a six-month assessment of the City’s compliance
efforts from January 1, 2024, through June 30, 2024. It does not reflect all the efforts of the City,
the CPD, or the other relevant City entities to date.” (See IMR 10 Report – Executive Summary,
pg. 2). The City further appreciates that the IMT’s Executive Summary for IMR 10 includes major
achievements by CPD and other relevant City agencies in addition to highlighting principal
challenges.   (See IMR 10 Report – Executive Summary, Major Developments and Principal
Achievements and Challenges Impacting Compliance, pg. 5 – 8). The acknowledgement of the
efforts being made for future progress along with the additional information recognizes the
building nature of the City’s reform efforts while still noting the areas where the City has more
work to do.

        Some of the notable achievements in the Tenth Monitoring Period include:

    •   Collaboration between CPD, the IMT and OAG to finalize the Coordinated Multiple
        Arrest (CMA) policy suite as well as the corresponding training. The subject matter
        expertise of members of the IMT has been invaluable to CPD in the development of this
        suite of policies which were essential for CPD to meet the public safety needs posed by
        large scale gatherings, including the Democratic National Convention that was held in
        Chicago in early IMR 11. This collaboration demonstrated how the Consent Decree
        process can work effectively to achieve policy and training reforms.
    •   Increased direct interactions between the Associate Monitors on the IMT and CPD’s
        subject matter experts. These interactions fostered a more collaborative process, an
        understanding of the IMT’s expectations on compliance issues, and a level of technical
        assistance for CPD. These interactions will provide both short- and long-term increases

                     2 N OR TH L A SA L L E S TREE T * SU I TE 420
                               C H IC A G O, I L L IN O IS 6 0602
                   312 .74 2. 6408 · J e nn i fe r. Ba gb y @C it y of C h ic a go .o r g
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                                                                                                   3

        in CPD’s compliance. Additionally, the efforts of the Deputy Monitor and the Senior
        Monitor in fostering the communication of clear expectations and specific actionable
        feedback have been invaluable to CPD.
    •   The completion of numerous CPD reports and plans after review by the IMT and OAG,
        including: CPAP Quarterly Report, Annual Community Policing Report, Racial Equity
        Plan, District Strategic Plans, Hate Crimes Report, CIT Coordinator Summary Report, CIT
        Refresher Training Plan, TRED Year End Report, Annual Use of Force Report,
        Recruitment – Hiring Annual Report, Workforce Allocation Scope of Work, Professional
        Counseling Division Annual Report to the Superintendent, Employee Assistance Program
        Summary Report, BIA Annual Report, and BIA Quarter 1 Report.
    •   The completion / implementation of numerous CPD policies and policy suites after review
        by the IMT and OAG, including: CPD’s Department Awards policy (S01-01), Peer
        Support Program Suite, and Revised TISMP policy (E06-03).
    •   Ongoing delivery of trainings that will achieve secondary compliance when delivered to
        95% of required members and contribute to the required 40-hours of annual in-service
        training by the end of 2024, including:
            o Annual Use of Force training;
            o Field Force Operations
            o Public Order / Public Safety
            o Annual In-service Supervisor Training
            o Ongoing delivery of approved Crisis Intervention trainings
   •    Methodology development for paragraph 572 – 573 Use of Force data analysis project by
        University of Texas – San Antonio.
   •    COPA reached full compliance with over 85% of its assessable paragraphs, demonstrating
        continued increased compliance.

IMT Reporting Process

        The Monitor’s current report, Report 10, documents the City’s compliance efforts for
January 1, 2024 – June 30, 2024.           The City and public have repeatedly requested that the IMT
find a way to make the reports shorter, more user friendly, and more timely. The IMT has taken
steps to make the report shorter but it still required a great deal of time to review and ensure that

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the levels of compliance for all paragraphs was accurate and consistent, often requiring a review
of past reports. Now that all parties are in agreement with the status of each monitorable paragraph,
the City looks forward to continued collaboration to find a reporting mechanism that can be
completed within 90 days of the end of a reporting period and provide information that is useful
to the parties and public.


Methodologies

         Consent Decree Paragraph 655 provides that the IMT will develop and share with the City
and the OAG a proposed methodology for its compliance reviews. Paragraph 655 allows for the
parties to submit comments regarding the methodology, which both the City and the OAG
consistently submitted during earlier monitoring periods. However, the City has refrained from
providing comments in more recent periods due to the IMT’s unwillingness to substantively
address the City’s concerns, many of which are noted in the comments below. Additionally, the
OAG has also refrained from providing comments in recent periods.
         The City recognizes the complexity and difficulty of developing distinct methodologies for
several hundred Consent Decree requirements spanning numerous topics and appreciates the
IMT’s efforts to do so in a thorough manner. The City, however, believes that many of the
methodologies delineated by the IMT add substantive requirements beyond the legal requirements
stated in the Consent Decree. Other methodologies do not provide adequate detail about the data
sources and analysis methods that will be used to assess compliance.
         Consent Decree Paragraph 624 provides that the IMT’s review will determine whether the
City has substantially complied with the Consent Decree. This paragraph further notes that
“Compliance with a requirement means that the City and CPD: (a) have incorporated the
requirement into policy; (b) have trained all relevant personnel as necessary to fulfill their
responsibilities pursuant to the requirement; and (c) are carrying out the requirement in actual
practice.” Based on this paragraph, the IMT assesses whether the City and its entities are in
preliminary, secondary, or full compliance—each of these levels typically mirrors the three
subparts of ¶ 642. 1




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 For certain Consent Decree requirements, this three-pronged analysis is less suitable. In those situations, the
Monitor develops alternate methodologies for assessing compliance.
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The City hopes that through increased collaboration with the Associate Monitors on the IMT as
well as a more streamlined reporting process, all parties will have a shared understanding of the
methodologies at the start of each reporting period as well as a shared understanding of the
deliverables that will achieve compliance throughout the six-month reporting period.


SPECIFIC COMMENTS
       The City provides the following responses to the IMT’s comments related to various
Consent Decree sections / specific Consent Decree paragraphs / or involved City Agencies. These
comments are specific to CPD unless otherwise noted:



Impartial Policing:
       Paragraph 75 (Compliance Assessment) : The City and OEMC continue to disagree with
the “Under Assessment” designation for both preliminary and secondary compliance with this
paragraph. OEMC has developed and implemented an SOP and has provided written responses to
OAG feedback on the SOP. The Associate Monitor for Impartial Policing, the subject matter
expert in the area, has given a “no objection” to OEMC’s policy. Additionally, OEMC has
regularly provided the required Diversity Awareness training to all required personnel.
Accordingly, OEMC should be in at least preliminary compliance with this paragraph with the
implementation of the policy. The City and OEMC look forward to discussions with the IMT and
OAG in IMR 12 to reach resolution with this paragraph and to achieve full compliance.


Crisis Intervention:
       The City continues to raise concerns about the IMT’s comments related to the purpose of
the Crisis Intervention section of the Consent Decree. The purpose of the Consent Decree overall
is to ensure the following:
       (1)     that CPD delivers services to all people in a manner that complies with the
Constitution and state and federal law, respects the rights of all, builds trust between officers and
the communities they serve, and promotes community and officer safety; and
       (2)     that CPD officers receive the training, resources, and support needed to do their
jobs professionally and safely; and


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        (3)      that the City builds a foundation of trust through increased transparency and public
input; improved accountability and oversight; and systems that collect, analyze and share data.
        Accordingly, the purpose of the Crisis Intervention Section is to ensure that when CPD
sworn members respond to an individual in crisis as defined by the Consent Decree, the response
is appropriate. While certainly an important topic, the Consent Decree does not address the
question of whether the police should respond to individuals in crisis and does not set forth
requirements on what types of alternate response programs the City should have beyond the
guiding principle set forth in paragraph 86 that the City and CPD are committed to exploring
diversion programs, resources, and alternatives to arrest for individuals in crisis. Therefore, the
IMT’s continuing comments on the “priorities of expanding non-criminal justice responses to
persons in crisis and complying with the guiding principles of the CIT Program” is a
misrepresentation and attempted expansion in an Independent Monitoring Report of what this
section of the Consent Decree requires.
        Second, the City has concerns related to the IMT’s comments regarding the CARE program
which misstate actual Consent Decree requirements, misrepresent the City’s willingness to share
information with the IMT on this program, specifically in IMR-10, and fails to accurately report
on the program and its place in the City’s overall mental health response. The IMT’s comment
that “the City has been reluctant to provide policies, training, and data related to this alternate
response program” does not represent any City efforts in IMR-10. Moreover, the IMT wrongly
concludes that these programs are presently covered by the requirements of the Consent Decree
versus the IMT’s desire for them to be included as reflected in its Comprehensive Assessment.
The IMT last made a formal request for information related to CARE in November 2022, in IMR-
7, and the City provided a written response in February 2023, in IMR – 8. In the City’s response,
the IMT was directed to publicly available data and information. Specifically, in IMR-10, the City
arranged for a one-on-one meeting between the Associate Monitor and Matt Richard of the
Department of Public Health for the specific purpose of providing updates and answering questions
related to CARE and Matt Richard presented at the February 2024 CCMHE meeting in IMR-10.
Finally, the City’s current Mental Health expansion has been a transparent process, culminating in
a publicly available report. See City of Chicago, People’s Vision for Mental and Behavior
Health. This expansion makes clear that CARE is not a “diversion” 2 program but rather a


2 See IMR 10 Report – October 24, 2024 Draft page 37 - 38 generally and in fn 23.

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standalone resource to ensure that Chicagoans in mental health and behavioral crisis receive the
most appropriate resource in their time of need and also includes the transition from CARE teams
that include a CPD member to eliminating CPD as a core element of the program so that CPD can
focus on primary purpose work.
       Finally, the City and CPD believe that CPD should have achieved secondary compliance
with paragraphs 92 and 95 based upon the training records showing delivery of the 40-Hour Basic
Training (MONITOR 2049).


Use of Force:
       The City and CPD disagree with the IMT’s comments related to paragraph 157 where the
IMT states that in order to maintain secondary compliance, CPD must have a system to help with
BWC issues as this continues to be an ongoing deficiency. The City and CPD believe that the
IMT’s comments address full compliance, not secondary compliance with this paragraph.
Additionally, the City and CPD believe that the production of the BOP Taser Reconciliation TFSR
and Report (MONITOR2115) and the 2023 Citywide Taser Quarterly Inspections
(MONITOR2020) in IMR-10 should have achieved full compliance with paragraph 206 as these
materials demonstrated consistent inspection and maintenance of Tasers.

Training
       The City and CPD believe that CPD should have achieved secondary compliance with
paragraphs 299 and 303 based upon the production of the FTO Initial Training Curriculum
(MONITOR1890) and FTO Initial Training Compliance Report (MONITOR 2063). CPD received
No Objections on the curriculum from the OAG (February 20, 2024) and the IMT (April 5, 2024)
and produced evidence of delivery of this training to 95% of required members.
       The City and CPD believe that CPD should have achieved secondary compliance with
paragraphs 313, 314, and 315 based upon the production of the FTO and PPO Quarterly Surveys
on May 30, 2024 (MONITOR2036) and August 29, 2024 (MONITOR2161).


Supervision
       The City and CPD believe that CPD should have achieved secondary compliance with
paragraphs 348 and 349 based upon the IMR-10 production of the In-Service Supervisor Training
on February 29, 2024 (MONITOR1916) and the TRR Supervisory Debriefing Point Dashboard
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eLearning-Revised with new IDR on May 16, 2024 (MONITOR2012). The City and CPD also
believe that the production of the TRR Supervisory Debriefing Point Dashboard eLearning-
Revised with new IDR should have achieved secondary compliance with paragraph 351.


Officer Wellness
            The City and CPD continue to disagree with the IMT’s efforts to expand any requirements
related to the Fitness for Duty program. 3 The plain language of the Consent Decree makes clear
that the only issue surrounding Fitness for Duty is to ensure that Professional Counseling Division
counselors are not conducting the evaluations. City and CPD productions have clearly established
this limited requirement.


Accountability - COPA


            The draft of IMR10 fails to mention ¶470 or ¶488 and lacks sufficient feedback for ¶479
and ¶486. COPA submitted numerous materials for full compliance on these paragraphs in
IMR10, and previewed these submissions on monthly calls, seeking feedback. The absence of
meaningful feedback impacts COPA’s ability to refine its compliance submissions and results in
significant time spent submitting materials by staff without feedback. COPA looks forward to
increased collaboration with the IMT and technical assistance in IMR 12 to achieve increased
compliance with the remaining paragraphs.


¶470: Investigative Findings within 180 Days


            COPA has been working to ensure that investigative findings are reached within 180 days,
with extensions approved and justified. In IMR9, COPA addressed the issue of 180-day letters
lacking explanations, indicating that this paragraph was “under assessment” for COPA to provide
evidence of completing cases within 180 days as well as data on the cases for which COPA missed
this deadline. In IMR10, COPA provided a supplemental response with detailed data on case
durations, including start and close dates for all COPA logs since its inception. Despite this, COPA
received no feedback on this paragraph in the second IMR10 draft.


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    See IMR 10 Report – October 24, 2024 Draft, pg. 66.
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¶479: Investigative Timelines, Benchmarks, and Goals


       Paragraph 479 requires that 120 days of the Effective Date, CPD and COPA must revise
policies establishing investigative timelines, benchmarks, and goals. For IMR10, COPA provided
a comprehensive explanation of its timeliness policy and initiatives, including data on case
closures, reports, meetings, templates, and processes. IMT placed COPA “under assessment” for
Full compliance but mentioned only that training evaluations were not received on time




¶486: Maintenance of Investigative Files


       Paragraph 486 lists the documentation required for COPA to maintain in its investigative
files. In IMR10, COPA produced reports for 5 randomly selected cases, detailing compliance with
every subparagraph of ¶486. IMR10 states that while this documentation partially addresses ¶486
for Full compliance, the IMT plans to conduct a more in-depth review of completed investigations.
Even within the current reporting, IMT has not specified the materials needed for this review.
COPA maintains that its summary reports, attachment reports, and notes evidence Full compliance
with ¶486. If not, COPA the IMT should provide what additional evidence is required to establish
Full compliance.


 ¶488: Officer Involved Shootings


       For IMR10, COPA provided voluminous documentation on officer-involved shootings,
including data for the past five years, 82 scene response letters, supervisory directions, interviews,
summary reports, and notes for 16 officer-involved shootings from 2019 to 2024. COPA also
provided randomly selected cases, noting compliance with each subparagraph of ¶488. IMT
provided no feedback on this paragraph, and it remains absent from the second IMR10 draft.




       Thank you for the opportunity to provide this response.

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                                                     Sincerely,

                                                     /s/ Jennifer K. Bagby
                                                     Deputy Corporation Counsel
                                                     City of Chicago Department of Law
                                                     Public Safety Reform Division


Cc:    Christopher Wells, Office of the Attorney General
       Scott Spears, General Counsel, CPD
       Allan Slagel, Taft Law
       Ryan Nelligan, General Counsel and Deputy Director of Labor and Legal Affairs, OEMC
       Robin Murphy, General Counsel, COPA




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